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CITY OF BUFFALO

DEPARTMENT OF LAW

EXHIBIT
Case 1:18-cv-00402-LJV-JJM Document 73 Filed 05/01/21 Page 2 of 296

 

VIDEO DEPOSITION
KYLE T. MORIARITY

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

JAMES C. KISTNER,
Plaintiff,

- vs - Civil Action No.
18-cv-402

THE CITY OF BUFFALO,

c/o Corporation Counsel,

BYRON LOCKWOOD, individually and in
his capacity as Police Commissioner
of the Buffalo Police Department,

DANIEL DERENDA, individually and in his
Capacity as Police Commissioner of the
Buffalo Police Department,

LAUREN McDERMOTT, individually and
in her capacity as a Buffalo Police Officer,

JENNY VELEZ, individually and in her

capacity as a Buffalo Police Officer,

KARL SCHULZ, individually and in his
capacity as a Buffalo Police Officer,

KYLE MORIARTY, individually and in his
capacity as a Buffalo Police Officer,

DAVID T. SANTANA, individually and in his
capacity as a Buffalo Police Officer,

JOHN DOE(S), individually and in his/their
capacity as a Buffalo Police Officer(s),

Defendants.

 

 

 

CITY OF BUFFALO
JACK W. HUNT & ASSOCIATES, INC. DEPARTMENT OF LAW

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1 Video deposition of KYLE T. MORIARITY,
2| Defendant, taken pursuant to the Federal Rules of
3) Civil Procedure, in the offices of JACK W. HUNT &
4| ASSOCIATES, INC., 1120 Liberty Building, Buffalo,
5| New York, on February 21, 2020, commencing at
6} 10:09 a.m., before ANNE T. BARONE, RPR, Notary
7| Public.
8
9] APPEARANCES: RUPP BAASE
PFALZGRAF & CUNNINGHAM, LLC,
10 By CHAD DAVENPORT, ESQ.,
1600 Liberty Building,
11 Buffalo, New York 14202,
(716) 854-3400,
12 davenport@ruppbaase.com,
Appearing for the Plaintiff.
13
14 TIMOTHY A. BALL, ESQ.,
Corporation Counsel,
15 By MAEVE E. HUGGINS, ESQ.,
Assistant Corporation Counsel,
16 1137 City Hall,
Buffalo, New York 14202,
17 (716) 851-4334,
mhuggins@city-buffalo.com,
18 Appearing for the Defendants.
19
PRESENT: JAMES KISTNER
20
NOLAN HALE, Rupp Baase
21 Pfalzgraf & Cunningham, LLC
22 TIMOTHY M. HUNT, CLVS, Videographer
23

 

 

 

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1 THE REPORTER: Read and sign?
2 MS. HUGGINS: 45 days, please.
3 THE REPORTER: And Ms. Huggins will be

4| supplied?

5 MR. DAVENPORT: Yes.
6 THE REPORTER: Thank you.
7

8| K Y LE T. MORIARIT Y, 695 Main Street,

9} Buffalo, New York, after being duly called and

10] sworn, testified as follows:

12 EXAMINATION BY MR. DAVENPORT:

14 Q. Good morning, Mr. Moriarity.

15 A. Good morning.

16 Q. My name is Chad Davenport. I'm an

17| attorney with Rupp Baase Pfalzgraf= & Cunningham,
18| representing the plaintiff.

19 So we're here today to discuss a -- an

20) incident that happened on January lst, 2017.

21| Before we start, I just want to explain

22| a few of the ground rules for this deposition.

23 So our discussion today is being transcribed

 

 

 

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Moriarity - Davenport - 2/21/20

by a stenographer. In order to have an accurate
testimony here today and an accurate record of that
testimony, I'm going to ask that you wait until

I finish any question before giving your answer.
Can you do that for me?

A. Yeah. Yeah.

Q. So, in addition, I just want to make
sure that you use verbal responses for each of the
questions that I ask of you. Head nods, shaking of
the head, neither of those will be able to appear
on our transcript, so I'm going to ask that you
respond to each question verbally. Can you do that
for me?

A. Yes.

Q. Thank you.

And if any time you don't understand
a question, if you want me to rephrase it, simply
ask me and I'm more than happy to do so. Can you

do that for me?

A. Yes.
Q. And if at any time you need to take --
take a break, you're more than welcome to. Just

let me know, let the court reporter know, and we

 

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Moriarity - Davenport - 2/21/20

1} can take that break for you.
2 A. Okay.
3 Q. Have you taken any drugs or alcohol

4| that would affect your testimony here today --

5 . A. No.

6 Q. ~- within the last 24 hours?

7 A. Sorry. No.

8 Q. Thank you.

9 Where were you born?

10 A. Here in Buffalo.

11 Q. Okay. Where do you live currently?

12 MS. HUGGINS: Well, form, and I would

13] object. He is an active duty police officer. He's
14} given a business address. He's currently employed

15| by the City of Buffalo.

16 MR. DAVENPORT: We're also suing them in

17| their individual capacity, so that means we would
18| have to know where their residence is as well. You
19! can put your objections on the record.

20 But you may answer. You can answer.

21 MS. HUGGINS: What I would -- what I would
22| propose to counsel is I would provide that

23| information, not in the form of a video deposition,

 

 

 

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but I -

can't t
answer

answer

Moriarity ~ Davenport - 2/21/20

6
BY MR. DAVENPORT:
Q. You can answer.
MS. HUGGINS: -- would provide that.
MR. DAVENPORT: You don't have to -- you
ell him to not answer that question. He can
that question. You can't direct him to not

the question.
You may answer the question.

MS. HUGGINS: Counsel, I -- I've indicated

I would provide that information to you but in --

provide

another

MR. DAVENPORT: I understand that you will

MS. HUGGINS: -~ another form.
MR. DAVENPORT: -- that information in
form, but he can answer that question, and

you cannot direct him to not answer that question.

questio

You may answer the question.

You cannot direct him to not answer the

n.

You may answer the question.

THE WITNESS: I'1il keep it as 695 Main Street.

BY MR. DAVENPORT:

 

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Q.
education?

A.

Q.
in?

A.

Q.
associate's

A.

Q.

Moriarity - Davenport - 2/21/20

Is that here in Buffalo?

Yes.

Have you served in the military?

Yes.

Were you honorably discharged?

Yes.

Do you have any criminal convictions?
No.

What is your highest level of

College. Associate's degree.

And what was that associate's degree

Criminal justice.

So did you go -- did you go for your
degree before or after the military?
After.

And what years did you go for education

for your associate's degree?

A.

Q.

2014 -- or I'm sorry. 2012, 2014.

And then did you go into police academy

training immediately after?

A.

I went in 2015. January 2015.

 

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Moriarity - Davenport - 2/21/20

Q. So what did you do between 2014 to
2015?

A. Side jobs.

Q. Did you have a plan, after your

associate's degree, to become a police officer?
A. Yes.
Q. Where did you want to serve?
Did you have any municipality that you

wished to go to?

A. Buffalo.

Q. City of Buffalo?

A. Yeah.

Q. Did you take any training as part of

your ECC courses?

A. What do you mean by that?

Q. So with Erie County, you did some
training before you were able to enter as a city
police -- Buffalo police officer, correct?

MS. HUGGINS: Form. You can answer.

THE WITNESS: Yeah. As a pre-employment.

I paid -- paid my way through academy before I was
hired.

BY MR. DAVENPORT:

 

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Moriarity - Davenport - 2/21/20

10:14:23 1 Q. Okay. And so you started in 2015?
10:14:26 2 A. 2015, yeah.
10:14:27. 3 Q. And how long did that last for? How

10:14:29 4] long was the training?

10:14:30 5 A. Six months.
10:14:30 6 Q. Six months? Okay.
|
10:14:32 7 So would that have been in 2016 that you

10:14:35 8 | completed that training?

10:14:36 9 A. No. It was 2015.

10:14:37 10 Q. End of 2015?

10:14:39 11 Do you remember roughly what month that was?
10:14:41 12 A. January to June.

10:14:42 13 Q. Okay. So did you immediately start

10:14:50 14| working in the City of Buffalo as a police officer?
10:14:52 15 A. No. The exam -- the exam was given
10:14:58 16| three or four months after I completed academy.
10:15:01 17 Q. Okay.

10:15:01 18 A. And then I waited on the list and
10:15:04 19] waited to get hired.

10:15:05 20 Q. Okay. So when would that have been
10:15:08 21| that you had been hired?

10:15:10 22 A. November 4th of 2016.

10:15:12 23 Q. Of 2016?

 

 

 

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Moriarity - Davenport - 2/21/20

1 A. Yeah.

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2 Q. Okay. So was there an interim in between

3| when you finished your training and before you were

4| hired?
5 Because I -- I think you said that at the
6| end of 2015 was when you completed that training,

7| correct?

8 A. I completed -- I completed academy in
9] 2015.

10 Q. Okay.

11 A. June. Got hired November 4th of 2016.

12| Was sent back to Erie Community College for the
13| rest of phase 2 for academy. So firearms, there
14|/ was some more like motor vehicle stuff. There was
15| some other terrorism classes.

16 And then I came back to the Buffalo Police
17| unit's academy, where I went through policy

18| training, and I was done with that in late

19| December.

20 Q. Okay. So there's two phases then to
21! your training with --

22 A. There's two phases --

23 Q. Okay.

 

 

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Moriarity - Davenport - 2/21/20

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10:16:12 1 A. -- through -- through a police academy,
10:16:16 2; yeah.
10:16:16 3 -Q. Okay. So what would the first phase
10:16:18 4] consist of?
10:16:18 5 A. Article 35, penal law, drug recognition,
10116:24 6| EVOC training, so like motor, driving stuff.
10:16:26 7 Q. Okay. And then what would the second
10:16:29 8| phase consist of?
10:16:30 9 A. Firearms. I believe there was
10:16:32 10} a terrorism class in there. There might have been
10:16:38 11] like an explosive class in there.
10:16:41 12 Q. Okay. So do you have to pass the first

10:16:44 13] phase in order to make it to the second phase, or
10:16:47 14| does everybody who enters the academy move on to
10:16:49 15] the second phase?

10;16:49 16 . MS. HUGGINS: Well, form. Do you mean for
10:16:52 17| this officer in particular, his academy experience,
10:16:56 18] or in general?

10:16:57 19 MR. DAVENPORT: I'm just asking him

10:16:58 20| a general question.

10:16:59 21 MS. HUGGINS: Okay.
10:17:00 22 THE WITNESS: You have to pass every event
10:17:04 23| daily as they -- as they come through to move on to

 

 

 

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Moriarity - Davenport - 2/21/20
12

10;17:06 | the next. But, yeah, you would have to pass

10:17:09 2 phase 1 to go to phase 2.

10:17:11 3 BY MR. DAVENPORT:

10:17:11 4 Q. Okay. And so you passed phase 1?
10:17:13 5 A. Yeah.

10:17:13 6 Q. Okay. So you ended phase 1 I believe

10:17:16 7] at the end of 2015, and then did you begin phase 2
10:17:20 8| during 2016? Is that how that worked?

10:17:22 9 A. So I -- I ended phase 1 in June of
10:17:27 10] 2015, was hired in November 4th of 2016, completed

10:17:33 11| phase 2 by middle of December --

10:17:37 12 Q. Okay.
10:17:38 13 A. -- 2016.
10:17:40 14 Q. So you -- you wait until after you're

sora7:42 15| hired then before you begin phase 2?

10:17:43 16 A. I have to be hired to do phase 2.
10:17:46 LT Q. Okay. Okay. So from 2015, when you
10:17:51 18| completed phase 1, to beginning phase 2, did you
10:17:52 19| work at all with any City of Buffalo departments?
10:17:56 20 A. No. I entered my first semester at
10:18:00 21| Buff State, which I did not complete.

tojia:o2 22 Q. Okay. And what were you going for?

10:18:04 23 A. Criminal justice.

 

 

 

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Moriarity - Davenport - 2/21/20
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Q. It was criminal justice?

Would that be -- have been beyond your
associate's degree?

A. Yes.

Q. Okay. So, now, after you completed
phase 2, did you begin any training with the City
of Buffalo Police Department?

A. Yes.

Q. And what kind of training did you do
for that?

A. I did additional driving training.

I did some policy training.
I'm un -- I'm unsure of what else was on

that training.

Q. Now, would you have done --
A. Yeah, I don't remember.
Q. I'm sorry.

Would you have done that training before you
actually entered a patrol car, or would that

training have been done concurrently with some

training -- field training that you would have
received?
A. This would have been --

 

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Moriarity - Davenport - 2/21/20
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10:18:59 JL MS. HUGGINS: Form. You can answer.
10:19:00 2 THE WITNESS: This would have been before.
10:19:02 3 BY MR. DAVENPORT:

10:19:02 4 Q. Okay. Did you have to complete any

10:19:04 5] courses administered by the Buffalo Police

10:19:07 6| Department before you were able to enter the field
10:19:10 7| training portion?

10:19:10 8 A. The training that I'm referring to,
10:19:12 9] yes.

1oj19:13 10 MR. DAVENPORT: Okay. So I'm -- I have --
10:19:16 11/ I'm not really sure what exhibit we're on at this

10:19:24 12} point. I believe, I want to say, 24, but I'm not

10:19:27 13| a hundred percent sure.

10:19:28 14 THE REPORTER: 22.
10:19:29 15 MR. DAVENPORT: 22? Okay.

10:19:30 16 So I'll have this marked as Exhibit 22.

17| The following was marked for Identification:

18 EXH. 22 Buffalo Police Academy
19 training record, two pages
; 20 BY MR. DAVENPORT:
10:20:06 21 Q. Sir, I'm showing -- showing you what's
10:20:08 22| been marked as Exhibit 22. Do you recognize this

10:20:10 23| document?

 

 

 

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Moriarity - Davenport - 2/21/20

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A. Yes.
Q. And what do you recognize it to be?
A. This is a list of academy training that

I did with the BPD.

Q. And would you -- reading through the
document very quickly, would you agree that it
shows all courses that you've taken with the
Buffalo Police Department?

A. Up to date, yes.

Q. So now starting with the first one,
drug test policy, that was administered November 4th,
2016, to the same day, November 4th, 2016.

Was that drug test administered to you
before you started your field training?

MS. HUGGINS: Form.

THE WITNESS: No. That was -- if it -- if
it says that it's on there that day, that's --
that's the date that I did it.

BY MR. DAVENPORT:

Q. Okay.
A. Because I would -- I would have signed
something.

Q. Okay. So you also did, on the same

 

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16

10:20:58 1] day, EAP training. What would that refer to?
10:21:02 2 A. I don't know what EAP training is.
10:21:06 3 . Q. Okay. What about rules and

10:21:08 4] regulations? That was also on the same day.

10:21:10 5 A. Yeah, I did that then.

10:21:11 6 Q. What would that refer to?

sovau:a3 7 A. You're probably going over MOP stuff.
10:21:17 8] BPD's like operational handbook. Your uniform
10}21:23 9 regulations. Rules of wearing certain things or

10:21:29 10| speaking to, you know, a lieutenant a certain way.
10:21:35 11] That -- that type of stuff.
10:21:36 12 Q. Do you remember any specific sections

10:21:38 13} that they went over for the MOP?

10:21:42 14 And that would be referring to the
10:21:44 15} procedures -- policies and procedures.

10:21:45 16 A. The handbook, yeah.

10:21:46 17 Q. Okay.

10:21:48 18 A. No, I wouldn't remember.

10:21:49 19 Q. Okay. Did they discuss at all, you

10:21:51 20! know, how to arrest individuals?
10:21:55 21 Did they go over certain procedures for
10:21:58 22| accidents with patrol vehicles or --

10:22:00 23 MS. HUGGINS: Form. You can answer.

 

 

 

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17

THE WITNESS: It's -- it's in there.

I don't remember what we did that day.

BY MR. DAVENPORT:

Q. Okay. So you also did sexual harassment,
discrimination in the workplace. I would assume
that we all know what that is.

Rules and regulations, chapter 3, general
conduct. What does general conduct refer to in the
procedure -- policies and procedures handbook?

A. I'd have to -- I'd have to open up a --

open up the handbook.

Q. When they were going through these
sections in the handbook, did they go through the
individual sections of the handbook?

Did they go through what those provisions

said?

MS. HUGGINS: Form.

THE WITNESS: They briefly skimmed over
them, so I -- I'm -- I honestly don't know. Or
don't remember. I'm sorry.

BY MR. DAVENPORT:
Q. Did they ask if you understood what

those sections meant?

 

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18
10:22:53 1 MS. HUGGINS: Form. You can answer.
10:22:56 2 THE WITNESS: It's a long time ago. I -- I
10:22:58 3] don't remember. I'm -- I'm sorry.
10:22:59 4 BY MR. DAVENPORT:
10:23:00 5 Q. So, now, on November 23rd, you did
10:23:03 6| MOP 1 training.
10:23:05 7 A. Yep.
10:23:06 8 Q. Do you know what that refers to?
10:23:09 9 A. More MOP training on the -- on the
10:23:14 10! procedural handbook.
10:23:15 11 Q. So that's procedural handbook training?
10:23:17 12 A. Yeah.
10:23:17 13 Q. Okay. So now it's 1. Does that refer

10:23:20 14| to the first phase?

10:23:24 15 MS. HUGGINS: Form.

10:23:25 16 THE WITNESS: Maybe it's chapter 1. I'm --
10:23:29 17| I'm really un -- unsure of what --

10:23:33 18 BY MR. DAVENPORT:

10}23:33 19 Q. But this would have all been training
10:23:35 20| that you would have had to complete before -- or

10:23:37 21] while concurrently you were doing your field
10:23:39 22| training exercises; is that correct?

10:23:40 23 A. This was done prior to field training.

 

 

 

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19

10:23:42 1 Q. Okay. So, now, at what point do you
10:23:46 2| actually enter in and begin field training?

10123:49 3 Was there a certain course that you needed
10:23:51 4) to complete on this training course outline before
10:23:54 5] you could actually enter the field?

10:24:13. 6 A. It looks like there's going to be
10:24:14 7]| a break between December 1st and December 29th,

10:24:19 8] where I went to phase 2.

10:24:24 9 Q. So this would have been --
10:24:26 10 A. And completed my --
10:24:28 11 Q. This would have been phase 2 of the

10:24:31 12| field training with the Buffalo Police Department,
10:24:33 13] correct?

10:24:33 14 MS. HUGGINS: Form.

10:24:34 15 THE WITNESS: I'm sorry. I'm going to be

10:24:37 16] completing phase 2 right through here.

10:24:39 17 | BY MR. DAVENPORT:

10:24:39 18 Q. Okay.

10:24:39 19 A. During -- during the --
10:24:40 20 Q. So from November 4th to --
10:24:43 21 A To the 23rd.

10:24:44 22 Q. Okay.

10:24:44 23 A. And then --

 

 

 

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20
10:24:46 1 Q. You would have been completing phase 2
10:24:47 2] at that point?
10:24:48 3 A. Yeah, I would have been completing
10:24:49 4| phase 2 then, and then between December lst and
10:24:54 5] December 29th -- I don't know. I wasn't in
10:25:03 6| a vehicle yet because I was waiting for a vest up
10:25:05 7| in the camera room.
10/25:09 8 Q. Okay. So what would phase 1 have
10:25:11 9] consisted of?
10:25:12 10 Would it just be these training courses that
10:25:14 11| are listed on your training course outline?
10:25:15 12 MS. HUGGINS: Form.
10:25:16 13 THE WITNESS: Phase 1 of academy?
10:25:18 14 BY MR. DAVENPORT:
10:25:18 15 Q. Well, it would have been phase 1 of
10:25:20 16} your Buffalo Police Department field training,
10:25:22 17] correct?
20}25:24 18 MS. HUGGINS: Form.
10:28:26 19 BY MR. DAVENPORT:
10:25:26 20 Q. Because I -- I guess what you're saying
10:25:28 21| is that phase 2 was completed and you began your
10:25:31 22| field training on November 23rd, correct?
10:25:33 23 A. Yeah. Yeah.

 

 

 

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21
10:25:34 1 Q. Was there a phase 1 specifically just
10|25:36 2| for --
10:25:36. 3 A. They didn't --
10:25:36 4 Q. -- the police department?
10:25:36 5 A. They didn't -- no. They didn't -- they
10:25:39 6| didn't call it anything like that.
10:25:40 7 We just went straight from phase 2 of police

10:25:43 8| academy, straight to the academy unit at -- at
10:25:46 9] headquarters, and we just sat in there and got all
10:25:49 10] these classes.

10:25:50 11 Q. Okay. So it would have been phase 2 at

10:25:58 12] the Erie County Academy and --

10/25:58 13 A. Yeah. Yeah.

10:25:59 14 Q. -- then phase 2 --

10:25:59 15 THE REPORTER: Hold on. Hold on.

10:95:89 16 THE WITNESS: Sorry.

10:25:59 17 (Discussion off the record.)

10:25:59 18 BY MR. DAVENPORT:

10:26:00 19 Q. Okay. So it would have been phase 2 at

10:26:00 20/ the Erie County academy, and then you would have
10:26:00 21] immediately gone into phase 2 at the Buffalo
10:26:03 22; academy?

10}26:03 23 A. Yeah.

 

 

 

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22

10:26:03 1 Q. Okay. So there's no phase 1 at the
10:26:06 2 Buffalo ~~
10:26:06 3 A. No.
10:26:07 4 Q. -- training academy? Okay.
10:26:09 5 . So now phase 2, is there a mix of actually
10:26:13 6| being out in the field, as well as classroom
10;26:16 7 training, or was it just limited to classroom
rol 26:49 8| training at that point?
10:26:20 9 A. Not -- they're not concurrent. It's
10:26:23 10/ just classroom training, then we were waiting for
10:26:27 11] our gear up in the camera room, and then once we
10:26:31 12| got our gear, then we went to field training.
10:26:33 13 Q. Besides the security vest, was there
10:26:36 14] any other equipment that you needed at that time?
10:26:38 15 A. That was the only thing I was waiting
10:26:40 16] on.
10:26:40 17 Q. Okay. What other -- other equipment do
10:26:45 18| they give you as a field training officer?
10:26:47 19 | A. Your duty belt and your -- your
10:26:49 20] assignment room.
10:26:51 21 MS. HUGGINS: Just slow down too.
10:26:53 22 THE WITNESS: Okay.
10:26:53 23 MS. HUGGINS: You're speaking fast.

 

 

 

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23

10;26:56 L BY MR. DAVENPORT:

10:26:57 2 Q. So now this vest that they gave to you,
10:26:59 3] were you wearing that immediately when you went out
10:27:01 4} into the field?

10:27:01 5 A. Yes.

10:27:02 6 Q. And when did you receive that again?
10:27:07 7 A. I don't remember.
10:27:08 8 Q. Would it have been between November --

10:27:09 9] or December 1st of 2016 and December 29th of 2016?

10:27:14 10 A. Yeah, Closer to the 29th.
10:27:16 11 Q. Closer to the 29th?
10:27:18 12 So what were you doing from December lst of

10:27:20 13 2016 to December 29th of 2016?

10:27:24 14 A. Sitting around at headquarters and then
10:27:26 15] sitting around in the camera room at headquarters.
10:27:30 16 Q. Okay. What kinds of things would they
10:27:34 17| have you doing when you were sitting there?

10:27:38 18 A. In the camera room, observing city
10:27:41 19| camera locations and just writing things down of
10:27:43 20| what we were observing.

10:27:47 21 Q. So you would have been observing city
10:27:49 22] cameras. Where would those cameras typically be

10:27:53 23] Located?

 

 

 

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24
10:27:53 1 A. All over. All over the city.
10:27:56 2| Intersections.
10:27:56 3 Q. Would -- would they be located in -- so
10:27:58 4| you -- you eventually went to C District, correct?
10:28:01 5 A. Yes.
10}28:02 6 Q. Would some of those cameras be located

10:28:03 7| in C District?

10:28:04 8 A. Yes.

10:28:04 9 Q. Did they have you exclusively looking
10:28:06 10} at those cameras at C District?

10:28:07 11 A. No.

10:28:08 12 Q. They would have been in A District,

10:28:09 13] B District, C District?

10:28:11 14 MS. HUGGINS: She needs a verbal answer.
10:28:13 15 THE WITNESS: Yes. I'm sorry. Yes.
10:28:15 16 BY MR. DAVENPORT:

vol zesas 17 Q. So were you there, looking at these

10:28:18 18} cameras, with any other lieutenants or other field
10:28:22 19| training -- or other police officers who were out

10:28:25 20] in the field?

10:28:25 21 A. I don't think there were any
10:28:27 22] lieutenants. There was 14 to 16 other police
10:28:33 23| officers that were with -- with me.

 

 

 

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25
1ol2e:38 1 Q. Where were these other police officers?
10:28:40 2) Where were they located?

10:28:42 3 Were they also in the C District, or were
10:28:44 4] they in other districts?

10:28:45 5 A. No. No. They were in other districts
10:28:47 6] too.

10:28:47. 7 Q. Okay. Were they all field training
10:28:49 8| officers?

10:28:50 9 A. No. These were probationary officers.
10:28:54 10 Q. They were probationary officers?

10;28:56 11 So what kinds of things would you observe on
10.2858 12! these cameras?

10:29:00 13 MS. HUGGINS: Form.

10:29:03 14 THE WITNESS: At -- at the time, I would say
10:29:07 15 I didn't -- we didn't really know what we were
10:29:09 16| looking at. It was just people walking around.
10:29:11 17 BY MR. DAVENPORT:

10:29:12 18 Q. Did they ever say, you know, this
10:29:14 19] person's committing a crime? You know, we need to
10:29:18 20} dispatch police officers over into that area?
10:29:20 21 A. No. It was just us in the room. There
ola9:23 22| was no one --

10:29:24 23 Q. So what kinds of --

 

 

 

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10:29:25 1 A. -- with us.

10:29:26 2 Q. -- things were you guys looking for on
10:29:28 3 those cameras?

10;29:31 4 A. I don't remember at the time. We
10:29:32 5| weren't given much instruction.

10:29:34 6 Q. Okay. Were you instructed to take
10:29:36 7] notes on what you saw?

10:29:38 8 A. We were.

10:29:39 9 Q. And did you have to turn those notes
10:29:41 10| over to a lieutenant or anybody else to check your

10:29:43 11] work?

10:29:43 12 A. No.

10:29:44 13 Q. You just kept those for yourself?
10:29:46 14 A. I threw mine out, I believe.
10:29:48 15 Q. Okay. Did you have to report to

10:29:49 16| anybody what you saw on those cameras?

10:29:51 17 A. No.

10:29:53 18 Q. Did you have any cameras that were
10:29:55 19} located on Schmarbeck Avenue?

10:29:58 20 A. No.

10:30:01 21 Q. Where, typically, would these cameras
10:30:04 22| be located?

10:30:05 23 Would they be mostly at busy intersections

 

 

 

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27

|
10130:07 1] or businesses?
10:30:08 2 MS. HUGGINS: Form.
10:30:10 3 THE WITNESS: I don't know the rhyme or
10:30:13 4] reason to where the cameras are placed.
10:30:16 5 | BY MR. DAVENPORT:
10:30:17 6 Q. So this is what you would have done
10:30:19 7] from December 1st, 2016, to December 29th of 2016,
10:30:23 8] correct?
10:30:24 9 A. I don't know if it's exactly until the
10:30:26 10] 29th. I got my vest a week -- a week or so before
10;30:33 11/ the incident.
10:30:34 12 Q. Okay.
10:30:36 13 A. SO --
10:30:36 14 Q. So you would have received that either
10:30:39 15] shortly before or right around Christmas of 2016?
10:30:42 16 A. Yeah.
10:30:44 17 Q. Did you immediately go out into the
10:30:46 18| field after that?
10:30:46 19 A. Yes.
10:30:47 20 Q. Who did you go out with?
10:30:49 21 Who -- who was, you know, taking you around
10:30:51 22] to help you with your training?
10:30:53 23 A. Police Officer Schultz.

 

 

 

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10:30:55 1 Q. Did you do any other training with any

10:30:56 2] other officers at that time?

10:30:58 3 A. No.

10:30:59 4 Q. How long did your training last for?
10:31:01 5 A. 16 weeks.

10:31:03 6 Q. And so that 16 weeks would have been

10:31:06 7| beginning on November 4th of 2016, or would it have
1o/s1e40 8| been beginning when you received your vest in
10:31:14 9] December of 2016?

10:31:14 10 A. The day I received my vest.

10:31:17 11 Q. Okay. And so those 16 weeks were just
10:31:19 12] with Officer Schultz?

10:31:21 13 A. Yes.

10:31:24 14 Q. What kinds of things would you -- what

10:31:27 15] kinds of calls would you make with Officer Schultz?

10:31:30 16 A. Our calls --
10:31:32 17 MS. HUGGINS: Form.
10:31:33 18 THE WITNESS: Our calls varied. Shootings,

10:31:37 19} domestics, car accidents, unknown troubles.
10:31:42 20 BY MR. DAVENPORT:

10:31:43 21 Q. Do you remember the first week of
10:31:44 22| training with Officer Schultz?

10:31:47 23 A. I remember the first day.

 

 

 

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Q. The first day? What happened on the

first day?

A. There was a shots fired on Deshler.
Q. Did you respond to that call?
A. Yes.

Q. With Officer Schultz?

A. Yes.

Q. What was the outcome of that call?

A. Afternoon -- the afternoon shift took
it over, and me and Karl Schultz left around
10 minutes before 4 because we were done.

Q. Were you working the day shift at the
time then?

A. We were working the day shift, yeah.

Q. Did you work the day shift after your
first 16 weeks?

A. No. I went to afternoons.

Q. Afternoon shift?

Did you work any other shifts besides
day shift and afternoon shift?

A. No.

Q. So what time, approximately, did you

recall to that call on your first day?

 

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30
10:32:38 1 A. Later in the day. I'm not -- I don't
10:32:41 2] remember.
10:32:41 3 Q. Do you remember approximately how long
10:32:42 4/ you were at that first call for?
10:32:47 5 A. I do not know. I don't remember.
10:32:49 6 Q. Was anybody injured at that call?
10:32:51 7 A. No.
10:32:56 8 Q. So how do you typically begin each day,
10:33:02 9| you know, during your first 16 weeks -- we'll --
10:33:04 10] we'll start with your first 16 weeks.
10:33:06 11 During your first 16 weeks, how would you
10:33:08 12} begin each shift during the day shift?
10:33:12 13 A. We show up to work at 5:30. We get
10:33:17 14| dressed. 6 o'clock is brief by the lieutenant.
10}33:20 15 Lieutenant McHugh. And then we start going to
10:33:25 16| calls.
10:33:25 17 Q. Was Lieutenant McHugh your lieutenant
10:33:27 18] at the time?
10:33:27 19 A. Yes.
10:33:29 20 Q. Did you report to any other lieutenants
10:33:31 21] at that time?
10:33:32 22 A. No.
10:33:36 23 Q. Did you have a set schedule for when

 

 

 

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you would

shift? Di
A.

four days
a:

16 weeks?

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work during that time, besides the day
d you have set days that you would work?

We work four days on, four days off;
on, three days off.

And that was consistent for your entire

A. Yes.

Q. Do you remember if you worked the day
before the incident on January 1st, 2016 -- or
2017?

A. I don't remember.

Q. Do you remember if you worked the day
after?

A. I don't, no. Sorry.

Q. Do you remember what you did the night
before January lst, 20 -- 2017?

A. No.

Q. Did you celebrate the new year?

A. No.

Q. No?

A. No.

Q. What time did you report to work on

January i1s

t, 2017?

 

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32
10:34:29 1 A. 6. 6 a.m.
10:34:30 2 Q. Okay. And did you get a briefing from
10:34:34 3] Lieutenant McHugh?
10:34:35 4 A. Yes.
10:34:36 5 Q. Do you remember what he said that day?
10:34:38 6 A, I do not.
10:34:40 7 Q. Do you remember if you made any calls
10:34:43 8| before going to Schmarbeck?
10:34:45 9 A. Tf I -- I'm sorry?
10:34:46 10 MS. HUGGINS: Form.
10:34:46 11 BY MR. DAVENPORT:
10:34:47 12 Q. Did you remember responding to any
10:34:49 13} calls before going to Schmarbeck?
10:34:52 14 A. One. I responded to the first call.
solsaiss 15; I think it was a robbery.
10:34:56 16 Q. Okay. Approximately what time was that
10:35:09 17] robbery that you responded to?
10:35:12 18 A. It was early. I don't remember,
10:35:16 19| though.
10:35:16 20 Q. Was it before you arrived at Schmarbeck
10:35:21 21| or was it on Schmarbeck?
10:35:22 22 A. It was before Schmarbeck.
10:35:25 23 Q. Okay. So I'm going to show you what's

 

 

 

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33
10:35:27 1] been marked as Exhibit 7.
10:35:42 2 So the only robbery that I'm finding is on
10:35:47. 3| Schmarbeck. Do you see any other robberies or
10:35:50 4] anything that could possibly have been a robbery?
10:35:52. 5 A. Well, Schmarbeck is a larceny, but
10:35:55 6] Sattler was the robbery.
10:35:56 7 Q. Okay. So it's listed as a fight.
10}35:59 8| Do you know why it was listed as a fight instead
10:36:02 9] of a robbery?
10:36:02 10 A. I don't. I don't know why that's
10:36:04 11] listed as a fight.
10:36:05 12 Q. So what was that situation? What
10:36:09 13| happened there? |
10:36:12 14 MS. HUGGINS: Form. You can answer.
10:36:16 15 THE WITNESS: I don't remember the nature of
10:36:19 16] the call, because Karl was talking to the
10:36:25 17| complainant, but I looked down a driveway and
10:36:28 18| a dude was hopping the fence, and apparently that
solaeea1 19 was the guy that we were looking for.
10:36:32 20 BY MR. DAVENPORT:
10:36:32 21 Q. Did you go after him?
10:36:33 22 A. I didn't.
10:36:34 23 Q. Did you catch him?

 

 

 

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34
10:36:35 1 A. I didn't.
10:36:35 2 Q. Did Karl catch him?
10!36:38 3 A. No. There were other officers that
10:36:41 4| caught him.
10:36:42 5 Q. Would they have been other C District
10:36:45 6] officers?
10:36:45 7 A. Yes.
10:36:46 8 Q. Do you remember who?
10:36:47. 9 A. I don't.
10:36:48 10 Q. If you saw a list of officers that were
10:36:51 1L| working that shift that day, would that possibly
10:36:53 12| refresh your recollection?
10;36:54 13 A. It's -- it's not going to, just because

10:36:59 14/ I was so brand new, I wouldn't know who -- I
10:37:06 15} wouldn't know who caught him.

10:37:07 16 Q. Okay. So how did you decide, between
10137112 17} you and Karl, who would go to go speak with the
10:37:14 18| person initially? Who would leave the car to go
10:37:17 19| speak with somebody?

10:37:18 20 MS. HUGGINS: Form.

10:37:19 21 THE WITNESS: At -- at this point in time,
10:37:20 22] I'm so brand new that Karl is doing everything.

10:37:23 23 BY MR. DAVENPORT:

 

 

 

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| 35
10:37:23 1 Q. Would there have been any times that
10:37:25 2] you would have gone to go speak with the
10:37:27. 3] complainant rather than Karl?

10:37:29 4 A. On -- on things that weren't as high of
10:37:34 5] a priority.

10:37:35 6 Q. Okay.

10:37:35 7 A. Maybe things that are less dangerous.
10:37:37 8 Q. Okay. Was there any set priority that
10:37:42 9| it would be Karl going instead of you to go make
10:37:45 10| that first initial contact with the complainant?
10:37:48 11 MS. HUGGINS: Form.

10:37:48 12 THE WITNESS: No. He -- he would just
10:37:53 13| observe whether or not it was something that he
10:37:56 14} wanted me to handle.

10:37:58 15 BY MR. DAVENPORT:

10:37:59 16 Q. Okay. And how would he make that
10:38:00 17| decision?

10:38:00 18 MS. HUGGINS: Form.

10} 38:01 19 THE WITNESS: I can't -- I can't answer
10.38:02 20 that. You would have to ask -- ask him.

10:38:05 21 BY MR. DAVENPORT:

10:38:05 22 Q. What kinds of calls would he allow you
10:38:07 23| to go speak with the complainant rather than Karl

 

 

 

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36
1} to go speak with the complainant?
2 A. I -- I don't remember the nature of the
3} call, but I know he let me do the 33 Schmarbeck
4) call.
5 Q. Do you remember if he let you do -- to

7| calls that you responded to before 33 Schmarbeck?

8 A. IT don't.

9 Q. So this -- this first call where there

6} go speak with the complainant for any of the other

10] was an accident or injury over at Sycamore, and the

11|/ time would have been 6:14 a.m., do you remember

12] that call?

13 A. I don't.
14 Q. No?
15 What about the alarm that was at

16| 1830 Genesee Street?
17 A. I don't remember.

18 Q. Do you know why, for that accident or

19| injury, you would have been going to the next call

20| four minutes after the accident or injury call?

21 A. What do --
22 Q. So --
23 A. -- you mean? Just -- just why it goes

 

 

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37

10:39:03 1} from 6:14 to 6:18?

10:39:06 2 Q. Well, I -- I guess what I'm saying is:
10:39:08 3] If there's an accident or injury that you responded
10:39:09 4] to, would you know why it would only take four
10:39:12 5| minutes for responding to that accident or injury?
10:39:15 6 A. I don't remember -- I don't remember
10:39:18 7| the specifics of that.

10:39:20 8 Q. Okay. Did you ever respond to any
10:39:23 9] other accidents or injuries that day?

10:39:30 10 A. Yeah. The one on 37 Schmarbeck. And
10:39:35 11] then it looks like that's it.

10:39:40 12 Q. After 37 Schmarbeck, where was the next

10:39:45 13] call that you responded to?

10:39:49 14 A. The traffic stop at 1773 Bailey.

10:39:53 15 Q. And what time would that have been at?
10:39:57 16 A. 1314.

10:39:58 17 Q. And that would refer to 1:14 p.m.?

10} 40:01 18 A. Yes.

10:40:03 19 Q. So it looks like you were there at that
10:40:06 20| call for four minutes. Would that be accurate?
10:40:10 21 Because your next dispatch --

10:40:11 22 A. Oh, okay.

10:40:12 23 Q. ~- was at 1:18 p.m.

 

 

 

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38
10:40:15 1 A. Yeah, that's what it says.
10:40:18 2 Q. Is there any reason to expect that that
10:40:21 3] would not be accurate?
10:40:22 4 Was there some times where they would have
10:40:26 5| you dispatched for the next call before you had
10:40:29 6| actually finished at the call that you were
10:40:32 7 responding to?
10:40:32. 8 MS. HUGGINS: Form. You've just asked two
10:40:34 9| questions in a row.
10:40:35 10 MR. DAVENPORT: So I'll start with my first

10:40:37 11] question.
10/40:40 12 Is there any reason to believe that this
10:40:41 13} record is not accurate?

10:40:43 14 THE WITNESS: No. This is -- this is

10:40:44 15] accurate.

10:40:45 16 BY MR. DAVENPORT:

10:40:45 17 Q. Is there any time where you would
10:40:48 18} respond to a call and it would not be entered on
10:40:51 19] your dispatch monitor until sometime after you had
10:40:55 20] actually responded to that call?

10:40:56 21 A. No. We -- we respond to the calls when

10:40:59 22| they're given.

10:41:00 23| Q. And how do you respond to those calls?

 

 

 

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39

10:41:02 1 A. We drive there and we go speak to
10:41:04 2] someone.

10:41:04 3 Q. Do you have to call in when you're
10:41:07 4] responding to a call?

10:41:09 5 A. Can you rephrase that?

1o:at:14 6 Q. Do you have to radio in when you're
10:41:13. 7 responding to a call?

10:41:16 8 A. They'll dispatch a call and then we
10:41:18 9| say, clear, and then we go to it.

10:41:21 10 Q. Is there any other way to respond to
10:41:24 11] a call and have it entered on this form?

10:41:28 12 A. I mean, if these are -- if these are
10:41:30 13 self-initiated traffic stops, we call radio and
10:41:32 14| say, hey, we're at a traffic stop.

10:41:34 15 Q. And who enters these entries? Is it
10:41:38 16| made by the Buffalo Police Department or is it made
10:41:40 17| by another entity?

10:41:42 18 A. Dispatch, so, yeah, BPD.

10:41:45 19 Q. It would be the Buffalo Police

10:41:48 20] Department?

10:41:48 21 A. Yeah.
10:41:48 22 Q. They control the dispatching?
10:41:51 23 MS. HUGGINS: Form.

 

 

 

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Moriarity - Davenport - 2/21/20
40

1 THE WITNESS: Who -- yeah, whoever controls
2| the dispatching.

3 BY MR. DAVENPORT:

4 Q. Okay. Do you know who controls the

5| dispatch? Do you know any individuals who --

6 A. No.
7 Q. -- are in charge of that?
8 Do you ever speak with them over the radio

9| besides saying clear or that you're responding to
10} a call?

11 A. In what context?

12 Q. Do you, you know, speak to them about

13] any personal matters?

14 A. No.

15 Q. Just about work?

16 A. Yes.

17 Q. Do you ever get names of those

18| individuals?

19 A. No, I don't know their names.

20 Q. So the criminal mischief that was at
21/1964 Bailey Avenue, do you remember anything about
22] that call?

23 A. No.

 

 

 

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41
10:42:32 1 Q. So I'm actually going to direct your
10:42:34 2| attention to at -- it would be 2:27 p.m., there was
10:42:39 3] an assault that was on North Ogden Street.
10:42:42 4 Do you see where that is?
10:42:45 5 A. Yes.
10}42:48 6 Q. Now, that says that you were at that
10:42:50 7| call until 1816, and that would refer to 6:16 p.m.,
10:42:56 8] correct?
10:42:56 9 MS. HUGGINS: Form.
10:42:57 10 THE WITNESS: Yes.
10:42:58 11 BY MR. DAVENPORT:
10:43:00 12 Q. Do you remember anything about that
10:43:01 13] assault? About that call?
10:43:03 14 A. I do not.
10:43:05 15 Q. Do you have any reason to know why you
10/43:07 16 | were there at that call for four hours?
19:43:40 17 A. I do not.
10:43:12 18 Q. Is there any reason to believe that
10:43:15 19] that time would not be accurate for 6:16 p.m.?
10:43:18 20 A. I do not know.
10:43:25 21 Q. How long have you been with the Buffalo
10:43:27 22| Police Department now?
10:43:27 23 A. A little over three years.

 

 

 

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Moriarity - Davenport - 2/21/20

42
1 Q. Are you still with the C District?
2 A. No.
3 Q. Where are you now?
4 A. I'm in Bravo.
5 Q. How long have you been with the
6| B District?
7 We'll refer to it as B District.
8 A. Since October.
9 Q. And were you with C District prior to
10; that?
11 A. I was in C District prior to that.
12 Q. So that would have been about two years
13} that you were with C District?
14 A. I was in Delta District for two months

‘15| somewhere in there.

16 Q. That would have been during your time

17} at C District?

18 MS. HUGGINS: Form.

19 BY MR. DAVENPORT:

20 Q. During the two years that you would
21| have been in C District?

22 A. Yeah. Somewhere in there I was in

23) Delta for -- for two months. Two or three months.

 

 

 

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Moriarity - Davenport - 2/21/20

43
1 Q. And what was that reason for
2| transferring over to Delta District?
3 A. Just wanted to see something new.
4 Q. Okay. Do you get to make that
5| decision, as a police officer, where you want
6| to patrol?
7 A. We have to request a transfer.
8 Q. Okay. And then who approves those
9| transfers?
10 A. Commissioner Lockwood.
11 Q. Okay. Is there any other officers that
12| can approve those transfers?
13 A. It all goes through Commissioner
14| Lockwood.
15 Q. So now to go to C District, you had to
16] request a transfer as well, correct?
17 A. Yes.
18 Q. When did you request that transfer to
19| Bravo District?
20 A. I -- I don't remember. I know I went
21} to Bravo in October, though.
22 Q. When -- was there any time gap
23| in between at C District and Bravo District?

 

 

 

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44
10:45:02 1 A. I don't know what you mean.
10:45:04 2 Q. Did you finish working at C District
10:45:08 3 and then take some time off before entering in
10:45:10 4] Bravo District?
10:45:11 5 A. No.
10:45:12 6 Q. Okay. After you finished -- completed

10:45:16 7] your first 16 weeks of training in C District, who

10:45:19 8| would you patrol with mostly?

10:45:22 9 A. Other C District officers.

10:45:24 10 Q. Okay. Was there anybody in particular?
10:45:28 11 A. I don't -- I don't understand what you
10:45:30 12} mean. That was my -- my unit.

10:45:32 13 Q. No. I understand that --

10:45:33 14 A. Okay.

10:45:34 15 Q. -- C District was your unit, but we

10:45:36 16] talked about how, you know, during your first
10:45:38 17} 16 weeks, you were always with Karl Schultz.
10:45:40 18 A. Oh, okay.

10}45:41 19 Q. So after your first 16 weeks, were
10:45:43 20| there any other officers that you would patrol
10:45:45 21| with besides Karl Schultz?

10:45:47 22 A. Yes. There were other officers at C

10:45:51 23] that were in my platoon. They've all changed and

 

 

 

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45

10:45:55 1l| went to other areas.

10:45:57. 2 Q. So going back to going to D District
10:46:02 3| and now B District, were there any reasons for your
10:46:05 4| request to transfer out of C District besides

10:46:07 5| seeing something new?

10:46:09 6 Were you happy in C District?
10:46:11 7 MS. HUGGINS: Form.
10:46:11 8 THE WITNESS: Indifferent. My partner

10:46:17 9| wanted to go to Bravo, so I went with him.

10:46:21 10 BY MR. DAVENPORT:

10:46:21 11 Q. Okay. Who -- who's your partner that
10:46:22 12| wanted to leave?

10:46:23 13 A. Christopher Brigett.

10:46:25 14 Q. Okay. And how do you get assigned
10:46:26 15] a partner in a certain district?

10:46:29 16 A. We can choose.

10:46:30 17 Q. Okay. Was this individual somebody
10:46:33 18] that you chose while you were in C District?
10:46:36 19 A. Yes.

10:46:38 20 Q. And when, approximately, did you make
10:46:42 21| that request to have him be your partner?

10:46:47 22 A. When I came back from Delta.

10:46:49 23 Q. Okay. Did you work with him at all

 

 

 

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46
before you went to Delta District?
A. We went to academy together.
Q. Okay. Did you patrol with him at all?
A. Never.
Q. Okay. So he would have been training

around the same time as you, correct?

A. Same exact time.

Q. Okay. Did he receive his vest at the
same time?

A. I'm unsure.

Q. Did he start with the Buffalo training
academy approximately at the same time?

A. Same time.

Q. So I want to go back to your dispatch
monitor.

So the first time that you went to

Schmarbeck on that day was 10:56 a.m., correct?
A. Yes. That's what it says, yeah.
Q. And you made -- did you happen to drive

on Schmarbeck at all as part of your patrol duties
prior to that day?
A. I don't know. I don't remember.

Q. Would you ever make driving through

 

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417
10:47:58 1| Schmarbeck part of your normal patrol duties for
10:48:00 2|a day if you weren't responding to a call there?
10:48:03 3 MS. HUGGINS: Form.
10:48:04 4 THE WITNESS: Back then, I -- I can tell you
10:48:08 5] that I don't -- I don't remember.
10:48:15 6 BY MR. DAVENPORT:
10:48:16 7 Q. So even if it wasn't back then,

10:48:17 8| recently, because you were in C District as close
10:48:20 9| to as last year, in 2019, during that time in 2019,
10:48:24 10] would you ever patrol on Schmarbeck if it wasn't

10:48:27 11| for responding to a call there?

10:48:28 12 A. Rarely.
10:48:29 13 Q. Rarely?
10:48:30 14 A. Rarely.
10:48:32 15 Q. Were there any streets that you would

10:48:34 16| typically patrol, as opposed to others?

10}48:36 17 A. Broadway.

10:48:41 18 Q. Besides Broadway, were there any other
10:48:44 19| streets that you would typically patrol?

10:48:49 20 A. I mean, C District is a small district,
10:48:52 21| so a lot of them, but --

10:49:00 22 Q. I'm sorry. I've just got to find an

10:49:03 23| exhibit really quickly.

 

 

 

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48
10:49:40 1 So I'm going to show you what's been marked
10:49:43 2| as Exhibit 3.
10:50:06 3 All right. So do you recognize this
10:50:07 4] document?
10:50:09 5 A. This one, yes.
10:50:10 6 —Q. And what do you recognize it to be?
10:50:12 7 A. A CAD report.
10/s0:14 8 Q. Did you review any documents before
10:50:17. 9| your deposition today?
10:50:19 10 A. Yes.
10:50:19 11 Q. And what documents did you review?
10:50:21 12 A. Actually, it was these three.
10:50:23 13 Q. It was just those three documents?
10:50:26 14 MS. HUGGINS: Form. Did you -- did you
10:50:27 15] review this before your testimony today?
10:50:32 16 THE WITNESS: Yeah. Yeah. You did show
10:50:34 17| this to me.
10150235 18 MS. HUGGINS: Did you review any other CAD
10:50:37 19| reports?
10:50:38 20 THE WITNESS: No, no other CAD reports.
10;50:40 21 MS. HUGGINS: Did you review the CAD report
vo:sosat 22 for 37 Schmarbeck call?
10:50:43 23 THE WITNESS: Oh, yes, I did do that.

 

 

 

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49
10:50:46 1! I did.
10;50:47 2 BY MR. DAVENPORT:
10:80:47 3 Q. Besides these -- those four documents,
10:50:49 4| did you review any other documents?
10:50:53. 5 A. There was a -- that thick one.
10:50:56 6 MS. HUGGINS: Only for the preparation of
10:50:57. 7] your testimony --
10:50:57 8 THE WITNESS: Oh.
10:50:58 9 MS. HUGGINS: -- is what he's asking you.
10:50:59 10 THE WITNESS: Then no.
10:51:01 11 BY MR. DAVENPORT:
10/52:02 12 Q. What was the thick document that you're

10:51:03 13] referring to?

10:51:03 14 A. I don't know the name of it.

10:51:05 15 MS. HUGGINS: I think he's referring to the
10:51:06 16] interrogatories, when they were prepared and
10:51:07 17| reviewed by him.

10:51:08 18 MR. DAVENPORT: Okay.

10:51:08 19 MS. HUGGINS: But, obviously, not for the

10:51:10 20| deposition.

10:51:10 21 MR. DAVENPORT: I understand.
10:51:11 22 Did you watch any videos?
10/51:11 23 THE WITNESS: Yes.

 

 

 

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50

BY MR. DAVENPORT:

Q. What video did you watch?

A. His -- his video.

Q. Okay. Did you watch any other videos
in preparation for this?

A. No.

Q. So now going -- turning back to the
complaint summary report, this says that it was
reported at 10:32 a.m. Does that -- is that
accurate to you?

A. It -- I mean, if it's on here, yes,
it's accurate.

Q. Okay. And it says that -- I -- I
believe it would refer to you, Kyle Moriarity, and
Karl Schultz being dispatched at 10:56 a.m.; is
that correct?

A. Yeah, 10:56.

Q. So what is the difference between
dispatched and received?

Does -- what -- what does received refer to?
Let's start with that.

A. I -- I don't know what received means,

but 10:56 is when they give us the call.

 

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51
10:52:07 1 Received might mean that that's when 911
Loisa:i2 2| gets it to dispatch.
10:52:14 3 Q. So what is the difference between 911
10:52:17 4] and dispatch?
Lo1s2s19 5 A. Someone calls 911 and then 911 will
10:52:23 6| give it to dispatch to give to us.
10:52:25 7 Q. What does 911 refer to?
10:52:27 8 A. 911 is where the 91 -- 911 call goes
10:52:32 9] to.
10:52:33 10 Q. Okay. And where does it go to?
10:52:35 11 A. Wherever that office is. I have no
1ols2:37 12} idea.
10:59:37 13 Q. Okay. And then dispatch is the Buffalo

10:52:42 14| Police Department?

10:52:42 15 A. Yes.

10:52:43 16 Q. Okay. So now there's a 20-minute gap
10:52:47 17) in between it going from 911 to dispatch with the
10:52:52 18] Buffalo Police Department?

10:52:53 19 A. Yes.

10:52:54 20 Q. Okay. Is that typical for 20 minutes
10:52:58 21| to elapse before --

10,53:00 22 A. Yes.

10:53:00 23 MS. HUGGINS: Form.

 

 

 

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10:53:02 1 BY MR. DAVENPORT:

10:53:02 2 Q. Is there a certain type of call that
10:53:04 3] wouldn't take 20 minutes?

10:53:05 4 A. Shootings.

10:53:07. 5 Q. Okay. And what would be the typical
10:53:10 6] response time for that?

10:53:11 7 MS. HUGGINS: Form.

10:53:15 8 THE WITNESS: It's -- it's one of those
10:53:16 9] things you just go to immediately.

10:53:18 10 BY MR. DAVENPORT:

10:53:18 11 Q. Okay. Okay. So now when it says
10:53:24 12} dispatched, does that refer to dispatch receiving
10:53:27 13| it, or does that refer to somebody accepting that
10:53:30 14} call from dispatch?

10:53:31 15 MS. HUGGINS: Form.

10:53:32 16 THE WITNESS: Someone accepting the call
10:53:35 17; from dispatch.

10:53:35 18 BY MR. DAVENPORT:

10:53:36 19 Q. And would that somebody be a police
10:53:38 20} officer in the C District?

10:53:39 21 A. Yes.

10:53:42 22 Q. Do you know if you were responding to

10:53:44 23| another call at that time?

 

 

 

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53

A. I don't.
Q. So turning back to Exhibit 7 on the
dispatch monitor, it looks like you would have been

on scene at 145 Sprenger Avenue?

A. Yeah.

Q. Do you see that?

A. Yes.

Q. And then it's -- it look -- it appears

that you would have been on scene starting at

9:27, until would that be 10:56 when you became

available?
A. Yes.
Q. Okay. So turning back towards Exhibit 3,

what type of call was it that you responded to at

33 Schmarbeck?

A. Larceny.

Q. And do you remember the nature of that
call?

A. I don't.

Q. Do you remember the individual that you

spoke to that day?
A. No.

Q. When it says that the location is

 

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54
10:54:40 L| 1800 Broadway and that -- what does that refer
10:54:40 2] to?
10:54:47. 3 Do you see on --
10:54:48 4 A. Oh, yeah. I don't know what that
10:54:51 5| refers to.
10! 54:53 6 Q. Okay. And then when it says the phone
10:54:55 7 number, do you know what that refers to?
10:54:58 8 A. That's the phone number that was used
10:54:59 9] to call 911.
10:55:01 10 Q. That would have been the complainant's
10:55:02 11! phone call?
10:55:03 12 A. Yeah.
10:55:03 13 Q. Okay. So at 10:33, the entry says,
10:55:11 14| male, known, took items from his home.
10:55:13 15 Do you know what that entry would refer to?
10;55:16 16 A. Whoever the complainant is knows the
10:55:18 17| male who took items from his home.
10:55:20 18 Q. Now, would that information have been
10:55:22 19| conveyed to you who that individual was that took
10:55:26 20] the items from this individual's home?
10:55:28 21 MS. HUGGINS: Form.
10:55:29 22 | THE WITNESS: The -- yeah. I mean, the --
10:55:33 23| the complainant would have -- would have told me.

 

 

 

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BY MR. DAVENPORT:

Q. Do you remember if the complainant told
you who took the items from his home?

A. I don't remember.

Q. Okay. Do you remember if dispatch told
you who the individual was that took items from his
home?

A. No, I don't remember.

Q. But that's what that entry refers to is
that it's known who the individual was that took
items from this complainant's home?

A. Yes.

Q. Okay. So now the next entry that
I want you to look at is en route, C230.

What does that refer to?

A. We are en route to the location.

Q. So when you say we, that refers to Karl
Schultz and you?

A. Yes.

Q. Was your call sign C230?

A. Yes.

Q. And that's how it would appear on these

complaint summary reports?

 

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10:56:19 1 A. Yes.
10:56:21 2 Q. Now, when it says dispatched at the

10:56:23 3] Same time, what does that refer to?

10:56:28 4 A. We're --
10}56:32 5 MS. HUGGINS: Form.
10:56:33 6 THE WITNESS: We're en route at the same

10:56:34 7] time that we're dispatched. They dispatch it and

10:56:36 8] we're on our way.

10:56:38 9 BY MR. DAVENPORT:

10:56:38 10 Q. Okay. Now, do you see that at
10:56:40 11] 10:56:53 -- so this would have been six seconds
10:56:43 12] after -- that a disposition has been added --
10:56:45 13 A. Yes.

10:56:45 14 Q. -- to that complaint summary report?
10:56:48 15 So now I guess what you're telling me is

10:56:51 16| that you would have been dispatched and en route at
10:56:54 17| 10:56:47 and that you would have disposed of the
10:56:57 18| case in six seconds?

10:56:58 19 MS. HUGGINS: Form.

10:56:59 20 THE WITNESS: T don't -- I don't know why --
10:57:05 21] I don't remember.

10:57:06 22 BY MR. DAVENPORT:

10:57:06 23 Q. And then that last entry says archived

 

 

 

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57
at the same exact time, correct?
A. Yes.
Q. Okay. And what does archived refer to?
A. This was dispo'd as archived for

whatever reason.

Q. Do officers receive any sort of
training for what these complaint summary reports
are and how to read them?

A. Not -- not really, no.

Q. Do they give you any -- does the
Buffalo Police Academy give you any training how to

make entries onto complaint summary reports?

A. We don't make these entries. Dispatch
does.

Q. Just dispatch?

A. Yeah.

Q. Is it possible for an officer to make

entries on the complaint summary reports?

A. We can add things to it.

Q. And then how would you make those
additions?

A. On the computer in the vehicle.

Q. Okay. Have you ever done that before?

 

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58
10:57:55 1 A. Yes.
10:57:55 2 Q. And did they give you any training on
10:57:57 3|/ how to make those entries from your computer?
10} 57:59 4 A. No.
1o:sa:03 5 Q. Is it a certain program that you use
10:88:05 6 for making those entries?
10:58:08 7 A. Yes.
10:58:09 8 Q. Do you know what kind of a program that
10:58:11 9] is?
10:58:11 10 A. I do not.
10:58:11 11 Q. Okay. How does that appear on your
10:58:16 12/ computer screen?
10:58:19 13 How -- how does the complaint summary report

10:58:21 14| where you can make entries, how does that appear on

10:58:23 15] your computer screen?

10:58:24 16 MS. HUGGINS: Form,

10:58:26 17 THE WITNESS: It does not look like this.
10:58:27 18 BY MR. DAVENPORT:

10:58:28 19 Q. Okay. Can you generally describe what
10:58:30 20] that -- what it kind of looks like?

10:58:32 21 A. Something similar to it. I mean, all
10:58:34 22| this -- all the same information shows up.

10:58:37 23 Q. Okay. And what kinds of changes can

 

 

 

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59
10:58:41 1] you make from your computer screen?
10:56:43 2 A. I can't change anything. I can just
10:58:45 3] add to it.
10:58:45 4 Q. Okay. Okay. So if -- if the time was
10:58:48 5| incorrect, you wouldn't be able to change that?
10:58:50 6 A. No. I can call dispatch and then they
10:58:53 7} Can change it.
10:58:53 8 Q. Okay.
10}58:54 9 A. But it will just continue on with
10:58:56 10; adding. It won't change it change it.
10:58:58 11 Q. Okay. Besides this lawsuit here, have
10:59:03 12} you been involved with any other lawsuits?
10:59:05 13 A. No.
10:59:05 14 Q. What about have you been involved with
10:59:07 15] any criminal proceedings?
10:59:08 16 A. No.
10:59:09 17 MS. HUGGINS: Form. Do you mean as
10:59:11 18] a witness?
10:59:12 19 MR. DAVENPORT: Well, yeah. I was going to
10/59:13 20} get to that.
10:59:14 21 MS. HUGGINS: You were going to get to that.
10:59:14 22] Okay.
0:59:24 23 BY MR. DAVENPORT:

 

 

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60
10:59:15 1 Q. As a witness, have you ever been called
10:59:16 2] to testify in a criminal proceeding?
10:59:19 3 A. Yes.
10/59:20 4 Q. What kinds of documents would you
10:59:21 5] review for those criminal proceedings?
10:59:24 6 A. Similar documents. Arrest forms, crime
10:59:31 7} reports.
10:59:32 8 Q. Would they have you review the
10:59:33 9| complaint summary report?
10:59:34 10 A. Sometimes.
10:59:35 11 Q. And would you have to give testimony on
10:59:37 12] those complaint summary reports?
10:59:38 13 A. Yes.
10;59:38 14 Q. What kinds of things would you have to
tolso:a0 15 give testimony on?
10:59:42 16 MS. HUGGINS: Form.
10:59:42 17 BY MR. DAVENPORT:
10:59:43 18 Q. What kinds of entries on the complaint
10:59:44 19| summary report would you have to give testimony on?
10:59:47 20 MS. HUGGINS: Form. You can answer.
10:59:48 21 THE WITNESS: Just like here. Maybe things
10:59:51 22] that were -- were written on here or time frames.
10:59:55 23 BY MR. DAVENPORT:

 

 

 

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61

Q. Have you ever found that a complaint
summary report was entered incorrectly?

A. I'm confused. What do you mean?

Q. In your three years as a Buffalo police
officer, have you ever found that a complaint
summary report did not accurately reflect a call
that you made specifically or a call that you
responded to?

A. Well, just like -- just like here, they

entered it as a fight but it was a robbery.

Q. Okay.
A. So --
Q. So those types of errors then?
A. Yeah.
Q. Have you ever encountered any

discrepancies with the time that are on the
complaint summary report?

MS. HUGGINS: Form.

THE WITNESS: Can you --

BY MR. DAVENPORT:

Q. So on the complaint summary report it
gives a general time for when these actions would

have occurred.

 

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62
11:00:41 1 Have you ever noticed that there may be
11:00:43 2| errors with the entry for the time on those
11:00:46 3] complaint summary reports?
1100146 4 A. No. So everything is computer
11:00:50 5 | documented --
11:00:51 6 Qa Right.
11:00:51 7 A. -- as it -- as it occurs. So the entry
11:00:54 8] initiated at 10:32:23. That's when said person
11:00:59 9] called from this number, and then it just -- it
11:01:01 10] just goes.
11:01:02 11 Q. Okay.
11:01:04 12 A. There will never be a discrepancy
11:01:06 13] with -- with the time.
11 /01:06 14 Q. Is that entered by a computer or is it
ti so1s10 15] entered by a person at dispatch?
11:01:14 16 MS. HUGGINS: Form.
11:01:15 17 THE WITNESS: I don't -- I don't know.
11:01:16 18 MR. DAVENPORT: Okay. So now I want to turn
11:01:19 19| your attention to the video.
11:01:21 20 And would you mind if we could get the
11:01:23 21] lights? That way there's no glare on the screen.
11:01:28 22 They just have to be the lights right in
11:01:31 23] front of the TV.

 

 

 

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63
11:01:44 1 MS. HUGGINS: It may be the shades to the
11:01:45 2|/ window.
11:01:46 3 MR. DAVENPORT: Okay. Could we redirect the
11:02:08 4/ camera towards the television rather than towards
11:02:10 5] the witness for this segment? Is that possible?
11:02:17. 6 THE VIDEOGRAPHER: Could we go off the
11:02:18 7]/ record?
1i;02:18 8 MR. DAVENPORT: Yes, we can.
silogiae 9 THE VIDEOGRAPHER: Thank you.
11:02:18 10 (A recess was then taken at 11:02 a.m.)
11;17:11 11 (On the record at 11:17 a.m.)
11:17:11 12 MR. DAVENPORT: All right, Mr. Moriarity, so

11:17:14 13] I asked you a few questions about the complaint
11:17:16 14] summary report for the first call that you made on
11:17:18 15} Schmarbeck at 33 Schmarbeck Avenue.

11:17:20 16 We are now going to watch a video that
11:17:23 17| depicts the events from that day for that first
11117126 18| call.

11:17:28 19 Mr. Hunt, would you please turn the video

11:17:30 20] camera towards the TV screen.

11:17:32 21 MS. HUGGINS: Form.
11:17:33 22 (Video clip played.)

11:17:33 23 BY MR. DAVENPORT:

 

 

 

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11:17:33 1 Q. So, now, Mr. Moriarity, watching this
11:17:36 2 video, do you remember what the weather was like
11:17:39 3] that day?
14:17:41 4 A. I -- I don't. I don't remember what it
11:17:43 5|] was like.
11:17:47 6 Q. Do you remember, was it cold? Was it
11:17:49 7| warm?
11:17:49 8 A. January lst, it was probably cold.
11:17:50 9 Q. Did you have to wear any sort of a hat
11:17:52 10] or gloves?
11:17:54 11 A. I -- I think I was wearing a beanie.
11:17:57 12 Q. A beanie?
11:17:58 13 A. Yeah.
salte:od 14 Q. Now, this red van, have you seen this
11:18:02 15] red van before?
11:18:02 16 | A. No.
uilzesos 17 Q. Did you happen to see that red van when
11:18:08 18} you appeared on Schmarbeck Avenue on January lst,
11:18:12 19] 2017?
11:18:12 20 A. I don't remember.
11:18:13 21 | Q. Seeing this red van here today, does
11:18:15 22] that refresh your recollection of seeing a van that
11:18:18 23| day?

2

 

 

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65
11:18:19 1 A. No.

11:18:20 2 Q. No?

11:18:21 3 Do you know who this individual is walking
11:18:30 4] out of the van?

11:18:30 5 And I would say for the record that the time

11:18:32 6| stamp is 9:53:16. You don't have to verify the

11:18:36 7] time, but the individual who is now walking out of

11:18:38 8] the van, do you -- do you remember this individual?
11418:44 9 A. I don't remember.

|
11:18:45 1O Q. Do you remember talking to that

11:18:47 11] individual on January ist of 2017?

11:18:49 12 A. I do not.

11:18:55 13 Q. Do you remember what type of a call it
11:18:56 14} was that you responded to on January lst of 2017,
11:19:01 15] at 33 Schmarbeck?

11:19:02 16 A. From the complaint summary report, it
11:19:04 17] was a larceny.

11:19:05 18 Q. Do you remember anything about that
11:19:07 19| call besides what's written on the complaint
11!19:09 20] summary report?

11:19:09 21 A. I don't.

11:19:12 22 Q. Do you remember how that call was

11:19:14 23] initiated?

 

 

 

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11:19:16 1 A. I -- I -- I don't. It says that it was
aan 2| dispatched.
i/19:21 3 Q. And dispatched refers to you accepting
11:19:23 4| the call and going to that call, correct?
11:19:25 5 A. Yes.
11:19:26 6 Q. But the 911 call was made by the
11:19:28 7} individual, Mike Wolfe?
11:19:29 8 MS. HUGGINS: Form.
11:19:30 9 THE WITNESS: I don't know if it was Mike
11:19:34 10| Wolfe, but someone -- someone called 911.
11:19:37 11 BY MR. DAVENPORT:
11:19:38 12 Q. If I told you that the individual who
tija9:39 13 made the call was Mike Wolfe, would you have any
11:19:41 14] reason to dispute what I say?
11:19:44 15 MS. HUGGINS: Form.
11:19:46 16 BY MR. DAVENPORT:
11:19:46 17 Q. Would you have any reason to believe
11:19:48 18| that it was somebody besides Mike Wolfe?
11:19:49 19 MS. HUGGINS: Form.
11:19:50 20] THE WITNESS: No, but I also don't remember.
11:19:58 21 MR. DAVENPORT: All right.
11:20:01 22 MS. HUGGINS: Do you want to indicate for
11:20:02 23| the record what exhibit you've played?

 

 

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11:20:05 tL MR. DAVENPORT: Yes.
11:20:05 2 So for the record, I played the first video
11:20:08 3] of Exhibit A that was turned over to the City as
11:20:10 4] part of our complaint. The last four digits of
11:20:16 5| that video file -- can you go back to it, please?
11:20:23 6 The last four digits of that video file are
11:20:25 V7) 5252.
11| 20:28 8 We are now turning to the second video file

11:20:31 9] of Exhibit A that was provided to the City as part
11:20:35 10] of the plaintiff's complaint. The last four digits
11:20:40 11| are 1342.

11:20:43 12 MS. HUGGINS: The exhibit number, just for
11:20:45 13 the purposes of the deposition.

11:20:46 14 MR. DAVENPORT: This exhibit number is

11:20:48 15| Exhibit number 11.

11:20:51 16 MS. HUGGINS: Thank you.

11:20:59 17 (Video clip played.)

11420:59 18 BY MR. DAVENPORT:

11:20:59 19 Q. Do you see the three digits that are on

11:21:02 20] top of that police vehicle?

11:21:03 21 A. Yeah. It's kind of clear.
11:21:07 22 Q. And what are those three digits?

11:21:12 23 A. I know the -- I know the truck to be

 

 

 

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532.

Oh,

before?

January lst

A.

Q.

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that's clear now. Yeah, 532.

Do you recognize that police vehicle?
Yes.

And what do you recognize it as?
Buffalo Police vehicle.

Have you ever been in that vehicle

Yes.

How many times before January 1st?
I'm -- yeah. I'm unsure.

Were you in that vehicle after

of 2017?

Yeah.

Was that a car that you would typically

use during your shifts at C District?

A.
goes to the

Q.

No. We -- we change depending on what
garage because it's broke.

Okay. Was there a typical vehicle that

you would drive?

A.

Q.

This was Karl's assigned truck.

Okay. So Karl Schultz would typically

drive this truck then?

 

 

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11:22:04 1 A. Yeah. Yeah.
11:22:04 2 Q. So during your first 16 weeks of

11:22:06 3| training, this was the vehicle that you were using?

11:22:08 4 A. Unless it was at the garage, yes.
11;22:11 5 Q. Okay. Now, the video shows that you
11:22:15 6] drove past the red van at first. Do you know why

11:22:18 7} you drove past that red van?

11:22:20 8 A. I do not.

11:22:21 9 Q. The video also shows now, at 10:14, in
11:22:24 10] the top corner, that you were now backing up the
11:22:27 11| vehicle down Schmarbeck to where the red van is.

11:22:30 12] Do you know why you did that?

11:22:30 13 MS. HUGGINS: Form.

11:22:31 14 THE WITNESS: I don't.

11:22:32 15 BY MR. DAVENPORT:

11;22:33 16 Q. Were you going to this individual who
11:22:36 17) was out in the -- the sidewalk at this point?
11:22:39 18 A. I -- I don't remember, but it looks

11:22:43 19] that way.

11:22:47 20 Q. Now, you parked behind the red van.
11:22:49 21] Was there any reason that you would have done that?
11:22:53 22 A. Safety.

11:22:54 23 Q. And what would that safety reason have

 

 

 

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| 70
11:22:56 1] been?
11:22:58 2 A. I mean, so I can see someone in case
11:23:02 3) they're going to shoot me or something.
11:23:03 4] Q. Okay. And who would that person have
11:23:05 5| been?
11:23:06 6 MS. HUGGINS: Form.
11:23:07 7 THE WITNESS: Yeah. That -- that's just
11:23:09 8|/ a -- a general safety thing, so, I mean, I'm pretty

11:23:14 9| sure that that's the complainant for the call.

11:23:18 10 BY MR. DAVENPORT:
11:23:18 11 Q. Okay. So it wasn't necessarily that
11:23:20 12] you were driving behind the red van. You were

11:23:22 13| trying to get a visual on the individual who was

11:23:23 14] standing on the sidewalk, correct?

11:23:25 15 A. Yeah.

11:23:26 16 Q. Okay.

11:23:26 17 A. In the safest way.

11:23:27 18 Q. And that was a safety procedure?
11:23:30 19 A. Yeah.

s1f23:30 20 Q. Was that something that Karl Schultz

11:23:32 21] told you to do?
11:23:33 22 A. I -- I don't think he told me to do

11:23:36 23 anything, no.

 

 

 

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71
11:23:37 1 Q. Was that part of your training with the
11:23:39 2] ECC, Erie County Training Academy?
11:23:43 3 A. No, not really.
11:23:43 4 Q. Was that part of your training with
sa l23:45 5| Buffalo Police Academy?
ai2a:4s 6 A. No, not really.
11:23:49 7 Q. So was that something that you were
11:23:51 8] ever taught by ECC or the Buffalo Police Academy?
11:23:54 9 A. No.
11:23:55 10 Q. So that was just something that you did

12:23:56 11} on your own?
11:23:57 12 A. Yes.
11:23:57 13 Q. Okay. Who's that individual who's

11:24:01 14] getting out of the police vehicle?

11;24:03 15 A. Looks like it's me.
|
11:24:04 16 Q. Were you driving that day?
11:24:07 17 A. Yes.
11;24:08 18 Q. Did you drive the entire day, or did

11:24:10 19] Karl Schultz drive at any point?

11:24:13 20 A. I don't --

11:24:13 21 Q. On January 1st of 2017?

11:24:16 22 A. I don't know if I drove the whole day.
11:24:19 23 Q. During your first 16 weeks of training,

 

 

 

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tifeds2a 1} who predominantly did most of the driving?

11:24:26 2 A. The whole 16 weeks, I would say

11:24:29 3] predominantly it was me.

11:24:30 4 Q. Okay. Was there any reason why you
11:24:32. 5| drove instead of Karl?

11:24:34 6 | A. So I can learn the streets.

11:24:36 7 Q. Okay. Did he give you any sort of
11:24:40 8|/ directions on where to go and how to go to a call?
11:24:42 9 A. Tons of directions.

11:24:44 10 Q. Okay. Do you have any sort of a GPS in
11:24:46 11}; your vehicle?

11:24:48 12 A. They have a map on the computer that we

11:24:52 13] use, but we do not use it for GPS.

11:24:56 14 Q. Okay. What do you use that map for?
11:25:01 15 A. I -- I never used the map.

11:25:05 16 Q. Okay.

11:25:05 17 A. But people learn how to GPS calls that
11:25:09 18| way. You can also identify where other officers

11:25:12 19] are.

11:25:12 20 Q. Okay. So you had a pretty good

11:25:16 21] understanding of all the streets on C District and
11:25:18 22| you didn't use the map?

11:25:18 23 A. No, I didn't --

 

 

 

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73
11:25:19 1 MS. HUGGINS: Form.
11:25:20 2 THE WITNESS: I didn't have a good
1125:22 3} understanding at all. Karl said it's better to
11525:23 4| learn the streets by driving them rather than
11:25:27 5| GPS-ing them and staring at a computer.
11:25:29 6 BY MR. DAVENPORT:
11:25:29 7 | Q. Okay. Would Karl then give you oral
11:25:32 8| directions of where to drive?
11:25:33 9 A. Yes.
11:25:33 10 Q. Okay. And you never referred to that
11:25:35 11} map during your first 16 weeks then?
11:25:39 12 A. I can't say never, but I was --
11:25:43 13 Q. Do you refer to that map at all?
saloseas 14 MS. HUGGINS: Well --
11:25:45 15 MR. DAVENPORT: He said never.
11:25:46 16 MS. HUGGINS: I wasn't sure if he was
11:25:48 17 finished answering.
11:25:49 18 THE WITNESS: I can't say -- I can't say
11:25:50 19| never, but we really tried hard to stay away from
11:25:55 20] it.
11:25:56 21 BY MR. DAVENPORT:
11:25:57 22 Q. Okay. After your first 16 weeks, have
11:25:58 23) you ever used the map to go respond to a call?

 

 

 

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74
11:26:02 1 A. Not to respond to a call, but to find
11:26:05 2/ out where an officer was.
11:26:06 3 Q. Okay. So now you're walking behind the

11:26:13 4] police vehicle; is that accurate?

11:26:15 5 A. Yeah.

11:26:15 6] Q. Was there any reason why you walked
11:26:17. 7| behind the police vehicle rather than in front?
1126122 8 A. I don't -- I don't remember that day.
11:26:24 9 Q. Do you remember any difficulty with

11:26:26 10| walking on the Schmarbeck Drive that day?

11:26:30 11 MS. HUGGINS: Form.

11:26:31 12 THE WITNESS: Can you explain that?
11:26:33 13 BY MR. DAVENPORT:

11:26:34 14 Q. Was it icy? Was it slippery?
11:26:44 15 A. I don't remember.

11:26:45 16 Q. Okay.

11:26:46 17 A. I don't -- I don't remember.

11:26:47 18 Q. Okay. What kinds of shoes were you

11:26:50 19| wearing that day?

11:26:51 20 A. Boots.

11:26:52 21 Q. Boots?
11:26:53 22 Did you ever have difficulty walking on

11:26:55 23] streets with those boots?

 

 

 

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75
11:26:57. 1 A. Sometimes.
11:26:58 2 Q. Sometimes?
11; 26:58 3 And when would that be?
sita7:00 4 A. Like snow, icy, Buffalo conditions.
11:27:03 5 Q. Did you see any snow on the street that
11:27:05 6| day?
11:27:05 7 A. No.
11:27:06 8 Q. Any ice?
11:27:07. 9 A. It's not that clear, but, yeah, I don't
11:27:13 10] know.
11:27:13 11 Q. But as you sit here today, you don't
11:27:16 12} remember any difficulty with walking that day,
11;27:18 13 |} correct?
11;27:18 14 A. No. There was no -- not for me.
11:27:20 15 Q. Okay. Now, it seems that you are
11:27:28 16] approaching the individual who is standing on the
11:27:30 17| sidewalk; is that correct?
11:27:31 18 A. Yes.
11:27:31 19 Q. Why is it just you that is going out to
11:27:34 20| go speak with that individual?
11:27:38 21 A. Excuse me. I -- I don't remember.
11:27:42 22] I think Karl was letting me deal with a low-priority
11:27:46 23] call. |

 

 

 

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76
11:27:47. 1 Q. And how was that determined to be a
11:27:49 2| low-priority call?
11:27:52 3 A. I mean, there's a lot of variables.
11:27:55 4] You look at officer safety. There's -- it -- it
11:27:58 5| says right here priority 5, whereas a shooting
11:28:01 6] would be priority 1.
11:28:02 7 Q. Sure.
11;28:03 8 A. Things like that.
11:28:04 9 I'm not saying that a priority 5 can't go in

11:28:08 10|/ a southern direction, but assessing the video and
11:28:14 11] assessing the scene, you can kind of determine.
11:28:18 12 Q. Now, prior to January 1st, 2017, have
11:28:22 13] you ever -- had you ever responded to a call on
11:28:24 14| Schmarbeck and spoken with this individual?

11:28:26 15 A. I don't -- I don't remember.

11:28:28 16 Q. Do you recall if after January 1st,
11:28:33 17| 2017, did you ever respond to a call on Schmarbeck
11:28:35 18] and speak with this individual?

11:28:36 19 A. No.

11:28:37 20 Q. Now, at this point you know that you're
11:28:39 21 responding to a larceny or a theft, correct?

11:28:42 22 A. Yes.

11:28:43 23 Q. What's part of the normal procedure for

 

 

 

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77
11:28:46 1] responding to a larceny or theft?
11:28:48 2 Is there a typical procedure that you would
11}28:49 3]} £ollow?
11:28:50 4 MS. HUGGINS: Form.
11:28:54 5 THE WITNESS: I want to get the complainant's
11:28:55 6] name, date of birth, phone number, address, and
11:28:58 7| then find out the story of what had happened.
11:29:01 8 BY MR. DAVENPORT:
11:29:01 9 Q. And how would you get that information?
11:29:04 10 A. Just by talking to him.
11:29:06 11 Q. Would you have to get any sort of

11:29:08 12| identification or anything else to verify what the
11:29:11 13] complainant is telling you?

11$29:12 14 A. ID.

|
11:29:13 15 Q. ID? Is that typical?
11:29:15 16 A. Yes.
11:29:15 17 Q. Did you do that on this occasion?
11:29:18 18 A, I don't -- I don't remember.
11:29:20 19 Q. Would you have to look at the

11:29:22 20| license plate number for the vehicle? Would --
11:29:25 21| what would Karl Schultz be -- excuse me. Strike
11:29:28 22] that.

11:29:28 23 What would Karl Schultz be doing in the

 

 

 

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78
11:29:30 1] vehicle at this point?
11:29:31 2 MS. HUGGINS: Form.
11:29:31 3 THE WITNESS: I don't -- I don't know what
11:29:32 4] Karl Schultz could be doing right now.
11:29:34 5 BY MR. DAVENPORT:
11129:34 6 Q. I'm not asking what could he be doing.
saia9s37 7| I would be asking more so what should he be doing,
11:29:40 8] if he's not going out to go speak with the
11:29:42 9] individual?
11:29:42 10 MS. HUGGINS: Form.
11:29:43 11 THE WITNESS: I -- I think he's just letting
11:29:45 12} me -- me handle a low-priority call to see how I do

11:29:52 13] on it.

11:29:52 14 BY MR. DAVENPORT:

11:29:52 15 Q. Assuming --

11:29:53 16 A. And evaluate me. He's evaluating me.
11129156 17 Q. I'm sorry.

11s29:8¢ 18 So assuming that he wasn't evaluating you

11:29:58 19] and that you were out with a partner, somebody
11:30:01 20] who's not in training, would two officers go speak
11:30:06 21] with the individual or would just one officer go
11:30:09 22} speak with the individual?

11:30:09 23 MS. HUGGINS: Form.

 

 

 

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11}30:210 1 THE WITNESS: I -- I'm not going to assume.

11:30:14 2] There's a bunch of different variables that can be

11:30:19 3; taken into place -- or can be taken into

11:30:22 4 consideration for various different calls.

11:30:24 5 BY MR. DAVENPORT:

11:30:24 6 Q. Okay. What types of various

11:30:27. 7| circumstances would there be?

11:30:29 8 Would it be based off of the priority of the
11:30:31 9] call?

11:30:34 10 You know, I guess what other variables

11:30:34 11} would you --

11:30:34 12 A. It --

11:30:36 13 Q. -- take into consideration?

11:30:37 14 A. It could be --

11:30:38 15 MS. HUGGINS: Form.

11:30:39 16 THE WITNESS: It could be based off the

11:30:41 17| priority of the call. It could be based off the
11:30:44 18} complainant's actions. It could be based off of
11:30:48 19| third-, fourth-, fifth-party people that are
11:30:51 20] on scene.

11:30:53 21 BY MR. DAVENPORT:

ralsossa 22 Q. If there's one individual complainant,

11:30:56 23} would it be typical for one police officer to go

 

 

 

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respond to that individual rather than two police
officers for a priority 5 larceny/theft?

MS. HUGGINS: Form.

THE WITNESS: No. I've done both depending
on other variables.

BY MR. DAVENPORT:

Q. Was there any reason why, on January lst,
2017, there was only one officer that responded and

went out to go talk with that individual?

A. I don't -- I don't remember why I was
the only one that -- that got out --

Q. But --

A. -- of the vehicle.

Q. -- at this point, what kind of

information besides that basic information are you
trying to get from this complainant?

A. Just -- just the basic info.

Q. Would you be asking him any details
about what his complaint is?

MS. HUGGINS: Form.

THE WITNESS: Yeah. I would say that
I would be asking him about details about what had

happened to him.

 

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|
11:31:54 1 BY MR. DAVENPORT:
11:31:54 2 Q. Do you remember if this individual told
11:31:56 3] you -- told you any details about what his
11:31:59 4] complaint was?
11:31:59 5 A. I don't. I don't remember.
11:32:08 6 Q. Do you know what he was pointing to,
11:32:10 7| that individual complainant?
11:32:12 8 A. I don't.
11:32:19 9 Q. Was there any reason why you were still

11:32:21 10! standing on the street, away from the individual on
11/32:25 11|/ the sidewalk?

11:32:26 12 A. Safety.

11:32:27 13 Q. And what would those safety reasons be?
11:32:31 14 A. When someone's really close to you,

11:32:32 15] they can punch you or stab you.

11:32:56 16 Q. Do you remember if Karl Schultz was
11:32:57 17| saying anything from the police vehicle at this
11:32:59 18] time?

11:32:59 19 A. I don't remember.

11:32:59 20 Q. Can you see if his window is up or down
11/33:01 21] at this time?

11:33:02 22 A. No, not -- no, I can't.

11:33:08 23 Q. Do you remember if his window was up or

 

 

 

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11:33:10 1) down at this time?
11:33:11 2 A, I don't.
11:33:14 3 Q. Do you remember if Karl Schultz was
11:33:17 4] giving you any sort of directions on how to handle
tasa3ia9 5] the call?
11:33:20 6 A. I don't remember.
11:33:33 7 Q. Now, at the time 10:15:11, there's
11:33:36 8] a second police vehicle arriving. Do you agree
1:33:38 9} with that?
11:33:38 10 A. Yes.
11:33:41 11 Q. Do you happen to --
11:33:42 12 MS. HUGGINS: Form.
11:33:43 13 BY MR. DAVENPORT:
11:33:45 14 Q. Do you agree that there is a second
11:33:47 15| police vehicle arriving at this time?
rilaacas 16 A. Yes.
11:33:49 17 Q. Do you know who the two police officers
11:33:52 18| were in that police vehicle?
11:33:54 19 A. At -- at the time, I believe I just met
11:33:58 20] them.
11:33:59 21 Q. Okay. Do you remember, as you sit here
11:34:03 22} today, who was in that police vehicle?
11:34:05 23 A. As I sit here today, yes.

 

 

 

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| 83
11:34:06 1 Q. Who are those two individuals?

11:34:08 2 A. Lauren McDermott and Jenny Velez.
1ais4:t0 3 —Q. Did you have any prior conversations
11:34:12 4] with them before January 1st of 2017?

11:34:15 5 A. No. I -- I just met them this day.
11:34:18 6 Q. Okay. Did you meet them on this first
11:34:20 7| initial call?

11:34:21 8 A. No. I believe I met them on Sattler.
11:34:25 9 Q. Okay. So they were with you at a prior
11/34:29 10 call then, according to -- what exhibit is it?
11:34:35 11 A. 7.

11:34:35 12 Q. -- Exhibit 7, that would have been at
11:34:40 13] 8:02 a.m.; is that correct?

11:34:43 14 MS. HUGGINS: Form.

11:34:44 15 THE WITNESS: Looks like 6:51.

11:34:49 16 BY MR. DAVENPORT:

11:34:49 17 Q. Excuse me. I didn't realize that there
11:34:51 18| were two of them.

11:34:54 19 Did you see them when you went back to
11:34:56 20/ Sattler at 8:02 a.m.?

11:35:01 21 A. I don't remember if -- it was -- it was
11:35:04 22] Quring that call, so --

11:35:07 23 Q. It was during the 6:51 a.m. call?

 

 

 

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11:35:09 1 A. Yeah, it was during the 6:51.
11:35:12 2 Q. Okay. Did you speak both with Lauren
11:35:14 3} McDermott and Jenny Velez at that time?
11:35:16 4 A. Nothing beyond an introduction.
11:35:18 5 Q. Okay. Who were the primary officers on
11:35:21 6 that call?
11:35:22 7 A. That was --
11:35:23 8 MS. HUGGINS: Form.
11:35:23 9 THE WITNESS: Yeah. I'd have to see the CAD
11:35:26 10] on that.
11:35:27 11 BY MR. DAVENPORT:
11:35:27 12 Q. Okay.
11:35:28 13 A. Yeah. I'd have to see the -- the
11:35:30 14] complaint summary -- summary report on that.
11}35:32 15 Q. Was it you and Karl Schultz?
11:35:34 16 A. I would -- I would have to see the
11:35:38 17} complaint summary report. I know we were the first
11:35:41 18] ones on scene for that.
11:35:42 19 Q. Okay. Were Jenny Velez and Lauren
11:35:48 20] McDermott -- were they driving around at that time,
11:35:52 21] or were they dispatched to that call?
11:35:54 22 MS. HUGGINS: Form.
11:35:55 23 THE WITNESS: I don't know if they were

 

 

 

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11:35:58 L| driving around or not. I -- yeah, I can't speak on
11:36:07 2] what they were -- what they were doing.

11:36:08 3 And I don't remember if -- if they were
11:36:10 4] dispatched or not. I would need to see the summary

11:36:12 5] report for that.

11:36:13 6 BY MR. DAVENPORT:

11:36:14 7 Q. Okay. Besides introductions, did you
11:36:16 8| have any sort of a conversation with Lauren

11:36:19 9] McDermott and Jenny Velez?

11;436:20 10 A. No.

11:36:20 11 Q. Okay. Besides 6:51 a.m., was the next
11:36:24 12] time that you saw Jenny Velez and Lauren McDermott
11:36:28 13] at 33 Schmarbeck?

11:36:33 14 A. I don't -- I don't remember.

11:36:35 15 Q. Okay. Now, at this time, you're still
11:36:41 16| speaking with the individual complainant, correct?
11:36:44 17 A. Yes.

11:36:46 18 Q. Were Lauren McDermott and Jenny Velez,
11:36:48 19| were they saying anything to you at this time?
11/36:51 20 A. I don't remember. It doesn't -- it
11:36:53 21] doesn't look that way, but I don't remember.

11:36:55 22 Q. Would they have also been evaluating

11:36:57 23| how you responded to the call?

 

 

 

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11:36:58 1 MS. HUGGINS: Form.
11:36:59 2 THE WITNESS: Not an official form of
11:37:02 3|/ evaluation like Karl.
11:37:04 4 BY MR. DAVENPORT:
11:37:05 5 Q. Okay. Would it be an informal
11:37:06 6] evaluation?
11:37:08 7 A. I don't know if they were evaluating me
11:37:10 8] or not.
11:37:11 9 Q. Okay. What type of an evaluation would
11:37:14 10] Karl Schultz do?
11:37:15 11 Would it just be what he sees, or would he
41:37:18 12} also have to put together some sort of
11:37:21 13} documentation?
11:37:22 14 A. Every day of the 16 weeks, there was
11}37:26 15) a form that he filled out at the end of the -- the
11:37:29 16] shift. There was an evaluation form.
11:37:32 17 Q. Would that evaluation form take into
tia7s34 18; account each of the calls that you made that day,
11:37:36 19} or would it only take into account certain calls
11:37:39 20] that you responded to?
11:37:40 21 A. No. Every call.
11:37:40 22 Q. Every call?
11:37:42 23 | Now, you would have taken the background

 

 

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11:37:46 1] information for this individual. Would you then go
11:37:50 2] report that background information to Karl Schultz

11:37:52 3] in the car?

11:37:56 4 A. Yeah.

11:37:56 5 Q. Did you do that on this occasion?
11:38:02 6 A. I don't -- I don't remember.

11:38:03 7 Q. Would there be any reason to not report

11:38:05 8] that information to Karl Schultz?

11:38:08 9 A. No, there wouldn't be any reason.
11:38:10 10 Q. Would that be normal police procedure
11:38:13 11) is to take the background information and go report
11:38:15 12| it back to the officer who's in the car?

11:38:17 13 MS. HUGGINS: Form.

11:38:18 14 THE WITNESS: To a field training officer,
11:38:19 15}; yes.

11:38:21 16 BY MR. DAVENPORT:

11:38:21 17 Q. Do you remember, did you report that

11:38:24 18] information to Jenny Velez or Lauren McDermott?

11:38:28 19 A. No, I wouldn't -- I wouldn't report it
11:38:30 20] to them. I would report it to Karl.

|
11i3e:46 21 Q. Now, at this moment, you've walked back

11:38:48 22| to the police vehicle, correct?

11:38:49 23 A. Yes.

 

 

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11:38:50 1 Q. Did you see yourself, prior to this,
11:38:53 2] grabbing anything from the individual?
11:38:56 3 A. No.
11:39:00 4 Q. But you would have checked his ID or
11:39:02 5| verified his background information with some sort
11:39:05 6} of documentation, correct?
11:39:06 7 MS. HUGGINS: Form.
11:39:06 8 THE WITNESS: I don't know if I verified it
11:39:08 9] or not.
11:39:09 10 BY MR. DAVENPORT:
11:39:09 11 Q. Okay. Would there be any reason to not

11:39:13 12] verify his background information?

11:39:15 13 A. One of the -- I mean, one of the
11:39:17 14] reasons why I'm being evaluated is to make sure
11:39:20 15] I started doing those things, so maybe I -- maybe
11:39:22 16] I didn't do it on scene.

11:39:23 17 Q. Would Karl Schultz have told you -- if
11:39:26 18} you did or did not ask for that ID, would he have
11:39:30 19] told you to go back and get the ID from the

11:39:32 20] individual?

11:39:32 21 A. Yeah, he would have told me.
11:39:34 22 Q. Did he tell you on this occasion?
11:39:36 23 A. T have no idea.

 

 

 

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11:39:36 1 MR. DAVENPORT: So I'm playing the video
11:39:38 2] back, and I want you to see if you did or did not
11:39:41 3| ever grab anything -- any item whatsoever from this
11:39:45 4 { individual.
11:39:45 5 (Video clip played.)
11:39:45 6 | BY MR. DAVENPORT:
11:40:38 7 Q. Mr. Moriarity, before you went back to

11:40:40 8| your police vehicle, did you ever grab any items or

11:40:42 9] any identification from that individual?

11:40:43 10 A. No.
11:40:45 11 Q. I want you to watch after you've gone
11:40:47 12| back to the police vehicle and spoken -- are you

11:40:49 13} speaking now with Karl Schultz?

11:40:50 14 A. Yes.

11:40:52 15 Q. I want you to now watch and see if you
11:40:53 16] ever go back to the individual to grab any sort of
11:40:56 17} identification.

11:41:08 18 Now, Officer Moriarity, I just also want to
11:41:10 19| ask you very quickly: Why did Lauren McDermott and
1a:41:13 20 Jenny Velez pull up their vehicle directly behind
11:41:16 21) that minivan?

Lisaiiie 22 MS. HUGGINS: Form.

11:41:18 23 THE WITNESS: I have no idea.

 

 

 

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11:41:19 1 BY MR. DAVENPORT:

11:41:19 2 Q. Would there be any Buffalo Police
11:41:21 3] procedure reason why they would have to pull up
11:41:23 4| their vehicle at that time?

11:41:25 5 A. No. I don't know.

11:41:28 6 Q. No safety reasons or anything like
11:41:30 7] that? Okay.

11:41:33 8 MS. HUGGINS: She just needs a verbal
11:41:34 9] answer.

11:41:34 10 THE WITNESS: I'm sorry. I'm -- I'm unsure
11:41:36 11} why they -- why they pulled up their vehicle, if
11:41:38 12| for a safety reason, maybe they were listening,
11;41:41 13 maybe they wanted to hear what I was saying or what
suaasaa 14 the complainant was saying, maybe the complainant
11:41:46 15| was talking to them, maybe Karl was talking to

11:41:48 16| them.

11:41:49 17 BY MR. DAVENPORT:

11:41:49 18 Q. Okay.

11:41:49 19 | A. I don't know.

11:41:50 20 Q. All right. Now, Mr. Moriarity, would

11:41:58 21] you agree that at this time, you were talking with
11:42:00 22| the driver of that second police vehicle, or at

11:42:04 23] least standing next to the window of that?

 

 

 

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11:42:06 1 A. I'm standing somewhere in between the
11:42:08 2] two vehicles, yes.

11:42:09 3 Q. Are you facing the second police

11:42:11 4] vehicle?

11:42:12 5 A. It looks that way, yeah.

11:42:13 6 Q. Would there be any reason to stand
11:42:16 7| facing the direction of that police vehicle besides
11:42:19 8| speaking to the driver of that second police

11:42:21 9] vehicle?

11:42:22 10 MS. HUGGINS: Form.
11:42:23 11 THE WITNESS: I mean, if they were talking
11:42:24 12/ to me, I'm -- I'm acknowledging the fact that they

11:42:28 13| were talking to me and I'm saying something in
11:42:31 14] response.

11:42:32 15 BY MR. DAVENPORT:

11:42:32 16 Q. Do you remember any details of that

11:42:34 17] conversation?

11/42:35 18 MS. HUGGINS: Form.

11:42:35 19 THE WITNESS: No.

11:42:36 20 BY MR. DAVENPORT:

11:42:36 21 Q. They wouldn't have been giving you any

11:42:39 22| directions on how to handle that call?

11:42:40 23 A. I don't even know if we're -- I don't

 

 

 

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11:42:43 1| know what we're talking about, so no.

11}42:45 2 Q. But there would be no reason why they
vasaosa7 3} would give you directions on how to handle the call
11:42:49 4] correctly, correct?

11:42:51 5 A. They could be.

11:43:06 6 Q. Now, Mr. Moriarity, after you went back
11:43:08 7] to the police vehicle, you did not see yourself
11:43:11 8] check the identification of that individual,

11:43:12 9] correct?

11:43:13 10 MS. HUGGINS: Form.

11:43:14 11 THE WITNESS: With the video provided, I --
11:43:20 12] the one that we just watched, I did not go back to
11:43:22 13| the complainant.

11:43:23 14 BY MR. DAVENPORT:

11:43:23 15 Q. Would there be any sort of a document
11:43:25 16| that would say whether you checked the ID of that
11:43:28 17| individual or not?

11:43:32 18 A. No.

11:43:33 19 Q. Is there any sort of a document that's
11:43:36 20! generated for when you do check the ID of somebody?
11:43:43 21 A. No.

11:43:43 22 Q. What would be the reason for checking

11:43:45 23| the ID of somebody?

 

 

 

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11:43:46 1 MS. HUGGINS: Form.

11:43:47. 2 THE WITNESS: The reason why I do it is to
11:43:50 3] make sure that I'm talking to the person that
11:43:52 4| they're claiming to be.

11:43:55 5 BY MR. DAVENPORT:

11143:55 6 Q. And there's no sort of documentation
11:43:56 7| that comes back to verify that this is a valid
11:43:59 8| license or anything else to help you verify that
11;44:04 9| fact?

11:44:04 10 MS. HUGGINS: Form.

11:44:05 11 THE WITNESS: If I'm running someone's
11:44:07 12| license to see if they have a suspended license or
11:44:10 13] something, then yeah, there is, but, I mean, if I'm
11:44:13 14} just looking at an ID and seeing if that's the
11:44:17 15| person that's on the ID, then no, there's no --
11:44:20 16 there's no form.

11:44:21 17 BY MR. DAVENPORT:

11:44:21 18 Q. Okay. So you would only check at that
11:44:22 19| point if there was a suspended license, correct?
tasaeia7 20 That would be the only time a document is
11:44:28 21] generated?

11:44:29 22 MS. HUGGINS: Form.

11:44:31 23 THE WITNESS: I just want -- I just want to

 

 

 

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11:44:34 1| be clear. It's not -- there's no document that's
11:44:37. 2] generated. It just shows up on our computer, the
11:44:40 3| person's info, when we type in their -- their
11:44:44 4] license. There's no -- there's no document that is

11:44:47 5] spit out of a computer or anything like that.
11:44:53 6 MR. DAVENPORT: Now, as part of -- and you
11:44:55 7] can turn the camera back towards the witness.
11:45:00 8 Could we also maybe just go off the record

11:45:02 9] just to get the lights back on?

11:45:02 10 THE VIDEOGRAPHER: Yes.

11:45:02 11 MR. DAVENPORT: Okay.

11;45:02 12 (A recess was then taken at 11:45 a.m.)
11:46:26 13 (On the record at 11:46 a.m.)

11:46:26 14 BY MR. DAVENPORT:

11:46:26 15 Q. Now, Mr. Moriarity, we just

11:46:28 16| watched a video of you responding to the call
11:46:31 17] at 33 Schmarbeck. At this time, you would have
11:46:33 18] asked the individual for his background

11:46:37 19| information.

11:46:39 20 Now, at this time, do you -- do you recall
11:46:45 21] what you did after going back to go talk with Karl
nt }46:51 22} Schultz?

11:46:52 23 Did you go back to go speak with the

 

 

 

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11:46:53 1] complaint?
11:46:54 2 MS. HUGGINS: Form.
11:46:54 3 THE WITNESS: No, I don't remember.
11:46:55 4 BY MR. DAVENPORT:
11:46:55 5 Q. Do you remember going into the house at

11:46:58 6| that time?

11:46:58 7 A. No, I don't.

11:46:59 8 Q. Okay.

11:47:00 9 A. No.

11:47:01 10 Q. Would there be any sort of a document

11:47:03 11] or some sort of a recording or anything else that

11:47:05 12] would help to refresh your recollection?

11:47:09 13 A. Tf I went back into the house?
11:47:11 14 Q. If you went back into the house.
11:47:12 15 A. I -- I -- I never -- I don't think
11:47:14 16] I went in the house. But no, I mean, there
ralarsae 17| wouldn't -- there wouldn't be a -- a paper that

11:47:20 18} would say that I did.

11:47:23 19 Q. Now, prior to this occasion on

11147:26 20| January 1st, have you ever responded to a call
11:47:29 21| where a tenant had stole property from a landlord?
11:47:33 22 A. I don't -- I don't know. I don't

11:47:35 23] remember.

 

 

 

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11;47:35 1 Q. Have you ever responded to one of those
11:47:37. 2| types of calls after January lst of 2017?
11:47:41 3 . A. Yes.
11:47:42 4 Q. How many of those types of calls where
11:47:45 5] a tenant stole property from a landlord?
11:47:48 6 A. I don't -- I don't know an approximate
11:47:50 7| number. Not as often as you think.
11:47:56 8 Q. Would it be more or less than ten?
11:48:00 9 A. Over three years, probably more.
11:48:02 10 Q. Would it be more or less than 50?
11:48:06 11 A. Over three years, probably around that

11/48:09 12] maybe.

11:48:11 13 Q. Okay. Did you ever respond to a call
11:48:13 14] on Schmarbeck Avenue where a tenant stole property
11:48:16 15} from a landlord?

11:48:19 16 | A. I don't remember if that was the nature
11:48:21 17} of this call, but I -- I haven't had many calls on
11:48:27 18| Schmarbeck, so --

11:48:29 19 Q. Did you ever respond to a call where an
11:48:31 20] individual was walking out with appliances from
11:48:35 21} their apartment that belonged to the landiord?
11$48:41 22 A. I -- no, I don't -- I don't remember.

11:48:43 23 Q. Would you agree with me that if

 

 

 

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11:48:44 1] an individual wanted to take appliances from
11:48:48 2| a landlord, they would need to drive a large
11:48:50 3] vehicle?
11:48:50 4 MS. HUGGINS: Form.
11:48:52 5 THE WITNESS: Yeah, I mean, I don't -- just
11:49:01 6] to pull appliances out of a house and put them in
11:49:03 7| a -- in a vehicle and drive off, I would say that's
11:49:08 8| probably smart to have a big vehicle.
11:49:12 9 BY MR. DAVENPORT:
11:49:12 10 Q. At this time did you know if the
11:49:14 11|; individual that you were speaking to at
11:49:16 12|/ 33 Schmarbeck was a tenant or if he owned the
11:49:20 13] property?
11:49:22 14 A. I -- I do not remember the nature of
11:49:25 15] the -- the call and what was said between me and
11:49:28 16] the complainant for 33.
11;49:30 17 Q. Any of those instances that you
11/49:32 18| responded to a tenant who was stealing property
11:49:37 19] from a landlord, were there ever any times where
11:49:39 20! the crime was actually in progress at the time of
11:49:43 21} you responding to that call?
11:49:44 22 A. No.
11:49:44 23 Q. Have you ever witnessed a tenant taking

 

 

 

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! 98
|
11:49:48 L| property from a police -- from a landlord, whether
11:49:51 2| that be in your personal capacity or official
11:49:53 3| capacity?
11:49:55 4 MS. HUGGINS: Form.
11:49:55 5 THE WITNESS: I wouldn't -- yeah, no,
11:49:58 6| I don't think so.
11:49:58 7 BY MR. DAVENPORT:
11:49:59 8 Q. Now, at this time, did you know if
11:50:01 9| the individual had a valid driver's license at
11}50:05 10] 33 Schmarbeck?
11:50:06 11 A. From -- from the video that you played
11:50:09 12| for me, I don't -- I didn't see myself on there
11:50:12 13] ever checking his ID, so I don't really know if
11:50:15 14] I did check his ID or not.
11:50:17 15 Q. As part of your normal procedure for
11:50:21 16| responding to a -- an accusation of larceny or
11:50:25 17| theft, would you ever have to check the license
11:50:28 18| plate on a -- a vehicle that is at the location --
11:50:28 19 A. If --
11:50:32 20 Q. -- of the --
11:50:33 21 A. If it's apparent that the vehicle was
11:50:36 22} involved, then yes.
11:50:39 23 Q. Do you recall if on January 1st of 2017,

 

 

 

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you had checked the license plate of that red van?

A. I don't remember.

Q. Would there be any sort of a document
that would depict whether you had checked the
license of that red van or not?

A. I would say -- I would say no.

I don't -- I mean, just by the video, again,

I don't know if I -- I don't know what the rest
of the video showed, so I don't remember if -- if
I did anything else with the complainant.

Q. Do you recall, as you sit here today,
or do you know, as you sit here today, whether that
red van belonged to the complainant or not?

A. I do not know.

Q. So I'm going to ask you a few questions
about what happened immediately after that call to
33 Schmarbeck.

Do you recall an individual walking out into
the street after you responded to that call at
33 Schmarbeck?

MS. HUGGINS: Form.

THE WITNESS: The videos that we reviewed,

yes, I remember, based off the videos we reviewed.

 

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BY MR. DAVENPORT:

Q. But that's only based off of what you
Saw in the videos?

A. Yeah, I mean, I don't -- again, this
was a very, very long time ago, and I was very new.

Q. As you sit here today, do you know who
that individual was that's depicted in the video
walking out in the street?

MS. HUGGINS: Form.

THE WITNESS: Yes.

BY MR. DAVENPORT:

Q. And who is that individual?
A. Mr. Kistner.
Q. Okay. Do you remember any of the

details of a conversation that could have been had
between you and Mr. Kistner or Mr. Schultz and
Mr. Kistner when he was out in the street?

A. I don't think I had a conversation with
Mr. Kistner.

Q. Did Mr. Schultz say anything to
Mr. Kistner?

A. No, I don't -- I don't -- I don't think

so. Not when we were trying to drive off.

 

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101

Q. Why were you trying to drive off as
there was an individual in the street?

MS. HUGGINS: Form.

THE WITNESS: At the time, he wasn't
involved with our call, so we were leaving.

BY MR. DAVENPORT:

Q. Did he ask to speak to the officers at
that time?

A. I don't know if he said anything to us.

Q. Do you know if he said anything to
Ms. McDermott or Ms. Velez?

A. I -- yeah, I don't know. I wouldn't --

MS. HUGGINS: Form.

THE WITNESS: I don't remember.

BY MR. DAVENPORT:

Q. Now, do you recall, as you sit here
today, even if it was the video that helped to
refresh your recollection, did you drive past the
individual who was out in the street?

A. I did drive past him, yeah.

Q. And how long were you driving -- how
far past that individual did you drive?

A. I don't remember how -- how far.

 

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Q. Even based off of the video that you
saw, would you know approximately how far that you
drove?

MS. HUGGINS: Form.

THE WITNESS: I can't -- I can't judge
distance like that.

BY MR. DAVENPORT:

Q. Do you know approximately how fast you
were driving?

A. I -- I don't know how fast I was
driving. I know from -- it's a small street.

I can't get up too high in speeds.
Q. How long is Schmarbeck Avenue?
A. I wouldn't -- I wouldn't be able to

tell you that. It's a small city street, though.

Q. Okay. Is it a one way or a two way?
A. Two way.
Q. Were there any other cars that were

coming in the opposite direction from you?

MS. HUGGINS: Form.

THE WITNESS: I mean, from what the video
you guys have, it didn't show any.

BY MR. DAVENPORT:

 

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103
.Q. It didn't show any other vehicles
coming in the opposite direction?
A. It didn't show any, yeah, coming in the
opposite direction, that I remember.
Q. Do you normally wear your seat belt as

you're driving?

A. Sometimes.

Q. And that's driving a police vehicle,
sometimes you wear a seat belt?

MS. HUGGINS: Form.

THE WITNESS: Yeah, sometimes.

BY MR. DAVENPORT:

Q. What situations would you wear
a seat belt?

MS. HUGGINS: Form.

THE WITNESS: Situations where I remember or
I think it's icy or something.

BY MR. DAVENPORT:

Q. As a police officer, are you required
to wear a seat belt?

MS. HUGGINS: Form.

THE WITNESS: I'm not sure actually if it's

in our Manual of Procedures.

 

 

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BY MR. DAVENPORT:

Q. Is it a violation of the New York
traffic law to not wear your seat belt?

A. It is a violation for moving cars,
yeah, but if you look up our New York State VTL,
we're exempt from doing a lot of things.

Q. Do you know if you are exempt from
wearing a seat belt?

A. I don't actually.

Q. Was that ever told to you by Karl
Schultz?

A. No.

Q. Was that told to you by any other
officer, that you were not -- that you were exempt
from wearing a seat belt?

A. No.

Q. Do you know if Karl Schultz was wearing
a seat belt on that day?

A. I don't know.

Q. Do you know if Jenny Velez and Lauren
McDermott were wearing a seat belt on that day?

A. They were in a different car. I don't

know.

 

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11:55:56 1 Q. With any of the other officers that you
11:55:58 2{ have been with in their -- in the vehicle, have any
11:56:00 3]| of those officers worn a seat belt in the police
11:56:03 4] vehicle that you were driving?
11:56:04 5 A. Yeah, some do.
11:56:05 6 MS. HUGGINS: Form.
11:56:06 7 BY MR. DAVENPORT:
11:56:08 8 Q. Now, when you were driving -- when you
11:56:13 9] typically go to go drive a vehicle, do you check
11:56:16 10] any of your mirrors before you pull away?
11:56:19 11 A. Yes.
11:56:19 12 Q. What mirrors do you check?
salse:as 13 A. I check all of them because a lot of
1ass6:23 14} people are different heights.
11:56:24 15 Q. Okay. Now, do you check your mirror to
11:56:27 16| see what's around you or just to make sure that you
11:56:30 17! are able to see and you have a good vantage point
11:56:33 18| for looking through your mirrors?
11:56:35 19 MS.~ HUGGINS: Form.
11:56:35 20 THE WITNESS: To make sure I have a good
11:56:37 21| vantage point and I can see other cars and people
11:56:40 22} and whatnot.
11is6:41 23 BY MR. DAVENPORT:

 

 

 

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11:56:42 1 Q. Okay. Do you check your left mirror?
11:56:43: 2] Your driver's side mirror?

11:56:44 3 A. Yes.

11:56:44 4 Q. Do you check your passenger side
11:56:45 5| mirror?

11:56:45 6 A. Yes.

11:56:46 7 Q. And then do you check your rearview

{ 1
11:56:48 8] mirror?

11:56:48 9 A. Yeah.
11:56:48 10 Q. Do you look behind you at all?
11:56:49 11 A. No. You can't really see because of

11:56:52 12; the cage.

11:56:52 13 Q. Okay.
11:56:53 14 A. It's a little difficult.
11:56:54 15 Q. Okay. After you make that initial

11:56:56 16| check, do you ever look at your driver's side
11:56:59 17| mirror, your passenger mirror, or your rearview
11;57:02 18] mirror, as you're driving forward?

11:57:03 19 A. Often.

11:57:04 20 Q. often?

11:57:05 21 And what are you looking for typically?
11:57:08 22 A. Other cars and -- and people to see
11:57:11 23] what -- what they're doing.

 

 

 

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Q. Okay. On this occasion do you recall
if you looked into your driver's side mirror or
your passenger side mirror or your rearview mirror
as you were driving away?

MS. HUGGINS: Form.

THE WITNESS: I remember looking in my
driver's side mirror.

BY MR. DAVENPORT:

Q. Okay. And why were you looking at your
driver's side mirror?

A. Karl told me to -- he directed my
attention to the mirror and said, hold on; let's
make sure they get out okay.

Q. Okay. Did you stop your vehicle at
that point?

A. I don't -- I don't remember.

Q. Okay. Were you -- were you looking
only at your driver's side mirror at that point
when Karl said, let's hold on; let's wait to see if
they make it out okay?

A. In between that and looking forward.

Q. Okay. What was the reason for Karl

saying, let's make sure that they make it out okay?

 

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MS. HUGGINS: Form.
THE WITNESS: At the time, I'm too new.
I don't -- I was just doing what he told me --
BY MR. DAVENPORT:
Q. Okay.
A. -- to do.
Q. Okay. With your experience that you've

gained since this incident, would there be any
reason why Karl would have told you to make sure
that they make it out okay?

MS. HUGGINS: Form.

THE WITNESS: Yeah, I mean, there could have
been a whole bunch of reasons why someone would
walk up to a police vehicle, so for officer safety,
he would have told me to look out -- look out the
mirror.

BY MR. DAVENPORT:

Q. Do you know, on January lst, why that
individual was walking up to a police vehicle?

MS. HUGGINS: Form.

THE WITNESS: I -- I don't. I don't know.

BY MR. DAVENPORT:

Q. Did Karl Schultz know why that

 

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individual was walking up to a police vehicle?

MS. HUGGINS: Form.

THE WITNESS: He didn't tell me. No, I don't
know.

BY MR. DAVENPORT:

Q. Do you remember Karl Schultz ever
saying, we're leaving, to that individual?

A. I -- I don't. I don't remember.

Q. Would you have any reason to think that
he didn't say, we're leaving?

A. Again, I don't -- I don't remember.

I don't remember what he said.

Q. Now, as Karl Schultz said, wait; let's
see what happens; let's make it out of there
okay -- let's make sure that they make it out of
there okay, were you still driving forward at that
time?

A. I don't know if I -- I don't remember
if I was stopped or slowing to a stop or continuing
straight.

Q. Okay. As you were driving away -- as
your vehicle was driving away from the incident,

did you see anything that was happening behind you?

 

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A. I remember having a conversation with
Karl about how it looked like Mr. Kistner threw
himself on the vehicle. I -- I can't remember
exactly how it looked because I was so new. I just
remember having the conversation with him.

Q. And where did you have that
conversation?

A. In the -- in the police vehicle.

Q. Okay. Would that have been before or
after you got out of the police vehicle after the
collision was made with Mr. Kistner?

MS. HUGGINS: Form.

THE WITNESS: That would have been before.

BY MR. DAVENPORT:

Q. Okay. So the collision would have
happened, you would have been in your police
vehicle, and Karl Schultz would have told you that
Mr. Kistner threw himself at the police vehicle?

MS. HUGGINS: Form.

THE WITNESS: Like I said, I remember having
a conversation talking about it. I don't -- I don't
remember if we both said it or if he just said it,

but the conversation took place, then we exited the

 

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vehicle, and walked back.

BY MR. DAVENPORT:

Q. Okay. How long did that conversation
last?

A. It probably didn't last very long, but
I don't know an approximate time.

Q. Did he happen to say what your next
steps should be at that point?

A. I don't remember. I just -- we just
got out, I think.

Q. Did you exit the police vehicle because
Karl Schultz exited the police vehicle?

A. Yes.

Q. Did he tell you to exit the police
vehicle?

A. No. I just did it because he did it.

Q. As you were walking back to the scene,
did you have any personal viewpoints on what had
happened at that point?

A. Can you -- can you explain that? What
do you mean?

Q. Did you happen to view yourself any of

the incident, or were you just going based off of

 

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12:01:49 L| what Karl Schultz told you?

12:01:50 2 . A. No. We were -- we were both walking
12:01:52 3| back. We would have both seen Mr. Kistner.
12:01:59 4 Q. Where -- where would you have seen

12:02:01 5] Mr. Kistner as you were walking back?

12:02:03 6 MS. HUGGINS: Form.

12:02:03 7 THE WITNESS: On the ground.

12:02:04 8 BY MR. DAVENPORT:

12:02:05 9 Q. So I guess my question is: With what

12:02:08 10| Karl Schultz said, that Mr. Kistner threw himself
12:02:10 11| at the police vehicle, did you happen to watch any
12:02:13 12] of that incident unfold before you exited the
12:02:16 13} police vehicle?

1os02:27 14 A. Well, like I said, I -- I remember
12:02:19 15| having a short conversation with Karl about what
12joa:26 16 we -- what we saw from the mirror, but that would
12:02:31 17} have been it.

12:02:32 18 Q. So now you're saying, what we saw from
12;02:35 19 the mirror. Were you also looking at the driver's
12:02:37 20} side mirror when the collision was made with
12:02:39 21| Mr. Kistner?

12:02:39 22 A. Well, yeah, that's what I said. I said

12:02:42 23| I was looking in the driver's side mirror and

 

 

 

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then --

Q. And --

MS. HUGGINS: Well, let --

THE WITNESS: -- and then also looking
forward.

BY MR. DAVENPORT:

Q. Okay. So now you're -- you're looking

forward and looking at the driver's side mirror.
Were you looking at the driver's side mirror as the
collision was made?

MS. HUGGINS: Form.

THE WITNESS: I don't -- I don't remember.
In order for me to have the conversation with Karl,
I would say I was looking in the mirror at the
time.

BY MR. DAVENPORT:

Q. And did you have any sort of an opinion
of what happened?

MS. HUGGINS: Form.

THE WITNESS: From -- from my perspective
looking into the mirror, it looked as though he
threw himself on her vehicle.

BY MR. DAVENPORT:

 

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Q. And what led you to believe that
Mr. Kistner threw himself on the police vehicle?
A. Again, I don't -- all I remember was
having the conversation with Karl about his
approach to the vehicle, and then from our -- from

our perspective, our vehicle was straight down the

street, and then we were looking in the mirror, and

then her vehicle was -- I don't know the word --
just --

Q. Diagonal?

A. Diagonal, yeah. So it looked like he

threw himself on the vehicle.

Q. So besides the fact that Mr. Kistner
was walking towards the vehicle and her vehicle was
diagonal, what other things did you see that led
yourself to believe that Mr. Kistner threw himself
at the vehicle, rather than the vehicle colliding
with Mr. Kistner?

MS. HUGGINS: Form.

THE WITNESS: Again, long time ago. I was
very, very new, and from our -- from my perspective,
because I can't speak on Karl's perspective, from

my perspective, that's all I was going off of.

 

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BY MR. DAVENPORT:

Q. Were you going off of what Karl told
you, or were you going off of what you saw?

A. No, no, no. From -- from what I saw.
Like I said, from my perspective, that's what it
looked like. But, I mean, even as I sit here right
now, I can't remember what it looked like. It
was --

Q. Do you remember if the police vehicle

that Lauren McDermott or Jenny Velez, that they
were in, was that vehicle stopped or was it moving
at the time of the collision?

MS. HUGGINS: Form.

THE WITNESS: From -- from my perspective as
I was looking in the mirror, it appeared as though
it was stopped.

BY MR. DAVENPORT:

Q. How long, approximately, was it stopped
before that collision was made?

MS. HUGGINS: Form.

THE WITNESS: I -- I -- I can't judge time
like that, but the whole -- the whole incident

looked pretty quick.

 

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BY MR. DAVENPORT:

Q. Now, what part of Mr. Kistner's body
initially contacted the police vehicle?

A. I --~ I don't remember.

Q. Do you recall if Mr. Kistner stuck his
arm out at all?

A. I don't.

Q. Do you recall how he fell to the
ground?

A. I remember having a conversation with
Karl about him squatting down, leaning back, and
then putting his hand on the ground, and then
completing the fall.

Q. Now --

A. But I don't -- I don't remember seeing

that because it was so long ago and I was so
brand new.

Q. Now, was that something that you saw
independently, or was that just something that Karl
said?

Because you're saying that we had it --

A. That was -- yeah. That -- well, that

was something that I saw and then had the

 

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conversation with Karl about. But, again, as I sit
here right now, I don't remember.

I mean, it -- it was -- like I said, it was
so. long ago and I was so brand new.
—Q~. Okay. At the time of the incident, is

that what you believed was that Mr. Kistner stuck
his arm out and then fell to the ground, as the
police vehicle was stopped?

A. At the time of the incident, yes, that
is -- that is what I believe.

Q. Okay. Now, as Mr. Kistner's falling to
the ground, is your police vehicle stopped or is it
moving at that time?

A. I -- I don't remember.

Q. When approximately did you stop your
police vehicle?

A. I -- I don't remember when I stopped

it, if it was before the incident or after or

during.

Q. Did Karl ask you to stop the police
vehicle?

A. I don't remember if he asked me or not.

All I know is I did.

 

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118
12:06:51 1 Q. Did you back up the police vehicle
12:06:53 2| after?
12:06:54 3 A. Yes.
12106:54 4 Q. Okay. Approximately how far did you
12:06:57 5| back up the police vehicle?
12:06:58 6 A. I can't judge distance like that.
12:07:00 7] I don't -- I don't -- I don't know, I don't even
12:07:02 8j know where I stopped it.
12:07:03 9 Q. Okay. Now, why did you back up the
12:07:07 10] police vehicle at that time?
12:07:08 11 A. I probably didn't want to walk very
12:07:11 12] far.
12!07:11 13 Q. Okay.
s2lo7:14 14 A. Or it was quicker.
12:07:16 15 Could have been either of those.
12:07:17 16 Q. Before you and Karl got out of the car,
12:07:19 17| were Jenny Velez or Lauren McDermott out of the
12:07:23 18] police vehicle?
12:07:23 19 A. Before -- before me and Karl got out of
12:07:25 20} the car?
12:07:26 21 Q. Before you and Karl got out of the car.
12:07:27 22 A. I -- I don't know.
12:07:28 23 Q. Okay.

 

 

 

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A. I couldn't -- I couldn't see who was --
who was doing what at that point in time. I was
Focused on reversing.

Q. Now, as you were walking back towards
Mr. Kistner, were you and Karl having any sort of
a conversation?

A. I don't remember if we were or not.

Q. Okay. As you were walking back towards
the police vehicle, what did you notice about
Mr. Kistner?

A. As we were walking back towards Lauren
and --

Q. Yes. Back towards the second police
vehicle.

A. I just remember him being on the
ground.

Q. Was he saying anything at that time?

A. Don't remember.

Q. Do you remember any other individuals
besides Jim Kistner being out anywhere in that
police scene?

MS. HUGGINS: Form.

THE WITNESS: I don't know for sure if it

 

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was his son, but a young -- young male came out
from -- from that house.

BY MR. DAVENPORT:

Q. What led you to believe that it may
have been Mr. Kistner's son?

A. I don't -- I don't know if it was ever
said that it was his son, but he came out of the
same house that Mr. Kistner came out of.

Q. So you did see Mr. Kistner come out of

the house, the same house that that individual came
out of?

A. Yeah.

Q. Okay. Did you watch Mr. Kistner leave

that house initially?

A. It -- it wasn't too important enough
for me at the time. We were just leaving.
Q. Was -- were you in your police vehicle

when you saw Mr. Kistner first?
| MS. HUGGINS: Form.
THE WITNESS: Yeah, I don't remember.
BY MR. DAVENPORT:
Q. Were you out in the street?

A. No. I would have been in the car.

 

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Q. Okay. And so how long approximately
was it, after you first saw Mr. Kistner, that you
then made it out into the street?

A. From when we were trying to leave, to
when I saw him come into the street? Is that what
you're saying?

Q. Well, I guess what you were telling me
is that you saw that Mr. Kistner walked out of the
same house that the second person came out of.

So I guess what my question is: After you
first saw Mr. Kistner come out of that house, how
long was it before he entered the street?

MS. HUGGINS: Form. You can answer.

THE WITNESS: I don't -- I don't -- I don't
know if I'd be able to judge that time. I'm -- I'm
thinking it was quick.

BY MR. DAVENPORT:

Q. Was it minutes or was it seconds?
A. Not many minutes.
Q. But you're thinking it would have been

minutes?
A. Like maybe one or maybe seconds.

Q. Okay.

 

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A. Yeah, I don't know.

Q. Do you know why you and Karl Schultz
would have been sitting in your police vehicle for
a few minutes after you first entered your police
vehicle?

MS. HUGGINS: Form.

THE WITNESS: I -- I don't remember.

He could have been giving me an on-the-spot
evaluation. We could have just been talking about
nothing. We could have been just sitting there.

And like I said, I don't remember what --
what all we did on the larceny at 33 Schmarbeck, so
we could have just been talking about that right
before we were leaving.

BY MR. DAVENPORT:

Q. Would that be something that he would

normally do is give you an on-the-spot evaluation?

A. Sometimes.
Q. Was that often or --
A. Over 16 weeks, yeah, I mean, sometimes

he would just be like: You did a good job, or,
hey, do this, do this better.

Q. What kinds of things would he ask you

 

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to -- you know, what kind -- sorry. Strike that.

What kinds of procedures would he point out
that you didn't possibly do correctly during your
training?

MS. HUGGINS: Form.

THE WITNESS: Well, like I said, basic
information, if you -- if you get their name, date
of birth, and phone number, maybe you forget
a phone number to write down or something or, you
know, something -- something small like that, he
would be like: Hey, go back out there and do this.
Or, hey, make sure you do this better next time.

BY MR. DAVENPORT:

Q. Now, would you have -- I'm sorry.
Strike that.

For -- when you were walking back towards
Mr. Kistner towards the police vehicle, you said

that you saw him on the ground, correct?

A. Yeah.

Q. Was he sitting up, or was he laying
down?

A. I think he was laying down, but
I can't -- I can't be too sure.

 

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Moriarity - Davenport - 2/21/20

124
12412215 1 Q. Okay.
1a:12:16 2 A. Very long time ago.
12:12:17 3 Q. No. Sure. Sure.
12:12:20 4 Was he holding any part of his body at that
12:12:24 S| time?
12:12:24 6 A. I don't remember.
12:12:24 7 Q. Okay. Was he complaining about his
12:12:27 8| head hurting him?
12:12:27. 9 A. I don't remember.
12:12:31 10 Q. Who was the first person that made it
12:12:34 11} to Mr. Kistner? Who first spoke to him?
12:12:36 12 MS. HUGGINS: Form.
12:12:38 13 THE WITNESS: I -- at this point in time, it

12:12:40 14] was not me, so I don't know who spoke to him first.
sasazsas 15 BY MR. DAVENPORT:

12:12:45 16 Q. Okay. Once somebody did speak to
12:12:52 17| Mr. Kistner, do you remember what was said to him?
12:12:54 18 A. No.

12:12:54 19 | Q. What kinds of things would have been
12:12:56 20| said to him?

12:12:56 21 MS. HUGGINS: Form.

ralazes7 22 THE WITNESS: I'm -- I'm unsure of what type

12:13:00 23] of things could have or would have been said to

 

 

 

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him. Very new in a very chaotic situation.
I didn't do much but attempt to observe as much
as I could.

BY MR. DAVENPORT:

Q. And what were you trying to observe?

A. What other officers were -- were doing,
what Mr. Kistner was doing.

Q. Now, I understand that you were new at
the time --

A. Yeah.

Q. -- but based on the experience that
you've been able to gain, what should have been
done if there was an individual -- whether he threw

himself at the police vehicle or whether the police
vehicle struck him, if he was on the ground, what
should have been done next?

MS. HUGGINS: Form.

THE WITNESS: Well, I mean, it's not so much
as what should have been done, it's what we did.
And what we did was observe what had just taken
place in front of us, and then other senior
officers assessed what to do.

BY MR. DAVENPORT:

 

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Q. Okay. And was there any sort of an
assessment of any physical injuries or medical
conditions that he may have had?
A. Yeah. I mean, as we're -- as we were
walking up, you can -- you can assess the person as

they are visually in front of you.
You know, he didn't have bones sticking out.

There was no tons of blood or anything leaking out

anywhere. That was the assessment that I made.
I don't know what the other officers -- senior
officers did. Or observed. I'm sorry.

Q. Right.

Now, would it only take bones sticking out
or blood gushing all over the place for that person
to have a physical examination by a physician of
any injuries he may have had?

MS. HUGGINS: Form.

THE WITNESS: No, but we did take him to
ECMC.

BY MR. DAVENPORT:

Q. And how long, approximately, after he
had been on the ground, was he taken to ECMC?

A. T'm -- I'm unsure.

 

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Moriarity - Davenport - 2/21/20

1 Q. What would be the appropriate response
2) time for getting him to ECMC after a car -- a

3| collision with a car?

4 MS. HUGGINS: Form.

5 THE WITNESS: I -- I would say that there's
6| the appropriate response time would be determined

7| by the actions of the person that was -- that was

8} hit and the officer's assessment.

9 BY MR. DAVENPORT:

10 Q. Now, why would the actions of the

11| individual play a part in whether that person

12| should go to the hospital for an assessment of

13|} physical injuries?

14 A. Well, I say -- I say the actions of the

15| person because I'm going off of what I had

16| previously stated about observations.

17 If you're bleeding from a gunshot wound, and

18| sometimes ADI, there's just no -- I'm sorry. Not
19! ADI, but an ambulance, sometimes there's no
20|/ ambulance even available, so we might take them

21] immediately.

22 Q. Now, even assuming that there might not

23! be blood gushing, would you sometimes take

 

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individuals to ECMC yourself rather than waiting
for an ambulance to arrive?

A. There are -- there are times, yes.

Q. And what would be those times where an
officer rather than an ambulance would take that
individual to assess them for physical injuries?

MS. HUGGINS: Form.

THE WITNESS: Maybe because -- I mean, this
goes back to where I said that there's a lot of
different variables.

Maybe the officer wants to just get them
there quicker. Maybe there's no ambulance
available. Maybe they're saying that the ambulance
is taking too long. The observed potential
injuries.

I mean, there's -- there's a lot of
different variables that would -- that would make
someone take them to ECMC in their patrol vehicle
or not to.

BY MR. DAVENPORT:

Q. So what types of observed personal
injuries would make it where an officer rather than

an ambulance would take that person to ECMC?

 

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12:16:45 1 MS. HUGGINS: Form.
12:16:45 2 THE WITNESS: So -- so, again, it would
12:16:48 3 go -- it would go back to other different variables.
12:16:51 4 If -- there's -- there's been times where
12:16:52 5| people have been shot and we let them go in an
12:16:55 6] ambulance. There's other times where we rush them
12:16:58 7| there in our -- in our patrol car.
12:16:59 8 BY MR. DAVENPORT:
12:17:00 9 Q. Well, sure, but let's move away from
12:17:02 .10] a gunshot wound. Let's say that a person had some
12:17:06 11/ sort of a head injury, because that's, you know,
12:17:09 12| more pertinent to this case.
12:17:10 13 What sorts of circumstances would make it
12:17:12 14| where a police officer rather than an ambulance
1alv7:16 15{ would drive that individual to the hospital?
12:17:19 16 MS. HUGGINS: Form.
12:17:24 17 THE WITNESS: Maybe we're just trying to get
12:17:27 18| them quicker attention, and it's -- it's -- if
12:17:33 19} the -- maybe if the subject is still moving around,
12:17:35 20] we know that there's no neck injury, so you can
12:17:38 21] still take them.
12:17:40 22 BY MR. DAVENPORT:
12:17:40 23 Q. Is that --

 

 

 

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A. There's other -- there's a lot of

different variables.

Q. Now --
A. Going off of observations from that
specific time. There's no -- there's no set rule

that one follows.

Q. Now, would you agree with me that if
there was some sort of internal brain bleeding,
that would be something that would be not
observable, correct?

MS. HUGGINS: Form.

THE WITNESS: Internal brain bleeding would
not be observable, that is correct,

BY MR. DAVENPORT:

Q. And would that be part of your
assessment of the individual, whether he should be
driven by police officers or driven by an ambulance?

MS. HUGGINS: Form.

THE WITNESS: Can you -- can you say that
again?

BY MR. DAVENPORT:

Q. Would it be part of your consideration

as a police officer, if that person may have

 

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internal brain bleeding, that that person should go
by ambulance or by a police vehicle?

A. Sure, if there was something that we
thought was happening internally.

| Q. And what kinds of things would you
observe that would lead you to believe that
something was happening internally?

MS. HUGGINS: Form.

THE WITNESS: Maybe discoloration of the
face. Maybe there was some breathing problems.
Before we might do something like that, maybe an
officer with experience might make some type of
decision as far as whether or not to take someone.

BY MR. DAVENPORT:

Q. If a person had an abrasion on their
head after a car accident, would it be an ambulance
or a police officer that would drive that individual
to the hospital?

MS. HUGGINS: Form.

THE WITNESS: That can be determined on scene.
That can change from -- from accident to accident.

BY MR. DAVENPORT:

Q. And what sorts of things in your

 

 

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training would lead you to believe that that is
something that is an officer's discretion rather
than something that you are mandated to do?

MS. HUGGINS: Form.

THE WITNESS: You mean taking them in the
patrol vehicle --

BY MR. DAVENPORT:

Q. Rather than an ambulance.

A. -- up to ECMC?

Maybe the -- the -- the person is
complaining of pain -- severe pain and there's no
ambulance available. Or maybe we're just trying to
get them quicker medical attention.

Q. If somebody noticed an abrasion on
their head, would they have to be medically
examined?

MS. HUGGINS: Form.

THE WITNESS: No, not necessarily. They
don't have to be. They can deny medical attention.

BY MR. DAVENPORT:
Q. If that person doesn't deny medical
attention, are you obligated, as a police officer,

to ensure that that person gets medical attention?

 

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A. Yeah.

Q. Do you, as you sit here today, know if
Mr. Kistner had an abrasion on his head that day?

A. I don't -- I don't remember. I was
observing what the other officers were doing.

Q. Now, if somebody was complaining that
their head hurt, are you obligated, as a police
officer, to then go and check that person's head?

A. Yeah.

Q. Do you know, as you sit here today, if
anybody went to go check Mr. Kistner's head?

A. I don't know if -- I don't know if --
if the other officers were just observing from
where they were standing or not.

They very well could have been just
observing from where -- where they were standing,

Q. Do you agree that if a person has hair
rather than no hair, it may not be something that's
observable without actually putting your hands
through that individual's hair to notice if there's
an abrasion or not?

MS. HUGGINS: Form.

THE WITNESS: I would say that the relevance

 

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to do that wouldn't be there when we can just have
a medical professional do that and be the -- be the
judge on that.

BY MR. DAVENPORT:

Q. Now, I agree that, you know, this
person should eventually be checked by a medical
professional, but if at the scene that person is
complaining of a head injury, you don't observe any
abrasions, and they might be located in the hair
somewhere where there's hair located, what would
determine whether that person needs to go directly
to the hospital through an ambulance or whether the
police officer can drive that person to go get the
medical attention that they need?

MS. HUGGINS: Form. Asked and answered.

THE WITNESS: There's -- there's a -- it's
just police discretion.

Like I said, I've -- I've done that a few
times where I've just driven them up there and
never observed any -- any -- any physical or
medical injury and just took them in there to see
a medical professional.

There's other times where I just call on the

 

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scene and I've never observed anything, and there's
times where I have observed things and I've taken
them to ECMC or let an ambulance come to the scene.

I mean, it just depends on -- on the call.
But I wasn't making that call that day.

BY MR. DAVENPORT:

Q. Sure.

If somebody has an abrasion on their
forehead, would they be required to get medical
attention?

A. They're not required to, if they can
decline medical attention, if they choose to.

Q. If they decline -- if they don't
decline medical attention, are you required, as
a police officer, to make sure that they have their
head checked, if you see an --

A. If they --

Q. -- abrasion on there?

A. If they -- if they don't decline, yeah.
I mean, there's times where -- like I said, it
depends on what -- what the person wants, because
people have said, well, I'll just go get it checked

out later.

 

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They've told us that, and we don't have to --

Q. Did Mr. --

A. -- to wait for them.

Q. Did Mr. Kistner tell you that he was
going to go get his head checked out later?

A. I don't remember if Mr. Kistner told
me -- anything specifically to me. He could have
told other officers that.

Q. Now, when you were walking back towards
Mr. Kistner, you said that he was on the ground,
correct?

A. Yeah. Yeah.

Q. And when you first got to Mr. Kistner,
did you make your own visual assessment of
Mr. Kistner?

A. Yeah.

Q. Was he on the ground, or was he sitting

up at that time?
MS. HUGGINS: Form.
THE WITNESS: T dontt -- I don't --
MS. HUGGINS: Asked and answered.
THE WITNESS: I don't remember if he was

sitting down. I'm pretty sure he was laying down.

 

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137
12:23:54 1 BY MR. DAVENPORT:
12:23:54 2 Q. Did Mr. Kistner ever sit up at any
12:23:56 3| time?
12:23:58 4 A. I don't remember.
12;23:59 5 Q. Did anybody bring Mr. Kistner to his
12:24:03 6] feet?
12:24:03 7 | A. I know that I helped him walk back to
12:24:08 8| the truck. I don't know if I was one of the ones
12:24:10 9] that sat him up and helped him to his feet.
12:24:18 10 Q. Do you remember who put the handcuffs
12:24:20 11| on Mr. Kistner?
12:24:21 12 A. I don't.
12 |oa:22 13 Q. Were handcuffs put on Mr. Kistner?
12:24:24 14 A. I believe so.
12:24:26 15 Q. And who would have been the person to
vaioaize 16} put those handcuffs on Mr. Kistner?
12:24:30 17 A. I don't remember.
12:24:31 18 Q. Up until this point, have you ever put
12:24:35 19] handcuffs on an individual?
12:24:36 20 A. Yes.
12:24:36 21 Q. And was that something that you did
12:24:38 22 before January lst of 2017?
12) 24:44 23 A. I don't know if I had used my own cuffs

 

 

 

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on someone up until this point.

Q. Had you ever used somebody else's
handcuffs before January lst of 2017?

A. I don't remember yet.

Q. Okay. During your 16 weeks, do you
have an approximation for how many times you used
handcuffs on an -- an individual?

A. It was -- it was often, but up until
this date, I don't -- I don't remember if I had
done that yet.

Q. Okay. As you were walking Mr. Kistner

back towards your vehicle, what was the purpose for
walking him towards your vehicle rather than Lauren

McDermott and Jenny Velez's vehicle?

A. I don't remember why that call was
made.

Q. Do you know who that call was made by?

A. I don't remember.

Q. Who was the most senior officer at that

situation?
A. T don't know how much time Lieutenant
Velez has on.

Q. Okay.

 

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A. Maybe -- maybe Karl, though.

Q. Okay. Who -- at that point, was there
any conversation that was had between any of the
officers?

A. What do you mean?

Q. Was there any sort of a conversation,
prior to getting Mr. Kistner to his feet, between
you, Mr. Schultz, Ms. McDermott, and Ms. Velez?

A. I don't know what anyone would be
talking about. I think I was more in the state of
trying to observe what was going on.

Q. Did you at all help -- well, you said
that you helped Mr. Kistner walk him back towards
your police vehicle, correct?

A. Yeah. Per -- per the video that you
guys have, yeah. That's --

Q. Okay.

A. That's what I was going off of.

Q. And do you know who else was helping to

get Mr. Kistner back to the police vehicle?
A. I'd have to see the video again.
Q. Okay. Okay. Where did you put

Mr. Kistner after you walked him back to your

 

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police vehicle?

A. It was me and another officer. I don't
remember which one. We put him in the back of 532.

Q. Now, was he arrested at that point?

A. At -- at this point I don't -- I didn't
know. I was way too brand new.

Q. Okay.

A. I didn't -- I didn't know what was
going on.

Q. Now, at any point before handcuffs were
put on Mr. Kistner, was -- did anybody read him his
Miranda rights?

A. I don't remember.

Q. After handcuffs were put on Mr. Kistner,

did anybody read him his Miranda rights?

A. Tf -- if they didn't, I don't -- I
don't remember.

Q. Now, once Mr. Kistner was in the back
of your police vehicle, what were the next steps at

that point?

A. I believe I just referred to whatever
Karl Schultz was -- was doing.
Q. Do you recall what was done after

 

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Mr. Kistner was put in the back of the police
vehicle?
A. I don't.
Q. Was there any reason to keep him in the

back of the police vehicle rather than outside the

police vehicle?

A. I wouldn't know what the senior
officers were -- were thinking at the time.
Q. But as you sit here today, with the

experience that you now have, would there be any
reason to have Mr. Kistner in the back of the
police vehicle rather than outside the police
vehicle?

MS. HUGGINS: Form.

THE WITNESS: If -- if the officers had him
under arrest, then yeah, we would -- we would have
him in the back of a vehicle.

BY MR. DAVENPORT:

Q. Would there be any reason to have him
in the back of the police vehicle if he was not
arrested?

A. Yeah, you can detain people in the back

of a vehicle.

 

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Q. And could you explain to me what is the
difference between being detained, as opposed to
arrested?

A. Someone that -- someone that is not
free to go and they're going to go to jail is under
arrest.

There's other times where I've detained
people to write them tickets and they're totally
free to go. You know what I mean?

They can -- they can still be in the back of
a patrol vehicle and not be under arrest.

Q. Now, when a person is detained, do you
have to read that person their Miranda rights?

MS. HUGGINS: Form.

THE WITNESS: No.

BY MR. DAVENPORT:

Q. Is it only when they're arrested that
you then have to read them their Miranda rights?

A. Yeah.

MS. HUGGINS: Form.

THE WITNESS: Yeah.

BY MR. DAVENPORT:

Q. Okay. Do you know at what point it

 

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went from Mr. Kistner being detained, as opposed to

arrested?

A. I -- the day that I was on scene, no,
I don't.

Q. Was it on Schmarbeck?

A. I'm unsure. I can't speak for -- for
Lauren and -- and Jenny. I don't -- I don't know
when it is -- when it was that it was determined

that they were going to arrest him.

Q. Now, why do you say that it would have
been Lauren and Jenny that would have made that
determination to arrest Mr. Kistner?

MS. HUGGINS: Form.

THE WITNESS: They were directly involved
with the incident.

BY MR. DAVENPORT:

Q. Why wouldn't Karl Schultz have any sort
of a say in when Mr. Kistner was arrested?

MS. HUGGINS: Form.

THE WITNESS: The incident didn't involve
me, Karl, or our truck. It involved Jenny Velez
and Lauren and -- and their truck.

BY MR. DAVENPORT:

 

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Q. Would you have been able to make the
arrest even though it did not involve your truck?

A. I wouldn't see any reason why we would
make that arrest.

MS. HUGGINS: Form.

BY MR. DAVENPORT:

Q. Now, once you got Mr. Kistner back to
your police vehicle, he was sitting down in your
police vehicle, in the back of your police vehicle;
is that correct?

A. Yes.

Q. Now, were any sort of assessments of
his physical condition made at that time?

A. I don't -- I don't remember.

Q. What about emotionally?

Are you obligated, as a police officer, to
check on a person emotionally when they're placed
under arrest or detained?

A. Sure.

MS. HUGGINS: Form.

BY MR. DAVENPORT:

Q. Was there anything concerning about

Mr. Kistner's emotional or psychological state at

 

 

 

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that time?

A. Not that I -- not that I remember.

Q. Did Mr. Kistner say anything in the
back of the police vehicle?

A. I don't know. I think -- I think the
video you guys have, we walked away from the
vehicle.

Q. Okay.

A. So I don't -- I don't -- the time that

I was in the vehicle with Karl, taking him to ECMC,
I don't even remember what was said in there.

Q. Okay. So after you walked away from
the police vehicle, where did you go next?

A. I have to refer back to the -- the
video.

Q. Do you remember at all where Jim's son
was at that point, or the other individual who ran
out from the same house as Jim?

MS. HUGGINS: Form.

THE WITNESS: I don't remember at this
point.

BY MR. DAVENPORT:

Q. Okay. Was there ever a concern with

 

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this individual who ran out from Jim's house?

A. We would have to refer back to the
video.

Q. Well, I guess not --

A. He -- he approached -- he approached
officers. He approached officers and wanted to
speak to us. I remember that.

And I remember for purposes of officer
safety, we made him pat down, and we gave him
a -- a waistband pat-down. Make sure there was
no weapons or anything.

Q. Now, when was that pat-down done?
Was it when he initially made contact with the
police officers, or was that done later, the
pat-down of this individual?

A. We'd have to look at the video.

I don't remember.

Q. Okay. So this pat-down was made
because why?

MS. HUGGINS: Form. Asked and answered.

THE WITNESS: For safety reasons.

BY MR. DAVENPORT:

Q. And those safety reasons were why?

 

 

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What?

A. Tt's -- it's common that people
approach police with weapons on them.

Q. Okay. Did you have any reason to
believe that this individual approached police
officers with weapons?

A. There's no reason why I would believe
that anyone would walk up to us without weapons.

Q. There's never a time that individuals
would walk up to police officers without weapons?

MS. HUGGINS: Form.

THE WITNESS: It happens often.

BY MR. DAVENPORT:

Q. I guess -- I understand that it happens
often.

A. So -- so for -- for -- for my safety
and everyone else that's nearby, yeah, we always --
or I'm not going to say always, but often we'll --
we'll do pat-downs for weapons.

Q. Okay. So --

A. Because even someone that's just trying

to talk to us or make a complaint, they have

weapons on them.

 

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12:33:33 1 Q. Okay. So I guess that's my question is
12:33:35 2] that I understand that, you know, for officer
12)33:38 3| safety --
12:33:38 4 A. Yeah.
12:33:38 5 Q. -- you would always want to have that
12:33:41 6| pant-down, but there are other instances where
oi334a 7{ individuals approach police officers without
12:33:45 8] weapons, correct?
12:33:46 9 A. Yeah, correct.
12:33:47 10 Q. Okay. Now, do you remember approximately
12:33:51 11} what this individual looked like that was coming
12:33:53 12, out of the house?
12;33:54 13 MS. HUGGINS: Form.
12} 33:55 14 THE WITNESS: Younger, white male.
12:33:58 15 BY MR. DAVENPORT:
12:33:58 16 Q. Okay. Do you remember approximately
12:34:01 17] what his size was?
12:34:02 18 A. I don't.
12:34:05 19 Q. Okay.
12:34:07 20 A. Yeah, I don't.
12:34:08 21 Q. Okay. Was he saying anything at that
12:34:14 22| time, when he first initially came out?
12:34:19 23 A. I think he was trying to find out what

 

 

 

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was going on, but I don't remember anything, what
he was saying.

Q. Okay. Do you know, was he using his
cell phone or any other sort of communicating
device?

A. I don't. I don't remember.

Q. Okay. Do you remember if he was trying

to make a call to an ambulance?

A. I don't remember if he had a phone or
not. I know that 911 calls were made.
Q. Do you remember him referring to an

ambulance being called?

A. I don't.

Q. Do you remember Jim being on the
ground, asking for an ambulance?

A. I don't.

Q. Okay. Where was that individual
standing when you performed the pat-down?

MS. HUGGINS: Form.

THE WITNESS: We'd -- we'd have to look at
the video that was provided.

BY MR. DAVENPORT:

Q. Okay.

 

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12:35:13 1 A. Because I don't -- I don't remember.
12;35:15 2 Q. Okay. And what would generally consist
12:35:17 3] of that pat-down?

12:35:19 4 MS. HUGGINS: Form.

12:35:20 5 THE WITNESS: Just patting -- patting down
12135122 6| the outside of his pants pockets, waistband.

12:35:27 7| Anyplace where I would think he might have a knife

12:35:30 8| or a gun or something.

12:35:31 9 But it was quite clear that, after the
12:35:33 10| pat-down, he didn't -- I mean, he didn't have
12:35:35 11| anything. I don't remember, but maybe he just

12:35:40 12] wanted to find out what was going on.

12:35:42 13 BY MR. DAVENPORT:

12:35:42 14 Q. If an individual went into -- close to
12:35:46 15| police officers and then walked away from those
12:35:48 16| police officers and tried to go back into their
12:35:50 17| home, would there be any reason to begin, commence

12:35:55 18| a pat-down of that individual?

12:35:57 19 MS. HUGGINS: Form.
12:35:58 20 THE WITNESS: Can you --
12:36:00 21 MR. DAVENPORT: So if -- I'm sorry. You can

12:36:03 22] strike that.

12:36:04 23 If -- if an individual approached police

 

 

 

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officers and then walked away from those police
officers, and then he tried to go back into the
house where he came from, would there be any reason
to do a pat-down of that individual? Bring him
back out, away from the house?

MS. HUGGINS: Form.

THE WITNESS: He could have -- he could have
said something that one of the officers might have
wanted to investigate further.

BY MR. DAVENPORT:

Q. And what kind of --
A. And then --
Q. -- things would those have been?

MS. HUGGINS: Form.

THE WITNESS: Could be tons of things.
I don't want to speculate what other officers heard
or what judgment calls or decisions they were
making.

BY MR. DAVENPORT:

Q. If that individual was saying that he
was going to call an ambulance, would that be
a reason to do a pat-down of that individual?

MS. HUGGINS: Form.

 

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THE WITNESS: No.

BY MR. DAVENPORT:

Q. Okay. So after the pat-down was done,
what would be the next steps?

Would you have to get background information
for that individual?

A. You know, you're -- I mean, it's not
required. Maybe -- like maybe we're just having
the conversation that he wanted to have now, now
that we know that the scene is safer.

Q. So after having that conversation -- to
have that conversation with somebody, would you
also want to verify any sort of identification or
anything like that?

A. I mean, you might want to, you might
not want to.

Q. What would be the reasons that you
would want to verify the identification?

MS. HUGGINS: Form.

THE WITNESS: Maybe his -- who he's claiming
to be is relevant to the scene that we were at.
Maybe -- for example, if he told us that

Mr. Kistner was his father, maybe I didn't -- or,

 

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you know, no one needed to really look into him
being who he says. Like it's: Okay. You're his
son. We believe you.

BY MR. DAVENPORT:

Q. Was anything said to him about where
his father was going or how his father was doing?

A. I don't -- I don't remember.

Q. Okay. Was there anything that was said
to this individual, whether he could go speak to
his father or not?

Would there be any reason why a police
officer would allow a son to speak with his
officer? I -- I got --

MS. HUGGINS: Form. Now that's two
questions in a row.

THE WITNESS: If -- if I was present for
that conversation, I don't remember. Sometimes we

do let people speak to subjects in the back of our
patrol vehicle, other times we don't.

BY MR. DAVENPORT:

Q. Do you remember if you let this
individual speak to the individual in the back of

your police vehicle?

 

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alae:a3 1 A. Tt was never asked of me, that
12:38:45 2/] I remember. If it was asked of me, I deferred
12:38:50 3] to senior officers.
12:38:53 4 Q. Do you have any reason to believe that
12:38:54 5] this individual did speak to the -- Mr. Kistner in
12:38:57. 6| the back of the police vehicle?
12:38:59. 7 A. I don't want to speculate if he did or
12:39:02 8] didn't. It was never anything that was mentioned
12:39:06 9] to me that I remember, and I would have deferred.
12:39:08 10 Q. Okay. Do you remember seeing that
12:39:10 11| individual at all after leaving Schmarbeck that
12:39:16 12] day?
12:39:16 13 A. I don't think I've had a run-in with
12:39:20 14] Mr. Kistner or his son since that day.
12:39:21 15 MR. DAVENPORT: Okay.
12:39:21 16 (Discussion off the record.)
12:39:21 17 BY MR. DAVENPORT:
12:39:35 18 Q. So when you say run-ins with Mr. Kistner,
12:39:38 19| does that pertain to just calls, or does that
12:39:41 20] pertain to any times that you may have seen him on
12:39:43 21 the street when you weren't necessarily responding
2}3945 22 to a call?
12:39:46 23 MS. HUGGINS: Form.

 

 

 

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THE WITNESS: What I mean by that is -- by
a run-in is I don't think I've ever seen him
outside of that call, period. I don't think I've
ever seen him in a store, no other calls. Yeah,
I don't think I've ever seen him or his son since.

BY MR. DAVENPORT:

Q. Now, did you have any conversations
with anybody about this incident on January lst of
2017?

MS. HUGGINS: Well --

THE WITNESS: Her and --

MS. HUGGINS: He's asking outside of me.

THE WITNESS: Oh, outside of -- Karl and
Jenny and Lauren.

BY MR. DAVENPORT:

Q. Did you ever have any conversations
with your lieutenant, McHugh?

A. I did not.

Q. Okay. Do you know if anybody had
conversations with Lieutenant McHugh?

A. I believe someone on scene made
a phone call to him, but I don't remember which

officer that was.

 

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Q. Do you remember, besides January lst of
2017, any of the officers that were on scene having
a conversation with Lieutenant McHugh about the
incident on January 1st of 2017?

A. Not that I was present for.

Q. What about other senior officers? Any
captains or anybody higher than lieutenant?

A. Definitely not while I was present for.

Q. Have you ever been investigated by
internal affairs?

MS. HUGGINS: Form, and 50-a objection, to
the extent that applies. You can answer.

THE WITNESS: Okay. No suspensions or
anything like that, no.

BY MR. DAVENPORT:

Q. Have you ever been -- had a discussion
with internal affairs about January lst of 2017?

A. No.

Q. When was the first time that you were
aware that a lawsuit had been commenced against
you?

A. I believe I saw it on the news.

Q. That was the first time?

 

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Q.

A.

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Yes.
Did you receive a summons or a complaint?

I received some type of packet that I was

served with that I gave to our union.

Q.

Okay. When, approximately, did you

receive that packet?

A.

Or I'm -- I'm sorry. I received the

packet before I saw it on the news, but yeah, I'm

sorry, yeah, I remember, yeah, I received the

packet first. That's when I knew that this whole

thing was taking place, and then I saw it on -- on

the news.
Q.
A.

Q.

Okay. Okay.
Yeah.

Did you happen to look at any of the

materials that were in that packet?

A.
Q.
take place?

A.

I read it over with a union rep.

Okay. When, approximately, did that

I don't -- I don't remember exactly

when I was served with those papers.

Q.

Okay. So if you were served with those

papers in 2018, would it have been during that year

 

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that you sat down with the union rep?

A. I -- like I said, I don't remember the
date that I was served the --

Q. Sure.

A. -- the papers. I either gave the union
rep the papers the day of or the day after I was
served with those papers.

Q. Okay. And when you gave the papers to
that union rep, did you sit down that day?

A. Yeah.

Q. Okay. What did the union rep say to
you?

A. He said he -- he gave me her phone
number and that someone would be contacting me
about it, but he didn't -- he didn't really say --
say much.

Q. Okay. Now, did you reach out to
Ms. Huggins, or did Ms. Huggins reach out to you
first?

MS. HUGGINS: Well, form. I -- I don't know

why you're inquiring into contact between counsel
and client.

MR. DAVENPORT: Well, I just want to know,

 

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you know, after he received these papers, you know,
what were the next steps that you took?

Did you reach out to your attorney, or did
you wait for your attorney to contact you?

MS. HUGGINS: Again --

MR. DAVENPORT: You -- you can answer,
because I'm not asking what the substance was.

I'm just asking when you contacted -- whether you
contacted Ms. Huggins or whether she contacted you.

That's not attorney-compliant privilege.

I'm just merely asking when he contacted you or you
contacted him. I don't want to know --

MS. HUGGINS: I'm asking for the basis of
inguiry into contact with counsel, and I'm allowed
to ask the basis of --

MR. DAVENPORT: Are you going -- are you
going to direct him to not answer the question?

MS. HUGGINS: I just inquired the basis of
your question. That's what --

MR. DAVENPORT: Well, I'm asking because --

MS. HUGGINS: -- I just did.

THE REPORTER: Don't talk over each other,

please.

 

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12:43:53 1 MR. DAVENPORT: Okay.

12:43:53 2 So what I'm asking is: Why -- or if he
12:43:57. 3}; received these papers and if he discussed them with
12:44:00 4] the union rep, what was his concern level?

12:44:02 5 I want to know his concern level with what
12:44:04 6] happened.

12:44:04 7 MS. HUGGINS: So that was not your question.
12:44:06 8 MR. DAVENPORT: Well, I know, it's --

12/44:06 9] it's --

12:44:06 10 MS. HUGGINS: You can pose --
12:44:07 11 MR. DAVENPORT: -- different, but --
12:44:08 12 MS. HUGGINS: You can pose your question to

12:44:09 13] him.

12:44:09 14 MR. DAVENPORT: It's certainly relevant to
12:44:12 15] that. It's relevant to that inquiry.

12:44:14 16 MS. HUGGINS: Sir, I objected to a totally
12:44:16 17| different question that veers on attorney-client
12:44:19 18} privilege. You have now posed a different question.
12:44:21 19 You can ask that of the witness, but

12144:23 20] I am allowed to ask the basis of your question for
12:44:26 21| an objection. That's -- that's all I'm doing.
12:44:28 22| You may ask.

12:44:28 23 BY MR. DAVENPORT:

 

 

 

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Q. You can answer.

A. I received a court notification
by the court liaison.

Q. Okay. So when did you receive that
court notification?

A. There would be records of it somewhere,
but no, I don't -- I don't remember.

Q. Okay.

A. There's definitely records of it at
City Court or something.

Q. Okay. So now when you reached out to
that court liaison --

A. No, no. They --

Q. Or they -- they reached out to you.

A. Yeah.

Q. Okay. Or when you got notification of

that court liaison, had you contacted an attorney

at that point?

A. No.

Q. Okay.

A. No.

Q. Was it after you received that

notification?

 

 

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MS. HUGGINS: Form.

BY MR. DAVENPORT:

Q. That you contacted an attorney?

A. I never contacted an attorney.

Q. Okay. Okay. So did you watch the
video when you received that packet?

A. No. The video wasn't provided at that
time.

Q. Okay. You didn't receive any exhibits

or anything else besides that initial complaint in
that packet?

A. No. The packet was -- it was pretty
thick. There was like a list of -- a list of
charges in there. If there were -- if there were
exhibits in there, I don't remember -- I don't
remember reading -- reading that or -- or -- or it
being a topic of discussion with the union rep.

Q. Okay. What kinds of things did you
discuss with the union rep about the complaint?

A. It was along the lines of me handing
him the packet. He flipped through it a couple
times and just said, just wait for court to notify

you. And then that's what I did.

 

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Q. Were you ever -- did you ever have
another discussion with that union rep?

A. No.

Q. How long, approximately, was that
initial meeting with the union rep?

A. It was a pretty informal thing. It
wasn't long. Five minutes or so for him to just

skim through it.

Q. Okay.
A. And I went on my way.
Q. Have you had to meet with that union

rep or any other union reps for any other lawsuits
that were commenced against you?

A. No.

Q. Okay. Is this the only lawsuit that
has ever been commenced against you?

A. Yeah. Yes.

Q. Okay. When was the next time that you
spoke to somebody about this lawsuit?

A. Whenever we have court notifications to
talk to her. I might have talked to Karl about it
two or three times, but it's not a huge discussion.

Q. Okay.

 

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A. You know, me and Karl are on two
different shifts, and we talk about two different
things.

Q. Okay. So when you say two different
shifts, are you referring to like maybe --

A. I'm -- I'm sorry. He's on -- he's on
day shift and I'm on afternoons.

Q. Okay.

A. So we don't -- we don't really cross
paths as much.

Q. Sure.

So after that first initial 16 weeks, did
you automatically go to the afternoon shift?

A. Yes.

Q. Okay. So the only time that you would
have seen Kari Schultz, would that be typically
during briefing --

MS. HUGGINS: Form.

BY MR. DAVENPORT:

Q. ~- before you started the afternoon
shift?

A. No. I went to -- so when he was

working, I was on my off days, and then when I was

 

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working, he was on his off days, so I didn't really
see him too much in Charlie.

He transferred to Bravo, and then I went to
Delta for a little bit and came back, and he was
still in Bravo.

Q. Okay.

A. And now we're -- we're both in Bravo,
and I don't see him too often because he's usually
on calls when I'm in briefing.

Q. Okay. Were you involved in the
criminal proceedings at all against Mr. Kistner?

A. I don't remember if I was notified to
go to court for that.

Q. Okay. Which officers are typically
notified to go to court for criminal proceedings?

A. The arresting and assisting officers.
It could also be whoever is on the case history,
but they don't always notify everyone in.

Q. Okay.

A. And I don't really know how that's

determined.
Q. Okay.
A. But definitely the arresting officer.

 

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12:49:01 1 Q. What would be the circumstances where
12:49:03 2] an assisting officer would be required to go into
12:49:07 3] court for a court proceeding -- a criminal
12:49:09 4] proceeding?
12:49:09 5 MS. HUGGINS: Form.
12:49:12 6 THE WITNESS: I don't know the requirements
12/49:15 7| for an assisting officer because on -- on an arrest

12:49:20 8|j form, there's the arresting officer and assisting
12:49:23 9] officer, and they've gone sometimes and not

12:49:27 10| notified the assisting officer and notified way

12:49:31 11/ down the case history list, other people. So I'm
12:49:34 12/ not -- I'm not sure how that is determined.

12:49:36 13 BY MR. DAVENPORT:

12:49:36 14 Q. Okay. Now, after you received that

12:49:42 15] initial packet, when did you first watch the video
12:49:47 16] that was provided as part of the complaint?

12) 49:53 17 A. One of the times I met with my

12:49:55 18 attorney, and I don't know which time that was.
12:49:57 19 Q. Okay. Okay. Do you know if it was
12:50:01 20} shortly after the lawsuit was commenced?

12:50:04 21 A. I don't know.

12:50:05 22 Q. Okay. Do you know, was it within

12:50:07 23] a year of the lawsuit being commenced?

 

 

 

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1 A. I don't remember the time that my first
2] court notification was with my attorney and the
3| time that I received the packet.
4 Q. How do you receive those court
5| notifications?
6 A. They're given to our -- our stationhouse,
7| and then a report technician will contact us via
8| phone or -- I'm sorry -- there's -- depending on
9| the stationhouse, they might just put your
10} notification in your -- your mailbox. Other ones
11] it's in a binder and you have to check yourself.
12 Q. Okay. Do you know where those court
13} notifications come from?
14 A. The Court Liaison Bureau.
15 Q. Okay. Do you have records of those
16/ court notifications from the liaison?
17 A. I usually throw mine out once the court
18} date is over. I mean, they -- I don't know if they
19| keep it or not or how long they would keep it.
20 Q. Do you know, is the court liaison, is
21| that somebody affiliated with the courts or the
22) Buffalo Police Department?
23 A. Courts, and then it goes to BPD.

 

 

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Q. Okay. Do you know who that individual
is for the court liaison?

A. I don't, actually.

Q. Okay. How often did you receive
notifications from the court liaison?

A. It depends on how frequently you arrest
or you're -- you're needed in -- in court.

Q. Okay. Pertaining to this lawsuit,
how -- how often were you notified by the court

liaison?

MS. HUGGINS: Form. And, again, to the
extent that you're going into contact he's had with
counsel, I mean --

MR. DAVENPORT: I'm not.

MS. HUGGINS: -- that would be privileged.

MR. DAVENPORT: Well, no. Not --

MS. HUGGINS: He's already indicated that
that's --

MR. DAVENPORT: Not the times that he's had
contact with you. What is said during that contact
is absolutely privileged. I am not asking that.

I'm just simply asking: Pertaining to this

lawsuit, how many notifications did you receive

 

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from the court liaison?

And if you want to argue that that's
privileged, you can make that argument, but he can
answer it, and then you can make that objection
later, and it can be struck from the record.

So you may answer.

MS. HUGGINS: Well, that's not how
objections work. If something is privileged,
that's an objection that is preserved and he would
not answer during a deposition.

MR. DAVENPORT: Are you going to direct him
to not answer?

MS. HUGGINS: Sir, you can ask that
question, but I object to the -- to the extent that
you're veering towards that.

He's already indicated that court liaison is
the mechanism by which counsel directs him to come
meet with him.

MR. DAVENPORT: And I just asked him how
many times he received that notification from the
court liaison for this case.

You can answer.

MS. HUGGINS: You may answer.

 

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12:52:56 1 THE WITNESS: I think two or three.
12:52:57 2 BY MR. DAVENPORT:
12:52:58 3 Q. Okay. Would those have been the only
12:53:01 4] times that you would have met with Ms. Huggins?
12:53:04 5 A. Yep. Yes.
12}53:08 6 Q. Okay. When, approximately, was that
12:53:09 7| £irst notification?
12:53:10 8 Was it recently or was it a while ago?
12:53:12 9 MS. HUGGINS: Form. Asked and answered.
12:53:14 10 THE WITNESS: No. That would have been
12:53:16 11} a while ago.
12:53:17 12 BY MR. DAVENPORT:
12:53:18 13 Q. Like more than a year ago?
12:53:19 14 A. I don't -- I don't remember.
12:53:21 15 Q. Okay. When was the second time that
12153:26 16/ you received that notification?
12153:29 17 A. I don't -- I don't remember -- I don't
12:53:38 18) remember. I know I saw her last week --
12:53:40 19 Q. Okay.
12:53:41 20 A. -- for something.
12:53:41 21 Q. Did you receive a notification from the
12:53:43 22] court liaison?
12:53:44 23 A. Yeah.

 

 

 

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Q. Okay. So one of -- one of the three
times that you received a notification was for this
deposition?

A. Like I -- like I said, I don't remember
1£ it was two or three times, but I know I saw her
like last week, yeah.

Q. Okay. When was the first time that you
watched the video with your attorney or with
anybody else affiliated with the City of Buffalo
Law Department?

A. I think it was the -- I think it was
the first time.

Q. Okay. Now, at that time, do you know
if the second notification that you received, did
you have to sign a verification at all?

MS. HUGGINS: Form.

THE WITNESS: What do you mean? That
I showed up to court?

| BY MR. DAVENPORT:

Q. For the interrogatories that you
referred to earlier, the thicker packet that you
reviewed that you said that, you know, wasn't one

of the four documents in front of you?

 

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I'm sorry.
MS. HUGGINS: There might just be
confusion --
MR. DAVENPORT: Yeah,
THE WITNESS: Yeah.
MS. HUGGINS: -- between the complaint and
interrogatories.
MR. DAVENPORT: No. No. I know. I know.
MS. HUGGINS: Yeah.
MR. DAVENPORT: I understand.
THE WITNESS: I don't --
MR. DAVENPORT: All right. So --
MS. HUGGINS: It's your examination, but,
I mean, if I can help clear it up, I will.
MR. DAVENPORT: Here you go.
Can we have this exhibit marked, please?
The following was marked for Identification:
EXH. 23 Verification page
BY MR. DAVENPORT:
Q. So I'm now showing you what has been
marked as Exhibit 23. Do you recognize that
document?

A. Yes.

 

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12:56:03 1] . Q. Okay. Do you recall, was that document
12:56:09 2) given to you through the mail?
12:56:14 3 Was it given to you in person?
12:56:15 4 A. In person.
12:56:15 5S] Q. Okay. And who gave you that document?
12:56:18 6 A. I don't know the dude's name. I've
12:56:23 7| never --
12:56:24 8 Q. Okay.
12:56:24 9 A. Yeah.
12:56:24 10 Q. Okay.
12:56:24 11 MS. HUGGINS: I think there's confusion
12:56:26 12} about what we're talking about right now.
12:56:27 13 MR. DAVENPORT: Sure. No. That -- no.
12:56:28 14| I understand. But he said that he recalled that
12:56:29 15| document, and he said he has seen it and that he
12:56:32 16| received it from some individual, so I'm just
12:56:34 17| asking questions about that document.
12:56:37 18 THE WITNESS: Was this part -- this was part
12:56:40 19} of the packet, right, that I --
12} 56:41 20 MS. HUGGINS: Yeah, I think there's
1915644 21} confusion.
12:56:44 22 THE WITNESS: -- that I was served?
raise:44 23 MS. HUGGINS: He's confused about the

 

 

 

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summons and complaint --
MR. DAVENPORT: T'll -- I'll clarify it.
MS. HUGGINS: -- versus this.
MR. DAVENPORT: T'll clarify it. Thank you.
So this exhibit has been marked as Exhibit
number 13. Do you recognize that document?
THE WITNESS: Yeah, I believe this is what
I was served with at my front doorstep, I think.
BY MR. DAVENPORT:
Q. Okay. So do you see in bold lettering

what that says?

A. Right here?
Q. Yes.
A. Yeah. Answer to first interrogatories

to defendants.
Q. And, Mr. Moriarity, are you familiar

with what a complaint is?

A. Yeah. Someone makes a complaint on
you.

Q. Like a -- a lawsuit complaint --

A. Okay.

Q. ~-- is part of a legal proceeding; do

you know what that is?

 

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A. If you want to explain it to me so

T understand --

Q. Yeah. Yeah.
A. -- better.
Q. Of course. Of course.

All right. So a legal complaint that
initiates the action, that would have been what you
had received on your front doorstep, that would
have been served to you, correct?

A, Okay. Yeah.

Q. So now what I'm asking is: These are
called interrogatories, so these probably would
have been a second document, a thicker document
that you would have reviewed.

A. Oh, okay. Okay.

Q. So now I guess what my question is:
Did you receive that thick packet and then later
receive another criminal -- or legal document that
kind of looks something like this?

MS. HUGGINS: Form.

THE WITNESS: I received this later then.

BY MR. DAVENPORT:

Q. Okay. So it would have been something

 

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12:58:14 1| that was received later?
12:58:15 2 A. Yeah.
12:58:16 3 Q. Okay. Now, was that received with this

12;58:19 4] verification?

12:58:22 5 MS. HUGGINS: Form.

12:58:23 6 THE WITNESS: That, I don't remember.
12:58:25 7| IT mean, I -- I know that this is my signature.
12:58:28 8 BY MR. DAVENPORT:

12:58:28 9 Q. Okay.

12:58:28 10 A. And I'm not disputing that.

12:58:31 11 Q. No. No. Of course. Of course.
12:58:32 12 A. I don't remember when --

12:58:33 13 Q. Do you remember if this verification

12}58:34 14] was given with anything else? Any other documents
12:58:38 15| that would have been handed to you at that time?
12:58:41 16 MS. HUGGINS: Form.

12:58:41 17 THE WITNESS: I -- no, I -- I don't -- I
12:58:49 18| don't remember.

12:58:49 19 BY MR. DAVENPORT:

12:58:49 20 Q. Okay. I'm going to direct your

12:58:55 21} attention to page 4.

12:58:58 22 A. Page 4?

12:58:59 23 Q. Or let's see here.

 

 

 

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12:59:03 1 Excuse me. Page 5. And I want you to go to
12:59:06 2} demand number 2,
12:59:07 3 Now, that -- that interrogatory says,
12:59:10 4] identify the police officers shown in the video
12:59:13 5| attached as Exhibit A to the complaint.
12:59:14 6 Now, if I represent to you that Exhibit A to

12:59:17. 7| the complaint is those four video segments that you
12:59:19 8| said that you have watched, are you able to
12;59:23 9] identify who those police officers are by watching

12:59:27 10] the video?

12:59:28 11 MS. HUGGINS: Form.

12:59:30 12 THE WITNESS: Some of them, yeah.

12:59:32 13 BY MR. DAVENPORT:

12:59:32 14 Q. Okay. Who were you able to identify

12:59:35 15| when watching the video?

12:59:37 16 MS. HUGGINS: Form.

12:59:37 17 THE WITNESS: Karl. And then the other two,
12:59:43 18| Lauren and Jenny, I would get confused.

12:59:45 19 BY MR. DAVENPORT:

12:59:45 20 Q. Okay. But you knew that they were
12:59:48 21} there?

12:59:48 22 A. I knew that they were there, yeah.

12:59:50 23 Q. Okay. Did you know -- did you watch --

 

 

 

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there was a fourth video segment that was provided?

A. I don't remember which video was the
fourth.

Q. Okay. Did you watch a video segment
where there was a fifth police officer on scene?

A. Yes.

Q. And did you know, when watching that
video, who that individual officer was?

A. No. I -- I -- I forgot who showed up
on scene.

Q. Okay. Okay.

A. And when the video was replayed, it was
also what the -- the department refers to as
double-up day, so both shifts are working, and
I don't remember who all was on those shifts
because people get promoted or transferred.

Q. Okay. Now, have you later learned who

that fifth individual was?

A. Yes.

Q. Was that individual's name David
Santana?

A. Yes.

Q. Now, is that somebody that you had

 

 

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worked with before?
A. Yeah, he was. And like I said, I'm

about a week old on here.

Q. Okay.

A. So I had just basically met him.

Q. Okay.

A. So I -- I did forget that he was even

on scene, but then looking at the video, I mean, it
kind of took a little bit to realize it was him.
Q. So David Santana, is that somebody that

you worked with after the incident on January 1st

of 2017?
A. Only the 16 weeks --
Q. Okay.
A. -- that I worked with him.

Q. Okay. So he would have been somebody
that worked on a different shift or a different --

A. He -- he would have been the same
shift.

Q. He would have been the same shift, but
would he also work the same days that you work?

A. The same, yep.

Q. Okay.

 

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A. Same days.

Q. Okay. Do you recall from the video
whether he was driving with somebody or whether he
was by himself?

A. I don't.

Q. Okay. If I represented to you that he
was driving by himself, would you have any reason
to dispute that?

MS. HUGGINS: Form.

THE WITNESS: No, but again, I mean, I don't
know what other people were doing.

BY MR. DAVENPORT:

Q. No. Sure. sure.
A. Yeah.
Q. Would there be any reason why he would

be driving a Dodge Charger or a Charger rather than
the Chevy Tahoe that you and the other car were
driving?

A. Could be a number of reasons. I don't
know what the car situation was back then.

MR. DAVENPORT: Okay. Okay. So if we could
just go to the video.

And then we can go off the record really

 

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quickly.

THE VIDEOGRAPHER: Sure.

MR. DAVENPORT: Okay.

THE WITNESS: And can we take a break?

MR. DAVENPORT: Yeah. Yeah. Of course.
O£ course.

(A recess was then taken at 1:02 p.m.)

(On the record at 1:16 p.m.)

MR. DAVENPORT: So, now, Mr. Moriarity, we
are going to watch the third video segment that has
been provided by the plaintiff during discovery.
The last four digits of that video are 2529.

Now can we please direct the camera towards
the TV screen?

Perfect. Thank you.

So before we start the video, where is
the -- is there an individual that is standing in
the street?

THE WITNESS: Yes.

BY MR. DAVENPORT:

Q. Where is that individual standing?

MS. HUGGINS: Form.

THE WITNESS: From the video, in the middle

 

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of the street.
BY MR. DAVENPORT:
Q. Okay. Is he standing in front of your

police vehicle or the other police vehicle?

A. It looks like from the video's
perspective, in front of my vehicle.

Q. Okay. What direction is this
individual facing?

A. South.

Q. Okay. And is that just based off of
your recollection of Schmarbeck Avenue, or is that
based off of any reference point on the video that
you know that that direction he's facing is south?

A. No. It's based off of my knowledge of
C District streets.

Q. Okay. And what direction is your car
facing?

A. North.

MR. DAVENPORT: Okay. Now I'm going to play
the video.

(Video clip played.)

BY MR. DAVENPORT:

Q. Now, what direction was that individual

 

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walking for the first three seconds of the video?
A. South.
Q. Okay. And your car is moving or is it
stationary?
A. Stationary, still.
Q. Okay. So now what would be your

typical thing that you would do next, if you saw an
individual that was walking towards your police
vehicle and you were still stopped and -- and
hadn't been in motion?

MS. HUGGINS: Form.

THE WITNESS: Well, at the time, you
don't -- you can't say if you know that he's
walking towards my police vehicle or towards the
sidewalk or, you know, behind my police vehicle,
but I'm thinking officer safety.

BY MR. DAVENPORT:

Q. Okay.

A. But at that -- at that time, you know,
years ago, I don't remember what I was thinking.

Q. Okay. But the individual did take
a few steps, and he did -- he was closer to your

police vehicle than he was at the beginning of the

 

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video, correct?

A. Yes.

Q. Okay. Now -- now, we're still on three
seconds of the video. Your video -- your car has
gone into motion at this point, correct? It
started moving forward?

A. Yes.

Q. And where is the individual at this
point with reference to your police vehicle?

A. The driver's side, in between my truck

and the grass.

Q. Okay. Now, what I want you to do is
I want you to make reference of the time stamp, and
I don't want you to verify its accuracy. I just
want you to look at what the time is.

Would you agree that is 10:25:32 when your
car first starts in motion?

MS. HUGGINS: Form.

THE WITNESS: Based on this video and the
numbers that are on the screen, it says 10:25:32.

BY MR. DAVENPORT:

Q. Okay. Now, focusing on your car --

A. You said focusing on my car?

 

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Q. Yes. Oh, I'm sorry. We'll -- we'll
play it again. I'll start it from three seconds.

Well, we'll start it from three seconds.

THE WITNESS: Yeah.

(Video clip played.)

BY MR. DAVENPORT:

Q. Now, focusing on your car, I want you
to tell me when it is off the screen. And I'll do
my best to stop the video when your car is out of
the scene.

MS. HUGGINS: Form.

THE WITNESS: All right.

BY MR. DAVENPORT:

Q. Now, do you see on that top time stamp
what the time is?

A. Yeah. The top time stamp on the -- the
video is 10:25:37.

Q. Okay. So 10:25:37.

And when you first started in motion, it was
10:25:32, correct?

A. Yeah.

MR. DAVENPORT: Okay. So now what I want

you to do -- well, I want to play a second video.

 

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(Discussion off the record.)

(Video clip played.)

BY MR. DAVENPORT:

Q. Now, assuming that these cameras are
calibrated where the times are accurately
reflecting each other -- they don't have to be
accurate in terms of what time it actually is, but
just assuming that they're all calibrated together,
what is the time stamp in that top video frame
right there?

MS. HUGGINS: Form.

THE WITNESS: Again, don't want to speculate
or assume anything, but the time on that screen is
10:25:38.

BY MR. DAVENPORT:

Q. Okay. Now, your car, although it was
in the camera view one second before, so that would
have been -- well, hold on.

Now, would you agree with me that your car
is in view at 10:25:36?

A. Yes.

MR. DAVENPORT: Okay. Now watching the

video, would you agree that your car --

 

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(Discussion off the record.)

BY MR. DAVENPORT:

Q. All right. Now, would you agree that
at 10:25:38, your car is outside of the view of the
camera?

A, Yes.

MS. HUGGINS: Form.

THE WITNESS: Yes.

BY MR. DAVENPORT:

Q. Okay. Now, I want you to pay attention
and see when the next time your police vehicle is
in the view of the camera.

A. Okay.

Yeah. 44, I think.

Q. Okay.
A. 10:25:44.
Q. Okay. So the time stamp in the top

would have been 10:25:44, correct?
A. Yeah.
MR. DAVENPORT: Okay.
(Discussion off the record.)
MS. HUGGINS: Do you want to identify the

discs that you've played for the record?

 

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MR. DAVENPORT: Sure. So the disc that
I just played was Exhibit 12. It is Exhibit A
supplement that was provided by the plaintiffs.

We are now playing Exhibit 11, which was
also provided by the plaintiffs.

(Video clip played.)

BY MR. DAVENPORT:

Q. So now I am playing again what has been

marked as Exhibit 11, for purposes of the
deposition. The last four digits are 2529.

Now, what I want you to pay attention to is
when the first instance that you would consider
contact has been made between Mr. Kistner and
Ms. Velez and Ms. McDermott's vehicle.

A. Okay.

MS. HUGGINS: Wait for a question.

BY MR. DAVENPORT:

Q. What time is that?

What time -- what's the time stamp in the
top part of the video?

MS. HUGGINS: Form.

THE WITNESS: 10:25:36.

BY MR. DAVENPORT:

 

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Q. Okay. Would you agree with me that

your vehicle is still in view at that point at

10:25:36?
A. Yeah. Yes.
Q. Okay. Now, would you agree with me

that based on the other camera angle, you did not
appear back within view until 10:25:44?

MS. HUGGINS: Form.

THE WITNESS: Yeah, that's correct.

BY MR. DAVENPORT:

Q. And that would have been eight seconds
after initial contact was made between Mr. Kistner
and that vehicle, correct?

MS. HUGGINS: Form. I'd object to -- we've
already indicated that we're not -- the accuracy of
these time stamps has not been verified in any way.

BY MR. DAVENPORT:

Q. You can answer the question.

A. Can you -- can you repeat the question
again?

MR. DAVENPORT: Sure,

Can you read back the question that I just
asked?

 

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(The above-requested portion was then read
by the reporter.)

MS. HUGGINS: Same -- same form objection.

THE WITNESS: Yeah. Yes, as per that time
on the camera.

BY MR. DAVENPORT:

Q. Okay. So now assuming that you were
moving forward for six of those seconds, you
weren't stopped at the point that contact was made
between Mr. Kistner and the police vehicle,
correct?

MS. HUGGINS: Form.

THE WITNESS: No.

BY MR. DAVENPORT:

Q. Okay. Would you have been looking into
your driver's side mirror at this point?

A. Like I said earlier, I -- I could have
been looking at the mirror or forward, but I do
remember at some point looking at the driver's side
mirror and seeing what I thought I saw.

Q. So now assuming that you saw
Mr. Kistner make contact with the vehicle, you're

still driving forward for a few seconds, correct?

 

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MS. HUGGINS: Form.

THE WITNESS: Correct.

BY MR. DAVENPORT:

Q. So why didn't you stop after contact
was made between Mr. Kistner and the police
vehicle?

MS. HUGGINS: Form.

THE WITNESS: Well, because you have to come
to a safe stop. You can't just slam on the brakes
and slam your head into the steering wheel. You
know what I mean? You still have to stop.

BY MR. DAVENPORT:

Q. Okay. And it would have taken you,
let's assume, eight seconds to come back?

MS. HUGGINS: Form.

BY MR. DAVENPORT:

Q. To stop your car and come back, that
would be a safe stop?

MS. HUGGINS: Form.

THE WITNESS: Yeah.

BY MR. DAVENPORT:

Q. Okay. Now, let's assume that your

vehicle is moving away from the incident as it's

 

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13:28:37. 1] happening. What -- do you think that what you
13:28:43 2] would be able to see would be distorted if you're
13:28:47 3| moving away from a scene rather than closer to
13:28:49 4) a scene?
13:28:50 5 MS. HUGGINS: Form,
13:28:50 6 THE WITNESS: You know, your eyes see what
13:28:54 7| they see, so I don't -- I can't speak on what can
13:28:58 8! be distorted and all that.
13;29:03 9 BY MR. DAVENPORT:
1s/29:03 10 Q. But you saw Mr. Kistner make contact
13:29:06 11] with the vehicle?
13:29:07 12 MS. HUGGINS: Form. Asked and answered.
13:29:09 13 THE WITNESS: Yeah.
13:29:10 14 BY MR. DAVENPORT:
13:29:10 15 Q. And then you kept on driving forward?
13:29:12 16 MS. HUGGINS: Form.
13:29:12 17 THE WITNESS: I was slowing down to a stop
13:29:14 18|/ and then reversing, yeah.
13:29:15 19 BY MR. DAVENPORT:
13;29:15 20 Q. Was Karl Schultz telling you to stop at
13:29:18 21| that point?
13:29:18 22 A. Like I said, I don't -- I don't
13:29:21 23| remember if he told me to stop. I think I -- I

 

 

 

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think I just kind of stopped.

Q. Okay. Are you talking at all with Karl
Schultz as contact is initially made between the
police vehicle and Mr. Kistner?

MS. HUGGINS: Form.

THE WITNESS: As I already stated, I think --
I think we both -- I think either I said something,

he said something, or maybe we both said something
about what we thought we just saw.

BY MR. DAVENPORT:

Q. Okay. Now, I want you to watch again
the collision that is made between Mr. Kistner and
between the police vehicle, and I want you to tell
me if you still think that Mr. Kistner was the one
that threw himself at the police vehicle.

MS. HUGGINS: Form.

(Video clip played.)

BY MR. DAVENPORT:

Q. Does it look like Mr. Kistner threw
himself at that police vehicle?

MS. HUGGINS: Form.

THE WITNESS: Again, we're looking at

a camera at a different angle. What I saw from my

 

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perspective, it looked like he threw himself at the

vehicle.
BY MR. DAVENPORT:
Q. But, again --
A. So --
Q. -- your perspective was you looking in

your driver's side mirror, as you were driving
forward.

A. Correct.

Q. And you were driving forward for eight
seconds after initial contact was made.

A. That is correct.

MS. HUGGINS: Form.

BY MR. DAVENPORT:

Q. Okay. Now, after contact was made, did

you notice that police vehicle moving forward at

all?

I can replay it if you need me to.

A. I -- I just need you to say that
question again. What do you mean?

Q. Okay.

MS. HUGGINS: Can you read it back, Anne?

(The above-requested portion was then read

 

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by the reporter.)

THE WITNESS: By this video, at this angle,
that's what it looks like.

BY MR. DAVENPORT:

Q. Okay.

A. But from what I saw when -- again, when
I was looking in my mirror, that's not what I saw.

Q. Okay. Did anybody talk with -- did
either you or Karl Schultz talk with Lauren
McDermott and Jenny Velez to see what they saw?

A. I -- I would have never have done that.
Again, because I was so brand new, I deferred
everything to -- to the other officers.

MR. DAVENPORT: Okay. Now, I want you to
watch.

(Video clip played.)

BY MR. DAVENPORT:

Q. Who is that individual that just came

into the scene right here?

A. At the time, I -- I didn't know, and,
again, I -- I don't think we ever took down info.
I'm pretty sure it -- it was his son -- it's his

son.

 

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Q. Okay. Would it be normal for somebody
to run out after their father after they've been
hit by a police vehicle?

MS. HUGGINS: Form.

THE WITNESS: You can't -- you can't just
determine that from -- from not knowing who he is
or anything like that. You know what I mean?

I don't -- I don't -- I don't know who he is.

BY MR. DAVENPORT:
Q. But after you came to -- because you

did say that you came to learn that --

A. Yeah. Yeah,

Q. -- he may have been his son or --

A. So --

Q. -- related to him, that it would have

been normal for him to run out after his father
after he's been hit?

MS. HUGGINS: Form, Asked and answered, and
misstates the testimony.

THE WITNESS: It's normal for some people.
It's normal -- not normal for other people.
I mean --

BY MR. DAVENPORT:

 

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13:33:15 1 Q. Would you run out after your father, if
13:33:17 2| he was hit by a police vehicle?
13;33:18 3 A. Again, it's normal for some people.
13:33:20 4] It's normal -- not normal for --
13:33:22 5 Q. I'm asking you for what you would
13:33:25 6| specifically do.
13:33:25 7 A. I'm -- I'm going -- I'm going to answer.
13:33:25 8 MS. HUGGINS: Form.
13:33:27 9 THE WITNESS: Just let me answer.
13:33:27 10 BY MR. DAVENPORT:
13:33:28 11 Q. Okay.
13:33:28 12 A. It's normal for some people. It's not
13433330 13; normal for other people. I would. There's other
baiaaca1 14 people that I've seen that don't really care. So

13:33:34 15/ it is normal but it's also not normal.

13:33:36 16 Q. Okay. Now, at this point he runs out
13:33:40 17 and he stops really quickly. At this point would
13:33:44 18| you say that he's made any threatening motions or
13:33:46 19] anything that would make you concerned for your

13:33:48 20] safety?

13:33:49 21 MS. HUGGINS: Form.
13:33:50 22 THE WITNESS: No.

13:33:51 23 BY MR. DAVENPORT:

 

 

 

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Q. Okay. Now he runs out again -- well,

he's not even running at this point. He's just

kind of inching his way over to see what his

father's doing.

Is he at all concerned with what you or the

other officers are doing, or is he just trying to

see what his father's doing on the other side of

the police vehicle?

MS. HUGGINS: Form. Calls for speculation.

THE WITNESS: Yeah, I mean, I don't -- I

don't know what he's doing. He's not concerned

with the officers, though.

is.

video?

BY MR. DAVENPORT:

Q. Okay.
A. It doesn't -- it doesn't look like he
Q. Now what's he doing there?

What do you think he's doing, based on the

MS. HUGGINS: Form.
THE WITNESS: Bending over.
MS. HUGGINS: Compound question.

BY MR. DAVENPORT:

 

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13/34:26 1 Q. Based on the video, why would he be
13:34:28 2|/ bending over?
13:34:29 3] MS. HUGGINS: Form.
13:34:30 4 THE WITNESS: I -- I can't answer why he's
13:34:31 5| bending over. He could -- yeah. I mean, he could
13:34:34 6| be checking on his dad.
13:34:36 7 BY MR. DAVENPORT:
13:34:36 8 Q. Well, his father's on the ground,
13:34:38 9] right?
13:34:39 10 A. Yeah.
13}24:39 11 Q. Do you think maybe he's bending down to
13:34:41 12} get a better vantage point of his father?
13:34:44 13 A. Yeah,
13:34:44 14 MS. HUGGINS: Form.
3:34:44 15 THE WITNESS: I just said that he could be
13:34:46 16] checking on his dad.
13:34:48 17 BY MR. DAVENPORT:
13:34:48 18 Q. Okay. Now, at this point he walks
13:34:50 19| right past the officers, correct?
13:34:52 20 A. Yes.
13:34:52 21 Q. At this point has he made any
13| 34:55 22| threatening motions or anything -- threatening
3:34:57 23| maneuvers that would cause the police officers

 

 

 

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concern?
A. No.
Q. Okay. Now, he walks back towards the
Sidewalk, correct?
A. Yeah.
Q. Would you consider him to now be in the

scene of a police incident?

A. No.

Q. Okay. At any point before he left the
view of that camera, would you consider him to be
in the scene of a police -- police incident?

MS. HUGGINS: Form.

THE WITNESS: At the time and how brand new
I was, I would say no.

| I would say, given my time on the job now,
he was in the scene at one point in time and now
he's no longer in the scene.

BY MR. DAVENPORT:

Q. Okay. Has he made any sort of
threatening motions or any sort of movements that
would cause you alarm?

A. No.

MR. DAVENPORT: Okay. Now, I want you to

 

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watch and see if this individual appears back in
the screen.

(Video clip played.)

THE WITNESS: So wherever that was -- what
was that? 42?

BY MR. DAVENPORT:

Q. Yes. We'll say 10:26:42, he's back in
the scene?

MS. HUGGINS: Form.

BY MR. DAVENPORT:

Q. Is he in the scene at this point?

Police scene.

A. On the -- on the -- wait. Say that
again.

Q. Is this individual in the police scene
at 10:40 -- 10:26:42?

A. He's in the -- the view of the camera.

I wouldn't say he's in the scene.

Q. Okay. At any point does he enter the
police scene?

At any point before I stopped?

A. No, but there's some type of contact

made. Tt looks like --

 

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Q. When --

A. It looks like there's some type of
contact made either between the officer and him or
him and the officer.

Q. Now, when you say contact, what are you

referring to?

A. Maybe he said something or the officer
said something to him. I don't know.
Q. Okay. So contact refers to something

that is verbally said.

MS. HUGGINS: Form.

THE WITNESS: Verbally, physically, yeah,
but in this scenario, verbal.

BY MR. DAVENPORT:

Q. Okay.

A. Some -- something -- something made the

officer direct his attention to the male.

Q. Okay.
A. Something.
Q. Now, I understand that it might be

different from what you saw that day, but now
watching the video, what does it appear that that

individual is doing?

 

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MS. HUGGINS: Form.

THE WITNESS: It appears as though he's on
his phone.

BY MR. DAVENPORT:

Q. Okay. Do you have any reason to know
‘today why he was on his phone at that time?

| A. I -- I can't speculate why he's on his

phone. I don't know.

Q. Would that be something that's a

threatening motion made?

A. No.

Q. For a police officer, if somebody was
on their phone?

A. No.

Q. Okay. Now, when initial contact is
made between a police officer and this individual,
would you have to do some sort of a visual
assessment?

A. Can you explain that?

MS. HUGGINS: Form.

BY MR. DAVENPORT:

Q. Well, you -- you were saying that

contact has been made between the police officer

 

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and this individual.

What would be the next steps after that
contact is made in this situation?

MS. HUGGINS: Form. Are you asking what
happened or procedure?

MR. DAVENPORT: Procedure.

MS. HUGGINS: Form.

THE WITNESS: That can be dictated by other
variables. I don't know what is about to be said
or what the subject does or acts out.

BY MR. DAVENPORT:

Q. Okay. So let's say in this situation,
an individual is on their cell phone and contact
has been made between the police officer and this
individual.

What should the next steps be in this
situation, knowing that some individual has been
contacted by a police vehicle?

MS. HUGGINS: Form.

THE WITNESS: Well, I'm confused if you're
asking about two different things. About the --
the officers with the subject who --

BY MR. DAVENPORT:

 

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13:39:47 1 Q. Oh, no. I'm --
13:39:49 2 A. -- was contacted by the police vehicle
13:39:52 3} or -- or the subject that was contacted by this
13:39:53 4| officer. What are you -- what are you talking
13:39:55 5| about? Which one?
13:39:57 6 Q. So I'm not talking about the individual
13:39:58 7| that was contacted by the police vehicle. We were

13:40:01 8; talking about the contact that is made between the
13:40:03 9] individual who is on his phone and the individual --

13!40:06 10] the police officer who was out in the street.

13:40:09 11 What I want to know is --
13:40:10 12 A. Yeah. There's --
13:40:11 13 Q. -- in this situation, you know, what --

13:40:12 14] what should he be doing if an individual is on his
13:40:15 15| phone after somebody, possibly his father, has been

13:40:18 16] struck by a police vehicle?

13:40:19 17 MS. HUGGINS: Form.

13:40:19 18 THE WITNESS: There's -- there's no written
13:40:21 19} procedure. You can speak to him and leave. You

131 40:25 20/ can speak to him and stay. You can -- I don't know

13:40:28 21] what they're talking about.
13:40:30 22 BY MR. DAVENPORT:

13:40:31 23 Q. Okay. Well, would there be any reason

 

 

 

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to take that cell phone from that individual?

MS. HUGGINS: Form.

THE WITNESS: It -- it -- no, not right now.

BY MR. DAVENPORT:

Q. Okay. Would there be any reason --
well, we'll keep on watching.

So now an individual -- this individual is,
would you agree, walking away from the police
officer that first made contact with him?

A. Mm-hmm. I'm sorry. Yes.

Q. And would you agree that he is still on

his cell phone at this point?

A. Yes.

Q. Okay. Now, what reasons would the
police officer have to go to that individual while
he's on his cell phone?

MS. HUGGINS: Form.

THE WITNESS: I cantt --

MS. HUGGINS: Calls for speculation.

THE WITNESS: Yeah. I can't speculate
for -- and that's --

BY MR. DAVENPORT:

Q. Well, you were there.

 

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A. That's --

Q. You were there.

A. Well, let me -- let me talk.

MS. HUGGINS: Form.

THE WITNESS: I can't speculate for what
Karl's doing, but you can, in many scenarios, when
someone's walking away, detain them for whatever
reason. Whatever reason is -- is legal in that
moment.

And for you to say that I was there, I wasn't.
I was over at a totally different vehicle.

BY MR. DAVENPORT:

Q. Okay.

A. So I don't know what they were talking
about. That's speculation.

Q. Okay. So now this individual is

walking away from Karl Schultz, and Karl Schultz is
walking towards him. I mean, this guy's still on
his cell phone, correct?

What -- what possible things could he have
said where Karl Schultz would still be following
after him?

MS. HUGGINS: Form. There's a lot of

 

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foundational problems with that question. It's
compound. It's --

MR. DAVENPORT: It's a deposition. He can
answer the question.

You can -- you can move to strike it if you
would like, but he can answer the question.

MS. HUGGINS: You have to ask -- ask proper
questions.

MR. DAVENPORT: It's a proper question.

I'm asking -- he's on his cell phone. He's

walking away from Karl Schultz. What possible
things could he have said that would need Karl
Schultz to keep on walking after him?

MS. HUGGINS: Form. It calls for
speculation, and it's a compound question.

MR. DAVENPORT: I'm just asking what things
could have possibly been said. He can answer the
question.

THE WITNESS: I would still defer to Karl
Schultz. I -- I don't know --

BY MR. DAVENPORT:

Q. Would there be any reason --

A. -- what was said.

 

 

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Q. -~- why you would go?

MS. HUGGINS: Allow him to finish an answer.

THE WITNESS: I don't know what was said.

In many different scenarios I've just let
people walk away. In other scenarios I've kept
them on scene.

I don't know. I don't know -- I don't know
what was said during the interaction between Karl
and the subject, so I don't know.

BY MR. DAVENPORT:

Q. Now, situations where you have kept the
person on scene, what types of things did that
individual say?

MS. HUGGINS: Form.

THE WITNESS: They could say something
specific to the scene, and -- I don't know -- maybe
they -- they witnessed something and you need
a statement from them.

Maybe -- maybe they said something that
would elicit a disorderly conduct penal law charge
and get arrested.

You could -- you know, there's -- there's

many different things that someone would say where

 

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13:43:45 1] you would keep someone on scene and detain them and
13,4949 2| take it from there.

13:43:51 3 BY MR. DAVENPORT:

13:43:51 4 Q. Now, assuming that this person said
13:43:54 5] something about the scene that would have made them
13:43:57. 6] a witness, did anybody take a statement from him

13:44:02 7] that day?

13:44:03 8 MS. HUGGINS: Form.

13:44:04 9 THE WITNESS: I never said that he was
13:44:05 10] a witness. I don't know if any statement was
13:44:09 11] taken. I would have deferred to the senior

13:44:11 12] officers.

13:44:11 13 BY MR. DAVENPORT:

13:44:11 14 Q. Okay. Now, would you agree that the
13:44:22 15/ individual is now out of the scene and so is

13:44:25 16] Officer Karl Schultz at this point?

13:44:28 17 A. Yes.
13:44:28 18 Q. Okay. Where are you at this point?
13:44:29 19 A. I'm in the lower right-hand corner of

13:44:32 20] the video screen.

13:44:33 21 Q. And what direction are you facing?
13:44:36 22 A. Bast.
13:44:38 23 Q. And east would be in the -- you were

 

 

 

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facing the direction where that individual was,
correct?

A. The subject with Karl, yes.

Q. Okay. Do you know how -- approximately
how far away from the subject you were?

A. I -- I -- no, I don't.

Q. Okay. Now, at this point is Karl
Schultz leading the individual out -- back out into
the street?

A. Yes.

Q. Does it look like he's going out there
voluntarily, the individual?

A. No. It looks from -- from this camera,
he was being detained for some reason.

Q. Okay. Where were you at this time?

A. On the left side of Karl.

Q. Okay. Were you facing the individual?

A. Yeah. And -- yeah. Karl and the
individual, yeah.

Q. Okay. Now, where is the individual at

this time?
A. Lower right.

Q. Okay. Is any officer touching the

 

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individual?

A. Yes.

Q. And who is that individual?

A. Karl Schultz.

Q. And where are you at this time?

A. On the same side. The left side of
Karl Schultz.

Q. Okay. And are you facing the
individual?

A. Yes.

Q. Okay. Has any pat-~down been done of
the individual at this point?

A. Not yet.

Q. Okay. Has any pat-down been done of
the individual at this point?

A. You can't really see, but I don't -- I

don't believe so.

Q. Well, you told me that the pat-down
would consist of patting down the pant legs,
correct?

A. Yeah.

Q. Has any -- does it look like Karl

Schultz has reached down at all, or does he still

 

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13:46:28 1/ have his hands up, near the individual's head?
13:46:30 2 MS. HUGGINS: Form.
13:46:30 3 THE WITNESS: This camera view, it looks
13:46:32 4] like they're still up, upper body.
13:46:34 5 | BY MR. DAVENPORT:
13:46:34 6 Q. Okay. Now, what just happened there?
13;46:40 7 A. A little bit of resistance.

|
13:46:45 8 Q. So when you say there was a little bit
13:46:47 9] Of resistance, by who? The individual or the
13:46:49 10] police officer?
13:46:50 11 A. It looks like the subject, but that
13:46:54 12| doesn't always mean anything. It's an emotional
13:46:59 13] state. People sometimes act on emotion and kind of
13:47:06 14/ pull away and push off a cop and then -- and then
13:47:10 15| they calm down.
13:47:13 16 Q. Now, where -- where are you at this
1aya7s4s 17| time? Can you be seen in the camera?
13:47:18 18 A. Can you start it over two seconds
13:47:20 19] before this so I can see exactly where I am?
13:47:23 20 Q. Sure. It might skip, so I might have
13:47:28 21| to go back again.
13:47:33 22 A. It looks like I'm on the right side.
13:47:36 23 Q. T'm sorry. I'm sorry. One second.

 

 

 

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A. Oh, sorry.

Q. Okay. All right. So we have it the
two seconds before my previous question, so now my
question is: From the time stamp 10:27:16, until
the time stamp 10:27:18, where we were previously
stopped, just kind of watch yourself, and tell me
where you're positioned at 10:27:18.

A. Okay.

Q. Or where -- you know, where you would
think that you are.

MS. HUGGINS: Form.

THE WITNESS: So I'm on the western side of
the subject that Karl made contact with, or he made
contact with Karl.

BY MR. DAVENPORT:

Q. Okay. So, now, when an individual
tries to struggle to get away from an officer or
there's some sort of resistance, did you receive
any training at that point on how to handle that
situation?

A. Yeah. There's like some -- they call
it verbal judo. You just kind of talk and

deescalate situations.

 

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Q. But verbal, not physical?

A. You can -- you can be physical to help
calm someone down, yeah, absolutely.

Q. Was that part of your training?

A. I don't remember if it was part of
academy or anything.

Q. Okay. At this point have you -- had
you encountered any individuals who had tried to
resist a police officer?

A. Yeah. Yeah. This morning, on the
Sattler call.

Q. Okay. And what sort of resistance did

you encounter in that situation?
A. Totally different scenario. Someone

that was running from police.

Q. And what -- what did you do in that
situation?
A. I ran after him.

Q. Okay. Did you actually catch the

individual --
A. I didn't.
Q. -- that was trying to run away?

A. I didn't.

 

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13:49:26 IL MS. HUGGINS: Form. Asked and answered.
13:49:28 2 THE WITNESS: I did not apprehend him, no.
13:49:30 3 BY MR. DAVENPORT:
13:49:30 4 Q. Were you involved at all in trying to
13:49:33 5| keep the individual from resisting?
13:49:37 6 A. The one from the Sattler call?
13:49:38 7 Q. Sattler.
13:49:39 8 A. No.
13:49:40 9 Q. Okay. So was that the only other time
13:49:42 10} that you had encountered somebody resisting being
1s|49:46 11| detained by a police officer?
13:49:47 12 A. At that -- at that time I don't
13:49:49 13] remember any other incidents before -- before this
13:49:56 14| where someone had resisted. Very -- still very
13:50:01 15] new.
13:50:01 16 Q. Okay. Now, at this point we're at
13:50:08 17) 10:27:21. It's three seconds after you had been on
13:50:11 18] the right side of the individual. Has there been
13:50:14 19| any pat-down that's been done of the subject?
13:50:18 20 A. It didn't -- didn't look -- look like
13:50:20 21] it so far, no. |
13:50:21 22 Q. Okay.
13:50:34 23 A. So he's emptying out his own pockets

 

 

 

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right now.

Q. Okay. Why would he be emptying his
pockets?

A. Discretion. Maybe -- you know, I've
had people just empty out their pockets and pull up
their shirt to make sure they don't have anything
in their waistband.

I don't have to touch anybody if I don't
want to on a pat-down. They can pat themselves
down, and I can see inside their pockets -- well,
not see inside their pockets, but they can print
their pockets, fine.

Q. Okay.

A. You know, I don't need to -- I don't
need to do it myself.

And he was willing to and then spoke to us.

Q. If he was shaking his pockets, would
that count as a pat-down?

Would that be a proper pat-down?

MS. HUGGINS: Form.

THE WITNESS: I mean, if -- I guess if the
officer was satisfied with it.

BY MR. DAVENPORT:

 

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13:51:23 1 Q. So it would be officer discretion then?
13:51:25 2 A. Yeah.
13:51:28 3 Q. Now, at this point does it appear that

13:51:33 4} he's patting his pants or is he checking his coat?

13:51:38 5 A. It looks like he could have been doing
13:51:40 6] something with his coat. Maybe emptying out coat
13:51:42 71} pockets or something. I don't --

13:51:43 8 Q. Okay.

13:51:44 9 A. I don't know. Or I'm sorry. I don't

13is1:46 10/ remember.

13:51:46 11 Q. It looks like he pulled something out
13:51:50 12| of his coat pocket. Do you know what that would
13:51:52 13 | be?

13:51:52 14 A. I -- no. I don't remember.

13:51:53 15 Q. Okay. In this situation, what would
13:51:55 16| you expect him to pull out of his pockets?

13:51:57 17 MS. HUGGINS: Form.

13:51:58 18 THE WITNESS: I don't remember if anyone
13:52:01 19| asked him to go in his pockets or to get anything

13 ;52:06 20} out of his pockets.

13;52:07 21 BY MR. DAVENPORT:
13:52:07 22 Q. Okay.
13:52:10 23 A. Just because of the fact that I was so

 

 

 

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brand new, I don't know.
Q. Sure.
Would it be proper to ask this person for

an identification in this situation?

A. I mean, it -- it -- it falls back on
officer discretion. I think that if someone
said -- let's say in this example he did, and, of
course, I don't want to speculate -- if he was

like, that's my dad, then I can just ask someone
their name, and I could be okay with that, and then

other cops would still want to see an ID.

Q. Okay.

A. Or maybe what -- whatever he pulled out
of his pockets was an ID. I don't -- I don't know.

Q. Okay. Did he pat down his pants at all

during that exchange?

A. Yeah. There was a few seconds prior to
this that you showed where he was doing stuff with
his pants.

MR. DAVENPORT: Okay. We'll watch it again.

(Video clip played.)

BY MR. DAVENPORT:

Q. Did you notice him pat his pants at any

 

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Moriarity - Davenport - 2/21/20

220
point?
A. Yeah. You've just got to rewind it
further, because he did it on camera.
Q. Okay. So it would have been before the

point that I went back to?

THE WITNESS: Yeah.

(Video clip played.)

BY MR. DAVENPORT:

Q. Now, I just want you to focus on any
time that he patted his pants, and then I would ask
you to please tell me to stop.

MS. HUGGINS: Form.

THE WITNESS: So right there.

BY MR. DAVENPORT:

Q. He's patting his pants at that point?

A. Well, he's already on to his coat, but
it looked like he was patting his pants down real
quick.

Q. Did he pat his pants at any point
during that?

A. No. No. That was his coat.

Q. Okay. Now, during a pat-down, would

you expect somebody to reach down towards their

 

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ankles to show that they don't have a weapon in
their sock or shoe?

MS. HUGGINS: Form.

THE WITNESS: That's discretion.

BY MR. DAVENPORT:

Q. What would be proper for a pat-down?

MS. HUGGINS: Form.

THE WITNESS: Again, that's -- that's
discretion. I've -- I've given full pat-downs
before and -- and I went from their sleeves, all

the way down to their ankles, and then other times
I've had someone lift up their shirt to make sure

they didn't have a gun in their waistband and left
it as that.

BY MR. DAVENPORT:

Q. Okay.
A. So it all falls on discretion.
Q. Okay. How many times have you allowed

the individual to pat themselves down, as opposed
to you doing that pat-down?

MS. HUGGINS: Form.

THE WITNESS: I don't know specifics.

MR. DAVENPORT: I would ask also what's the

 

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form objection there?

MS. HUGGINS: How many times have you asked
a person to pat down themselves before you doing
it?

MR. DAVENPORT: I don't think that was the
question.

MS. HUGGINS: We can read back the question.

MR. DAVENPORT: Yes, please.

(The above-requested portion was then read
by the reporter.)

MS. HUGGINS: It's the use of the term
pat-down.

MR. DAVENPORT: Okay. You can answer.

THE WITNESS: Yeah, I wouldn't have
a specific number on that.

BY MR. DAVENPORT:

Q. But you have done that before?
A. Yeah.
Q. Okay. Now, at this point it appears

that you are no longer in the camera view and
Officer Schultz is no longer in the camera view,
but the individual's still standing in the street.

What would have been done -- what was being

 

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done at this point?

A. I don't remember. I would -- I would
defer to Karl on that.

Q. Okay. Why would you go back to the
police vehicle at that point?

A. I was probably following Karl around
and shadowing him.

Q. Okay.

A. So in the lower -- lower right.

Q. Now, at this point it appears that Karl

is radioing in. Would you agree to that?
A. Yes.
Q. Do you know what he was radioing in?
A. I don't. I don't remember.

Q. What would he possibly be radioing in
at that point?

MS. HUGGINS: Form.

THE WITNESS: I don't -- I actually don't
recall. I don't know -- I don't know. I mean,
I -- I did hear the -- the radio things over the
radio, but I didn't -- I don't know what he was

calling in right now.

BY MR. DAVENPORT:

 

 

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Q. Okay. Did you have access to a radio
at this point?

A. I did have access to a radio, yeah.

Q. Okay.

A. I didn't -- I didn't use it.

Q. What situations would you have used
that radio?

MS. HUGGINS: Form.

THE WITNESS: At -- at this point in time,
I probably -- and, again, I -- I don't remember in
total. I probably wasn't on the radio at all
because I was so brand new.

This -- this would have been Karl on the
radio, and I think I just started driving.

BY MR. DAVENPORT:

Q. Okay. Now, it appears at this point
that you're just walking around. Would there have

been anything that you would have had to do in this
situation?

Was -- were you receiving any directions
from any of the other officers?

A. I don't -- I don't think so.

Q. Okay. Why would that individual still

 

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be in the street at this point?

MS. HUGGINS: Form.

THE WITNESS: Honestly, I don't -- I don't
know. I'm sorry. I don't remember.

MR. DAVENPORT: Okay.

THE VIDEOGRAPHER: Mr. Davenport, for the
purposes of the media, could we take a quick
off-the-record break and --

MR. DAVENPORT: Yes, we can.

THE VIDEOGRAPHER: -- then start back up?

MR. DAVENPORT: Yes, we can.

THE VIDEOGRAPHER: Okay.

(A recess was then taken at 1:59 p.m.)

(On the record at 2:01 p.m.)

(Video clip played.)

BY MR. DAVENPORT:

Q. Now, at this point it's 10:25:48. The
police vehicle has just stopped, and it appears
that the person on the passenger side door has
opened the door. Would you agree with that?

A. Yeah. It -- it looks that way through
the trees.

Q. Okay. So now you -- it appears that

 

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you and Officer Schultz have exited the vehicle?

A. Yes.

Q. It --

A. I'm sorry.

Q. No. I'm sorry.

And the time is 10:25:51. I'm not asking
you to verify the accuracy of it, just whether you
see 10:25:51 on the screen.

A. Oh, yeah.

Q. Okay. Thank you.

Do you know what that car -- the beige car
or gray car that was there?

A. No.

Q. Okay. Now, the subject that we were
referring to before who was on his cell phone, does
he appear in the screen at 10:26:42?

A. Yes.

Q. Okay. Once again, not asking you to
verify the accuracy, just what time you see on the
screen.

So now at this point, do you see the subject
who was struck by the car walking back towards your

police vehicle?

 

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A. The subject, yeah, that threw himself
on the car and the officer's walking him back,
yeah.
Q. Now, when you say, threw himself at the

car, is that based on what you remember or based on
what you saw on the video?

A. No. That's based off what I remember
seeing.

Q. Okay. What about based off of what you
see in the video, what do you think?

MS. HUGGINS: Form.

THE WITNESS: Based on what I see in the
video, it's a different perspective than what I saw
in real life.

BY MR. DAVENPORT:

Q. Okay. Now, at 10:27:00, we see an
officer that's walking towards the sidewalk; is

that correct?

A. Yeah. Yes.

Q. Do you know who that officer was?

A. Karl Schultz.

Q. Okay. Now, at 10:27:04, we see the
individual. Is he facing Karl Schultz?

 

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A. In a bladed stance, yeah.
Q. What do you mean by a bladed stance?
A. It looks like his feet are facing

but his upper body is facing Karl, which is

Q. Okay. I just want to rewind.
A. It looks like that.

Q. Okay. Okay. Now, immediately before

this 10:27 time stamp, did you see Karl Schultz

make any sort of gestures?

please?

hand.

And I'll replay it.

A. Yeah. Can you go -- can you go back,

Q. Yeah.
THE WITNESS: Thank you.
(Video clip played.)

THE WITNESS: He did something with his left

BY MR. DAVENPORT:
Q. Could you tell what that was?
A. Not -- not with this camera, no.

Q. Did it look like he was motioning for

someone to come towards him?

 

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A. Either that or he was gesturing
towards -- towards someone.

Q. Okay. Did he make that same gesture
again?

A. Yeah, Yes. I'm sorry.

Q. Okay. Now, at this point, where is the
subject's right hand?

MS. HUGGINS: Form.

THE WITNESS: Up by his face.

BY MR. DAVENPORT:

Q. Okay. Does it appear that it's on the

side of his face? In front of his face?

A. The side of his face.

Q. Okay. Why do you think his hand would
be on the side of his face?

MS. HUGGINS: Form.

THE WITNESS: As we discussed earlier, it
appeared as though he was on his phone.

BY MR. DAVENPORT:

Q. Okay. So now the individual's still on
his phone, correct?

A. Yes.

Q. And did the officer make contact --

 

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physical contact with the subject?

A. It -- you can't tell, but it looks as
though, with Karl's right arm, he might have made
contact with the left side of the subject's body.

Q. Okay. I'll just play it in one
continuous motion so that way hopefully you can see
that a little bit better.

MS. HUGGINS: Do you want to even go back
like one more second?

MR. DAVENPORT: Yeah.

MS. HUGGINS: I don't want it to skip.

(Video clip played.)

BY MR. DAVENPORT:

Q. So now did you see the subject also
raise his left arm?

A. I did.

Q. What did it look like he was doing?

A. I -- I -- I don't know what they
were -- I'm sorry -- I don't remember what they
were talking about, so I don't -- I don't know what

he was doing.
Q. Someone --

A. I just came around from the other side

 

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of the vehicle, as we just watched, so I don't know
what is taking place between the officer and the
subject.

Q. So, now, when somebody raises their
left hand, as the subject did, and then they start
walking away from the officer, what would that say
to you?

MS. HUGGINS: Form.

THE WITNESS: I -- it could mean a whole
bunch of things, and I don't know because, you
know -- and I can't even tell what I'm looking at,
you know, behind -- behind the tree.

Maybe I'm talking to, you know, Lauren.

Maybe I'm saying something to Lauren. Because I'm

still bladed south, so I -- I don't know exactly
what they were talking about, and I -- and I --

maybe I didn't even see him, you know, raise his
left hand, and maybe I didn't see Karl make the
motions with -- with his hands. I don't know
what's going on there.

BY MR. DAVENPORT:

Q. Sure. No. And I'm -- I'm sorry,

Officer Moriarity. I'm not talking about what you

 

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saw.
A. Okay.
Q. I'm just merely talking about what you
are seeing currently in the video. I understand

that on the day of the incident, you may have not
have seen every event that unfolded. I'm just
merely asking your opinion on what you just saw
between the subject and Officer Schultz.

MS. HUGGINS: Form.

THE WITNESS: Yeah, I mean, I -- I don't --
I don't know what that hand motion could have been.

BY MR. DAVENPORT:

Q. Okay. But he did raise out his left
arm and then walk away from Officer Schultz,
correct?

A. Yes, he definitely did do that.

Q. Okay. So, now, did you see that
contact was made between Officer Schultz and the
individual?

A. Yes, I did.

Q. Physical contact.

I'm sorry, Officer Moriarity.

A. Yes.

 

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Q. Physical contact?

A. Yeah. Yeah.

Q. Okay. Now, at this point,
Officer Schultz is bringing the individual

out, back towards the street, correct?

A. Yes.
Q. And where are you at that point?
A. Right in front of him.

Q. Right in front of him? Okay.

Are you facing the -- the subject?
A. Iam.
Q. Okay. Now, at this point does it

appear that the individual still had his right arm
up near his face?
And I'll rewind it a little bit just so we

can see it again.

A. Correct, he does.

Q. Okay.

A. Excuse me.

Q. So now I just want you to pay attention

and see, did that individual ever take his right
arm away from the side of his face?

A. No.

 

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Q. Okay. And what would that lead you to
believe?

MS. HUGGINS: Form.

THE WITNESS: He -- he could still be on his
phone.

BY MR. DAVENPORT:

Q. Okay. Now, did you see Officer Schultz
grab something from the individual?

And I can replay it.

A. Yeah, could you, please? Thank you.

MR. DAVENPORT: sure.

(Video clip played.)

BY MR. DAVENPORT:

Q. Did it appear that he grabbed something
out of the individual's right hand?

A. It looked that way.

Q. Okay. What do you think he grabbed?

A. He could have grabbed his phone.

MS. HUGGINS: Form.

BY MR. DAVENPORT:

Q. Where are you facing at that time?
A. It looks like I'm facing them.
Q. So you would assume that you probably

 

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saw that?
MS. HUGGINS: Form.
THE WITNESS: Yeah. I mean, I -- I -- yeah.

BY MR. DAVENPORT:

Q. Okay. So what did you just see right
there? |

A. I don't know what I just -- I don't --
it looked like he pulled away and resisted whatever
Karl was doing.

Q. Did it look like it needed two officers
to keep that subject under control?

A. I would -- I would think so, yeah.

Q. Is that something that's typically done
is two officers --

A. Yes.

Q. -- to keep someone under control?

MS. HUGGINS: Form.

BY MR. DAVENPORT:

Q. Now, we talked about verbal cues before
as something that was part of your training. When
would it be appropriate to use verbal cues as
opposed to physical cues to subdue somebody who is

trying to resist detainment?

 

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A. It all depends on --

MS. HUGGINS: Form.

THE WITNESS: -- the actions of the person.

BY MR. DAVENPORT:

Q. What actions that you see in this video
would lead you to believe that physical methods
rather than verbal methods should have been used
for that individual?

A. Right now it's verbal, and then if you

press play, right now.

Q. And what -- what leads you to believe
that physical --

A. He did a pushing off or a jerking
motion from Karl when Karl was trying to talk to
him and continue whatever contact he was originally
trying to make with him in -- in -- in detainment.
In a form of detainment.

Q. Now, who pushed away first? Was it the
subject?

A. It appeared that way, yeah.

Q. Okay. We'll watch it again.

At what point --

A. Yeah.

 

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Q. -- did he --

A. Right --

Q. -- push --

A. Right --

Q. -- away?

A. Right before -- right before he turned
to face Karl, he pushed. He pushed away.

Q. Did he extend his arm?

A. You don't need to extend your arm. You
can keep your arm close to your body and -- and use
your legs to power away.

Q. So it wouldn't have necessarily been
a push with the arms. He was just trying to escape

the officer's grasp? Would that be a more fair
characterization?

MS. HUGGINS: Form.

THE WITNESS: I don't know if he was trying
to escape the officer's grasp. He was in an
emotional state, as per the video.

People -- people react in certain ways.

And after this, he was fine, from what the video
showed.

BY MR. DAVENPORT:

 

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Q. But I guess did he ever use his legs to
try to push away from the officer?

A. Play it again, please.

Q. Yeah.

I guess a couple of quick questions while
we're waiting for this to load up.

Do you receive an hourly wage, or are you

salaried?
A. Salaried.
Q. You're salaried?
A. Yeah,
Q. Okay. Do you have to hit a certain

number of hours to receive your salary for a week?
A. 40.
Q. Okay. Do you receive any overtime

beyond what your salary is?

A. If I choose to take it, yeah.

Q. Okay. And how is your overtime rate
determined?

A. Time and a half.

Q. Time and -- so how do you determine

what time and a half is if you're not paid hourly?

MS. HUGGINS: Form.

 

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THE WITNESS: Yeah. That's broken down by
payroll. I mean, yeah, there -- there's an hourly
rate, but I make -- I made -- at the time, I think

it was forty-three seven.

BY MR. DAVENPORT:

Q. Okay. So were you salaried at that
time as well?

A. Yeah.

Q. Okay. Are all officers salaried
workers or are some of them hourly?

A. No. It's all salary.

Q. It is all salary? Okay.

So, now, just so that way we can go back to
what we were trying to look at before, I just want
you to focus on whether the subject ever extends
his arm or uses his legs in any sort of fashion
that would lead you to believe that he's trying to
push away from Officer Karl Schultz.

MS. HUGGINS: If it's possible, can you go
back one more second?

MR. DAVENPORT: Yeah, I'll try.

MS. HUGGINS: I know it's not cooperating,

but --

 

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14:17:37. 1 (Video clip played.)

14:17:51 2 MS. HUGGINS: Okay. Thank you.

14:17:57. 3 THE WITNESS: So, yeah, with his left leg,
14;18:01 4] he kind of made a -- a sudden -- a sudden I would

14:18:04 5| Say minorly chaotic movement to face Karl, and Karl
14:18:11 6] completed the motion to spin him around and kind of
14:18:15 7] get him under control real quick.

14:18:18 8 BY MR. DAVENPORT:

14:18:18 9 Q. So what's -- I guess in your terms,
14:18:21 10] what a minor chaotic move is?

14:18:23 11 A. Just moving -- moving real quick in --
14:18:25 12] in front of officers when a number 1 concern for
14:18:29 13] everyone -- everyone involved ina scene --

14:18:33 14/ subjects, officers, defendants, victims -- moving
latie:3e 15 real quick can mean someone's, you know, got

14:18:41 16| a knife that passed maybe a -- a pat-down or -- or
14:18:44 17|/ they're going to punch someone or something.

14:18:47 18 So, yeah, a chaotic movement. I know I did
14:18:51 19] a pat-down. I've been punched in the face before
14:18:54 20| because I was too close to someone because they
14:18:57 21| made a chaotic movement. It's -- it's normal. It
14:19:00 22] happens.

14:19:00 23 Q. Sure. But the only minor chaotic move

 

 

 

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that you have seen at that point was something that
he did with his left leg to face towards Karl
Schultz?

A. Yeah, In a not normal way to face
someone. It looks from the video, and, again,
it's -- it's from a -- a viewpoint that's not on
street level, it looks -- it looked a little
chaotic, and it looks like not a normal turning,
facing movement.

Q. All right. I just want to watch it one
more time --

A. Sure.

Q. -- just to make sure that there was
nothing else besides that left leg movement that
you noticed.

MS. HUGGINS: Form.

(Discussion off the record.)

MR. DAVENPORT: So we're just watching one
more time to make sure there was nothing besides
that left leg movement that you saw.

MS. HUGGINS: From his view of the video?

MR. DAVENPORT: Correct.

(Video clip played.)

 

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BY MR. DAVENPORT:

Q. So did you notice anything else?

I can replay it if you would like me to.

A. No. No. I mean, yeah, the -- the
left leg movement, and then if -- if you want to
continue pressing play, once -- once he was under
control, for lack of better terms, from whatever
this was, he was fine.

MR. DAVENPORT: Okay. So I want you to
watch again.

(Video clip played.)

THE WITNESS: There's your pat-down.

BY MR. DAVENPORT:

Q. Okay. Now, why would Karl Schultz be
going back to the vehicle at that point?

MS. HUGGINS: Form.

THE WITNESS: I -- I don't remember what he

went back to the vehicle for.
BY MR. DAVENPORT:
Q. Is it possible that he took his ID?
MS. HUGGINS: Form.
THE WITNESS: It's a possibility. I would

defer to -- to Karl.

 

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BY MR. DAVENPORT:

Q. Okay. For what reasons would somebody
take their ID in this situation?

MS. HUGGINS: Form.

THE WITNESS: Now that he's made contact
with him or he made contact with Karl, you can
check someone's ID and find out who they are and,
you know, you can search for whatever reason
you're -- you're looking at him for.

You can find out if he's got warrants. I'm
not saying it was ever a thing that we thought he
did have. I don't know why he -- I'm sorry. I
don't remember why he ran his ID, if he's even
running his ID.

BY MR. DAVENPORT:

Q. Okay. Do you recall what was said to
the subject at this point?

A. I don't remember, no.

Q. Do you see that Karl Schultz is now
radioing in?

A. Yes.

Q. What reason would he be radioing in at

that point?

 

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244
14:24:33 1 MS. HUGGINS: Form.
14:24:35 2 THE WITNESS: There's -- there's a radio
14:24:38 3] log. I mean, whatever -- whatever he said
1aloa:4o 4; immediately goes on a radio log. I don't know --
14:24:43 5| I don't remember what he said over the radio.
14:24:45 6 BY MR. DAVENPORT:
14:24:46 7 Q. Let's say he had checked that person's

14:24:48 8] ID, what things would he have to call into dispatch?
14:24:52 9 A. He doesn't have to call anything in if
14:24:56 10| he doesn't want to call anything in about -- about
14:24:58 ll} an ID check. He could have just checked the ID --
14:25:03 12] if he did check an ID, he could have checked it
14:25:05 13] over the computer.

14:25:06 14 Q. Would it be required for that

14:25:07 15} individual, that subject to stand there and wait

14:25:10 16| for his ID to be checked?

14;25:12 17 MS. HUGGINS: Form.

14:25:12 18 THE WITNESS: If -- if Karl was detaining
14:25:15 19} him, then -- then, yeah, I mean, he's not under
14:25:24 20] arrest. He didn't -- he's free to leave, though,

14:25:24 21] too, so --
14:25:27 22 BY MR. DAVENPORT:

14:25:27 23 Q. But if you're detained, are you allowed

 

 

 

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to leave?

MS. HUGGINS: Form.

THE WITNESS: Yeah, when everything's done.

BY MR. DAVENPORT:

Q. But he's not -- he's not allowed to
leave at this point, correct?

MS. HUGGINS: Form.

THE WITNESS: I would still defer to -- to
Karl.

BY MR. DAVENPORT:

Q. At any point did anybody hand him back
that cell phone that was taken earlier?

MS. HUGGINS: Form.

THE WITNESS: I am -- I don't remember if he
snatched a cell phone from him or not. I don't
know what that motion was in front of his face.

BY MR. DAVENPORT:

Q. But whatever --
A. So --
Q. -- was taken from him, did anybody ever

hand back whatever was taken from him initially?
MS. HUGGINS: Form.

THE WITNESS: I can't honestly say

 

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14:26:06 1] I remember if anything was taken yet.
14)26:07 2 BY MR. DAVENPORT:
14:26:07 3| | Q. Okay. But no -- nothing in the
14:26:09 4] video -- well, would that be the first time, at
14:26:11 5; 10:30:08, that something was handed back to the
14:26:16 6| individual?
14:26:16 7 A. I don't know about handed back to the
14:26:17. 8] individual. I know that I handed him something
14:26:20 9| right there.
14:26:21 10 Q. Okay. We'tli just go back a little bit.

14:26:24 11] I just want to make sure that nothing was handed to
14:26:27 12} the individual before then.

14:26:39 13 I want to go back to the moment it looked
14:26:40 14| like something may have been taken from him.

14:27:29 15 Now, I just want you to watch and see. Are

14:27:31 16] officers handing anything to him at this point?

14:27:33 17 MS. HUGGINS: Form.
14:27:39 18 BY MR. DAVENPORT:
14:27:39 19 Q. Has anything been handed to him at this

14:27:41 20| point?
14:27:41 21 A. No, not yet.
14:27:42 22 Q. Okay. At 10:28:24, has anything been

taloes1 23} handed to the subject at that point?

 

 

 

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A. No, not yet.

Q. Okay. At 10:29, has anything been
handed back to the individual?

A. No.

Q. Okay. 10:29:35, had anything been
handed to the individual?

A. No.

Q. Now, at 10:30:06, is that the first
time anything had been handed to the individual?

MS. HUGGINS: Form.

THE WITNESS: Yeah, it looks that way, yeah.

MR. DAVENPORT: Thank you.

We are now going to Exhibit 11.

Now I'm showing what has been marked Exhibit
11. The last four digits are 5233.

(Video clip played.)

BY MR. DAVENPORT:

Q. Now, what's the time at that upper --
upper section? What -- what does it read?

I'm not asking you to verify the accuracy.
Just what does it read?

A. The time on the video is 10:52:36.

Q. Okay. So you guys -- what -- what's

 

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depicted in the video currently right now is the
five officers -- there's now five officers standing
in a circle -- circular kind of --

A. Correct.

Q. -- formation?

What was going on here?

A. I don't -- I don't remember what we all
were talking about. I -- IT can tell you that I was
probably just standing there watching them all,
but --

Q. Do you remember what types of things
were being said?

A. No. No, I don't.

Q. Do you remember approximately what time
that fifth police officer arrived at the scene?

A. I don't.

Q. Like, you know, roughly, let's use as
a reference point the time that the collision was
made.

What time -- or how much time elapsed before

that fifth police officer arrived at the scene?
MS. HUGGINS: Form.

THE WITNESS: I don't -- I don't remember.

 

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BY MR. DAVENPORT:

Q. Okay. Do you remember anything
appreciable happening in between the time of the
end of that third video segment and this fourth
video segment, where we see a fifth police officer
arriving at the scene?

MS. HUGGINS: Form.

THE WITNESS: I don't -- no, I don't --

BY MR. DAVENPORT:

Q. Okay.
A. I don't think there was anything.
Yeah, I don't -- I don't think there was -- there

was anything.

Q. Okay. Do you see the individual
standing by the red van?

A. Yeah. Yes.

Q. Now, what initially did you arrive at
the scene for for this individual standing near the
red van?

MS. HUGGINS: Form. Asked and answered.

THE WITNESS: Yeah. Io-- I went to
33 Schmarbeck for a larceny. I don't know if
that's the same -- same complainant. I don't know

 

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if that's the same person.

BY MR. DAVENPORT:

Q. Okay. Is that individual holding
something in his hand?

A. Yeah. It looks like something.

Q. What do you -- what does it look like?

A. Something blue.

Q. Okay. Does it look like a bag?

A. It could be a bag, yeah. I don't know.

Q. Okay. So, now, going back towards the
beginning, you know that you have an individual,
who there was a collision with a -- with a police
vehicle, that's sitting in the back of your police
vehicle, correct?

MS. HUGGINS: Form.

THE WITNESS: Yes.

BY MR. DAVENPORT:

Q. Had any other assessments been done to
assess his physical condition at this point?

A. Not by -- not by me. I don't know if
other officers did.

Q. Okay. So, now, the time is 10:52:33,

and there's five police officers that are standing

 

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in a circle, correct?

A. Yes.

MS. HUGGINS: Form.

MR. DAVENPORT: Okay. So we're just going to
watch through, and we're going to see what time --
at what time the officers breaked at that point for
their police vehicles.

(Video clip played.)

BY MR. DAVENPORT:

Q. What kinds of discussions would have
been had by the police officers at this time?

MS. HUGGINS: Form.

THE WITNESS: There could have been many
discussions. Maybe about what took place on
Sattler. It's New Year's Day. They could have
been talking about what was taking place on
New Year's Eve.

It could have been anything. I know at one
point in time someone called Lieutenant McHugh.

BY MR. DAVENPORT:

Q. Was it at this time that that call was
made?

A. I -- I don't remember. I remember -- TI

 

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remember that someone did contact him.

Q. Okay. Okay. Were you there present
for that conversation with Lieutenant McHugh?

A. I don't -- I don't think so. I don't
think so, but I wouldn't -- I wouldn't remember if
I was.

Q. Have you ever used your cell phone to

contact a lieutenant before?

A. Yeah.
Q. Okay. How often do you do that?
A. It depends on the lieutenant. Some

like it over the phone, some like it over the

radio.
Q. Okay.
A. Some -- yeah.
Q. But, I mean, roughly, how many times

have you had to do that?

MS. HUGGINS: Form.

THE WITNESS: Tons.

BY MR. DAVENPORT:

Q. Okay. Would you -- Lieutenant McHugh
was your lieutenant at the time at C District --

A, At the time, yeah.

 

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Q. -- correct?

Did Lieutenant McHugh prefer that officers
contact him by phone?

A. He was probably indifferent.

Q. Okay. Did you ever contact Lieutenant
McHugh --

A. No.

Q. -- by phone?

A. Karl would do that. He's the FTO.

Q. Okay. After your 16 weeks of training

were over with Karl Schultz, did you ever contact

Lieutenant McHugh?

A.

Q.

No.

You would have had a different

lieutenant at the time?

A.

Q.

was?

Yeah, I had a different lieutenant.

Do you remember who that lieutenant

Yes.
Who was your lieutenant?
Lieutenant Long and Lieutenant Nigrelli.

Okay. Did you ever use your phone to

contact either of those two lieutenants?

 

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A. For sure, yeah.

Q. Okay. About how often did you contact
those two lieutenants?

A. Job related, not often.

Q. Okay. So it would have been more so
nonjob-related instances?

A. Yeah, Yeah.

Q. Okay. How many times have you contacted

a lieutenant for a job-related situation?

A. A lieutenant in general, and when
I say tons, maybe 20 -- 20 or so.

Q. Okay. And what --

A. Over the course of years.

Q. What types of situations would lead
you to use your phone rather than radio to contact
a lieutenant?

A. Like I said, some lieutenants just
don't want to be contacted over the radio, so --

Q. Is there a specific lieutenant that
you're thinking of that doesn't want to be
contacted by radio?

A. No.

Q. So it wasn't a lieutenant that --

 

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14:38:02 1 A. But some -- some don't, so --
14:38:03 2 Q. But no lieutenants that you ever worked

14:38:05 3] with that don't like to be contacted by radio?

14:38:07. 4 A. None that I've worked --
14:38:09 5 MS. HUGGINS: Form.

14:38:11 6 THE WITNESS: None that I've worked for
14:38:12 7| directly, but there are other lieutenants that
14:38:14 8| work around you that don't like to be contacted by

14:38:16 9] radio.

14:38:16 10 (Video clip played.)
14:38:16 11 BY MR. DAVENPORT:
14:38:16 12 Q. Okay. Did you see that motion that was.

14:38:44 13] just made right there?
14:38:45 :°14 A. I did.
14:38:46 15 Q. What do you think that was in reference

14:38:48 16] to?

14:38:48 17 MS. HUGGINS: Form.
14:38:49 18 THE WITNESS: That would be speculation,
14:38:54 19] and, again, I -- I don't remember. I'm taking it

14:38:58 20] all in like the first week or two that I was even
14:39:01 21] on.
14:39:02 22 BY MR. DAVENPORT:

14:39:02 23 Q. Sure.

 

 

 

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14:39:02 1 A. So I'm standing there. I don't even
14:39:04 2] know what's going on.
14:39:05 3 Q. But it looked like he took himself and
14:39:09 4] kind of thrusted his legs out and his midsection,
14:39:14 5} correct?
14:39:15 6 A. Yeah.
14} 39:16 7 Q. Do you know which officer that was?
alsosae 8 A. I don't.
14:39:18 9 Q. Okay. Can you tell from this video who

14:39:21 10| that officer is?

14:39:23 11 A. No, not really.

14:39:24 12 Q. Okay. Now, at this time, was there
14:39:43 13] another officer who was in that Dodge Charger in
14:39:49 14| the back?

14:39:50 15 MS. HUGGINS: Form.

14:39:50 16 THE WITNESS: There -- I wouldn't even
14:39:52 17 | remember.

14:39:52 18 BY MR. DAVENPORT:

14:39:52 19 Q. Okay. So it was double-up that --

14:39:55 20] double-up day --

14:39:56 21 A. Double-up day, yes.
14:39:58 22 Q. -- that day, correct?

14:39:59 23 How often does double-up day occur?

 

 

 

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14:40:00 1 A. Twice a month.

14:40:01 2 Q. Okay. Now, when there's double-up day,
14! 40:05 3| are there ever any police vehicles for C District
14:40:08 4] that are left over that are not being used by any

14:40:11 5] of the officers?

14:40:11 6 A. Sometimes.
14:40:12 7 Q. Sometimes? Okay.
14:40:14 8 Would it be typical for an officer, on

14:40:16 9] double-up day, to drive by themselves, without

14:40:19 10} another officer present?

14:40:21 11 A. Yes.

14:40:21 12 Q. That has happened before?

14:40:23 13 A. Yes.

14:40:23 14 Q. Okay. Okay.

14:40:35 15 So now at this time, you still know that

14:40:37 16] there's an individual in your car who was on the
14:40:39 17] ground after colliding -- a collision with

14:40:42 18] a vehicle, correct?

14:40:43 19 A. Yes.

14:40:43 20 MS. HUGGINS: Form.

14:40:44 21 BY MR. DAVENPORT:

14:40:44 22 Q. Okay. And nobody's doing any sort of

14:40:47 23| a physical assessment of him at this time.

 

 

 

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A. I would defer to the senior officers
that had already done their physical assessment
with their years of experience.

Q. But one of the things that we talked
about before was you would be able to know if
somebody had some sort of internal bleeding if
maybe they had gone pale --

A. Right.

Q. -- or you noticed some other
circumstances, but nobody's checking for that at
this point.

A. No. At 10:54:25 is when they all split
up.

Q. Okay.

A. We all split up.

Q. Okay. Where were you guys going next
at this point?

A. I don't -- excuse me.

It was E -- ECMC. I don't remember how that
was all determined, though.

Q. Okay. Have you ever been involved, as
either a driver or a passenger, in any sort of

motor vehicle collision --

 

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A. No.

Q. -- with a police vehicle?

A. No.

Q. Okay. Do you know what the proper
procedure is if a police vehicle is involved in
some sort of a motor -- motor vehicle collision?

A. In a motor vehicle accident between two

vehicles, you would call a lieutenant and accident
investigation unit.
Q. What about if that police vehicle

struck an individual? What would be the --

A. If --
Q. -- proper procedure?
A. If the police vehicle struck
a pedestrian, it would be the same thing. You

would call a lieutenant and accident investigation
unit.

If -- in this case, which I think the other
officers made the call to contact the lieutenant --
or our -- our lieutenant, it was determined by them
that it was not a motor vehicle accident anda
penal law issue. There was an arrest made.

Q. So if it's a penal law issue, some sort

 

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of a crime, the accident investigation unit does
not need to arrive --

A. No.

Q. -- at the scene?

Now, if the accident investigation unit

arrives at the scene, do you know if statements are

supposed to be take -- taken by witnesses?

A. Accident investigation unit would do
that.

Q. Do you know if the accident

investigation unit would need to investigate or
take a statement from the individual that was

struck by the police vehicle?

A. In -- in an accident, yeah, they

take -- they take the statement.
Q. Of the individual that's been struck?
A. Of the individual, yeah.

Q. Okay. And they would also need to take
statements from anybody who possibly witnessed?

A. Yes.

Q. Okay. Now, as part of accident
investigation unit's investigation, are they taking

photographs of the vehicle? The scene? Is that

 

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14:43:40 1} part of what they --
14:43:40 2 A. T'm --
14:43:41 3 Q. -- do?
14:43:42. 4 A. I'm not in that -- that unit. I wouldn't

14:43:44 5| know what determines whether or not they take
14:43:47. 6| pictures or don't take pictures of -- I wouldn't --
14:43:50 7] I wouldn't know.

14:43:50 8 Q. Let me ask you, I guess, a different
14:43:53 9}| question.

14:43:53 10 Have you ever been involved with somebody
14:43:55 11 damaging a police vehicle intentionally?

14:43:58 12 A. This would be -- this would be one of
14:44:04 13] them, and then there was another time where someone
14:44:08 14} was in the back seat, kicking out a window.

14:44:10 15 Q. Okay. Now --

14:44:10 16 A. And, again, that was not my vehicle.
14:44:15 17 Q. The person whose vehicle it was, do you

14:44:18 18} recall who was driving that vehicle?

14:44:20 19 A. No.

14:44:20 20 Q. Okay. Do you remember if they took
14:44:21 21] a photograph of the window?

alaaag 22 A. No.

14:44:25 23 Q. Do you recall if --

 

 

 

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A. I didn't -- I didn't help with that
arrest.

Q. Do you recall if anybody took
a photograph of the vehicle, the window that was
kicked out?

A. No.

Q. No, they didn't take one, or no, you
don't recall?

A. No, I don't -- I don't recall.

Q. Okay.

A. sorry.

Q. Now, in this case, what does it appear
that that officer is doing?

MS. HUGGINS: Well, to be fair, there's
three people in the screen.

MR. DAVENPORT: I'll go back.

Now, there's an individual who was walking
away from the driver's side vehicle --

THE WITNESS: Right.

BY MR. DAVENPORT:

Q. -- of the Chevy Tahoe that is currently

in view of the camera, correct?

A. Right. Yes.

 

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263
Q. And that individual is now standing in
the center of the street -- in the center of the
street?
A. Mm-hmm. Yes, I'm sorry.
Q. Okay. What direction is she now
facing?

A. South,

Q. South, towards the police vehicle?

A. Yes.

Q. Okay. Why do you think that she would
have walked away from the police vehicle and then
faced in the direction of the police vehicle after
walking up to the driver's side door?

MS. HUGGINS: Form.

THE WITNESS: So I can't -- I can't speak on
her behalf. I'm already at my vehicle off screen.
I don't know -- I don't know if I'm in the truck
yet, or I don't know -- I don't know what she's
doing.

BY MR. DAVENPORT:

Q. So I guess --

A. I mean, you -- you can't even really
see what's in front of her because it's -- it's

 

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pretty pixilated or -- or blurry or whatever you
want to call it, but I -- I don't know.

Q. Okay. Now --

A. You know, you can't even really see
what she -- if she's -- you can't see what she's
doing.

Q. Is she standing in front of the police
vehicle?

A. She's definitely standing in front of
the police vehicle, yeah, but --

Q. And she's standing stationary?

A. Yeah.

Q. Okay. Now she's walking towards the
police vehicle, correct?

A. Correct.

Q. Okay. Were you ever shown any pictures
or photographs of the police vehicle in question
that day?

A. No.

Q. Okay. Do you know if anybody was shown

any pictures of the police vehicle that day?
A. No, I don't know.

Q. Are you familiar with the penal law

 

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statute for criminal mischief in the third degree,
which is a felony?

A. Yeah, I'm familiar with it. I would
have to have it in front of me to recite it.

Q. sure.

Do you recall if there's a threshold in
damage that's required in order to meet the burden
of proving that criminal statute?

MS. HUGGINS: Form.

THE WITNESS: I would have to have it in
front of me to -- to recite it.

MR. DAVENPORT: OkKay. Can we point the
camera back at the witness?

THE VIDEOGRAPHER: Sure.

MR. DAVENPORT: Thank you.

And then we can turn on the lights too.
Thank you.

Okay. So I'm going to show you what's been
marked as Exhibit 4A. I only have a copy of
Exhibit 4.

MS. HUGGINS: That's okay. I know what it
is. Why don't you keep this as your original.

I believe I have 4A.

 

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MR. DAVENPORT: Okay.

So, now, after you've left the scene at
Schmarbeck, you went to ECMC; is that correct?

THE WITNESS: Yes.

BY MR. DAVENPORT:

Q. Okay. Were you having any discussions
with Karl Schultz at that time?

A. I don't -- I don't remember. We
probably were, yeah.

Q. Okay. Do you remember any discussions
about a 941 procedure?

A. No, I -- I don't. And I -- even at the
time, I wouldn't have had a clue what it was.

Q. Okay. That wasn't any training that
you had received beforehand?

A. It -- you know, it -- it -- it was. Tt

was very, very quick training in academy, but --
Q. Which academy? Was it the Buffalo --
A. This was -- this was the police
academy, not Buffalo academy.
Q. Okay. Okay. So when you arrived at
ECMC, do you remember approximately how long you

stayed there?

 

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14:48:49 1 A. I -- no, I don't. I don't remember.
14:48:52 2 Q. Okay. At any point during your shift,
14:48:54 3] did you have anything to eat? Lunch or anything
14:48:56 4] like that?
14:48:58 5 A. Yeah. I don't remember what time or
14:48:59 6] what I ate or nothing, though.
14:49:00 7 Q. Do you remember what you had to eat
14:49:01 8] that day?
14:49:02 Q A. No.
14:49:02 10 Q. Okay. Do you remember if you ate at
aj4g:05 11] the hospital?
14:49:08 12 A. I definitely didn't eat there. I don't
14:49:07 13] eat there.
14:49:07 14 Q. Okay. And when you say you definitely
14:49:10 15] don't eat there --
14:49:11 16 A. Yeah,
14:49:11 17 Q. -- what reason is that?
14:49:12 18 A. I just don't. I just don't eat at
14:49:15 19| hospitals, Tim Hortons. I just don't do it.
14:49:19 20 Q. Okay. So more so the food, not like --
14:49:20 21 A. Yeah.
alag:20 22 Q. -- germs or anything like that?
14:49:22 23 A. Oh, no. No, no, no.

 

 

 

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14:49:24 1 Q. Okay. Okay. So do you see on -- now,
14:49:33 2] do you see at 11:22:34, there's a location change
14:49:38 3] for C230 to ECMC?

14:49:40 4 A. Yes.

14:49:40 5 Q. Okay. And C230, on the day of the
14:49:45 6] incident, that was your call sign, correct?

14:49:47 7 A. That was -- yeah, that was mine and
14:49:49 8| Karl's, yeah.

14:49:49 9 Q. Okay. So, now, when it says location
14:49:51 10| changed, is that somebody radioing in to say where
14:49:56 11] you are located at that point, or is there some
14:49:57 12] sort of a tracker on your car?

14:49:59 13 A. No. That would be someone calling in
14}50:01 14] over the radio saying we're going to ECMC.

14:80:04 15 Q. Okay. Did Karl Schultz make that call?
14:50:06 16 A. We would have to look -- listen to

14:50:09 17] the --

14:50:09 18 Q. Okay.
14:50:09 19 A. -- to the radio, yeah.
14:50:10 20 Q. Okay. So, now, do you see at 11:23:01,

14:50:18 21] C230 will be a 941? Do you see that entry?
14:50:21 22 A. Yes.

14:50:22 23 Q. Is there any way to enter that

 

 

 

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manually, or would that have to be something that's
over the radio?
A. So it looks like it was entered in over

the radio because the numbers before that, 000478,

is going to be one of these other -- other
personnel, not the officers. And I don't know
why --

Q. Okay.

A. That's -- that's dispatch, the -- the
Sal Polizzi. Salvatore Polizzi.

Q. Yep.

A. That would be like one of -- one of

them or something.

Q. Okay. So now we have on scene C230.
Would that still be referring to ECMC?

A. That would be referring to -- to ECMC.
So now we're on scene at ECMC at 11:30.

Q. Okay. And then there's a call in at
11:30:35, C230, suspect broke mirror on car 473
intentionally.

Would that be something that's radioed in,
or would that be something that is entered by the

police officer?

 

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A. So that would be radioed in because of
who -- whoever entered it in had, you know, the --
their work ID number is 000478.

Q. Okay. Is there ever any time that
there's an entry made for somebody that would have
had an officer radio something in, but really it
was the officer that manually entered it in?

A. It would be --

MS. HUGGINS: Form.

THE WITNESS: It would be -- so like in
front of Karl Schultz, the numbers 169325, that
would be where the 000470 would be.

BY MR. DAVENPORT:

Q. Okay. Now, we have at -- let's see
here.

| Let's go back to the previous exhibit.
I think it's Exhibit 7 for you.

So now we have an entry at 11:22 that says,
location change to ECMC, which matches up with
what's on the complaint summary report.

Do you see that between Exhibit 7 and
Exhibit 4A?

A. Yeah. 11:22, location change, and then

 

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14:52:51 1| over here, 11:22, location change.
14:52:54 2 Q. Okay. And then we have an entry at
14:52:56 3] 11:30 saying that you are on scene. That's on
14:52:58 4| Exhibit 7. And that would still be referring to
14:53:02 S| you being on scene at ECMC, correct?
14:53:05 6 A. Wait a minute.
14:53:06 7 Q. For Exhibit 7, there's a time 11:30 a.m.
ralsa:20 8 A. Oh, yeah. Yeah.
14:53:12 9 Q. Okay.
14:53:13 10 A. Yep, 11:30 a.m.
14:53:16 11 Q. Now, at the point that it says, on your
14:53:19 12| dispatch monitor -- so that would be Exhibit 7 --
14:53:24 13] 1314, that would be in reference to 1:14 p.m.,
14:53:24 14] correct?
14:53:24 15 A. Yes.
14:53:27 16 Q. And it says available?
14:53:28 17 A. I'm available now. I'm available --
14:53:28 18 Q. Okay.
14:53:30 19 A. -- to take a call.
14:53:31 20 Q. Okay. So would you have made your
14:53:33 21 availability as you were leaving ECMC?
1ar83:25 22 A. I don't -- I don't remember when I made
14:53:37 23] myself available. I'm pretty sure Karl's going to

 

 

 

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be the one that made us available, not me.

Q. sure.

A. And you can do it at ECMC. You can do
it anywhere driving around. The stationhouse. You
can do it -- you can do it whenever.

Q. Okay.

A. So yeah.

Q. Okay. So we wouldn't necessarily know

if he made himself available at ECMC or if he made

himself available at the stationhouse?

A. Or -- or like I said, or -- or
anywhere.

Q. Okay.

A. But no, I wouldn't -- I wouldn't be
able to remember that -- that.

Q. Okay. So the next time, according to

your dispatch monitor, it looks like you were
dispatched at 1:14 p.m.?

A. Yeah, 1:14.

Q. For a traffic stop?
A. Yes.
Q. Okay. Is there any reason why you

would have made yourself available at the same

 

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time that you were responding to an incident for

a traffic stop?

Is that -- is that something that you ever
do?

A. So, yeah, you can -- you can be on --
you can -- you can be on a call, like the

accident/injury at Schmarbeck, and then you can
call back in service on something else, and then
they just put you back in as available, and then
immediately put you on whatever you're either
calling out on -- or no matter what, dispatch is
going to say you're available first and then, boom,

you're at a call.

Q. Okay.
A. So even if -- even if I'm not
initiating the traffic stop, let's say -- let's say

it was the criminal mischief instead of the traffic
stop, it's still going to say, you know, available,
boom, criminal mischief, you know?

Q. Mm-hmm.

So on the day of the accident, did you ever
investigate or get a visual of what the mirror was?

A. I didn't. IT didn't look at the truck

 

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at all.
Q. Okay.
A. Not that I -- not that I remember, but,
you know.
Q. Okay. Do you know if it was broken or

not?

A. I don't even know if I looked.

Q. Okay. Okay. Did you hear any of the
other officers talking about any difficulties with

using the driver's side mirror?

A. No.
Q. Okay.
A. No.

Q. And that was on the day of the
incident, you didn't hear anybody talking about
any difficulties with the driver's side mirror?

A. If -- maybe if it was said at ECMC, but
I don't remember. I was out in the hallway the
whole time.

Q. Okay. Driver's side window. Also you
didn't hear anybody say that they had any
difficulties with that?

A. No, not that I remember.

 

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Q. Okay. Did you ever go into the room
where Mr. Kistner was --
A. I did not.
Qa. -- at that time?
Okay. Did you have any discussions with any
of the hospital staff while you were there?
A. My mouth was shut the entire time I was
at ECMC.
Q. Okay. Was that a direction that was
given to you?
A. No. That was just me knowing my place
as someone brand new.
Q. Okay. Was that ever something that was

told to you by Karl Schultz, that as a new person,
you shouldn't say anything unless directed to say
something?

A. No. No. That was just something
I felt wasn't appropriate at the time.

MR. DAVENPORT: Okay. I'm going to show you
something that's been marked as Exhibit 16.

And I'm sorry that I don't have --

MS. HUGGINS: I have --

MR. DAVENPORT: -- another one.

 

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14:56:52 L MS. HUGGINS: I have one. Thank you.
14:56:53 2 MR. DAVENPORT: Okay. Okay.
14:56:55 3 So, now, directing your attention to shift
14:57:00 4] 2nd, do you know what that's referring to?
14:57:03 5 THE WITNESS: Day shift.
14:57:03 6 BY MR. DAVENPORT:
14:57:03 7 Q. Okay. So day shift would be considered
14:57:07 8| the second shift?
14:57:08 9 A. Yes.
14:57:10 10 Q. Was there different designations that
sal srea2 11| were used for officers working one day as opposed
14:57:16 12/ to another?
14:57:17 13 Like, did you guys ever -- excuse me.
14:57:19 14] Strike that.
14:57:20 15 Did you ever reference to platoons for
14:57:23 16| people on day shift?
14:57:27 17 A. Some -- some people do. Like this
14:57:31 18| would be McHugh's platoon.
14:57:34 19 Q. Okay.
14:57:34 20 A. You know.
14:57:36 21 I -- I don't make references like that,
14:57:38 22] though.
14:57:38 23 Q. Okay. What -- what do you use for your

 

 

 

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reference?
A. I just say day shift.
Q. Okay. Now, looking at this list, who
was the officer that had the most experience at
that time?
MS. HUGGINS: Form.

THE WITNESS: Yeah, I mean, some of -- some
of these guys, like Ronnie Daniels, and I don't
know who William Johnson is. Clarence Sampson,
he's been retired. So those guys.

BY MR. DAVENPORT:

Q. Okay. Looking over this list, were
these all the officers who typically worked
C District at that time?

A. Some of them, like, like I said,
Clarence and Ronnie Daniels, those guys were not on
my platoon. I don't think Kevin Quinn was on --
was there.

I don't know who Erin is. Erin Heidinger.

I don't know who that is.

Q. So is it possible that they were people

who were working the other platoon for day shift?

A. That -- yeah, that could be.

 

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Q. Okay. After police officers complete
the academy, where are they typically sent to if
they're working in the City of Buffalo?

Is there a certain district that they're
normally sent to?

A. No. They're sent to one of the five.

Q. Did you choose, at that time, to be in

the C District, as opposed to the other districts?

A. You don't get to choose.
Q. Okay.
A. As -- as far as the FTO, field

training, no, you don't get to choose.

Q. Okay. How would you classify
C District, as opposed to the other districts?

MS. HUGGINS: Form.

THE WITNESS: Can you explain that question?

BY MR. DAVENPORT:

Q. What's the crime rate in C District,
as opposed to the other districts in the City of
Buffalo?

A. I mean, different crimes vary in
different areas.

C District has a lot of -- a lot of

 

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violence. E district has a lot of violence. But
then so do all the other ones.

Maybe certain neighborhoods -- neighborhoods

have more car thefts, like Hertel, you know,
North Buffalo has a lot of car thefts. Bravo's got
a lot of car thefts. You know, I mean, it -- it --
it varies.

Q. Okay. But, I guess, going back to what
you were saying before, does C District have more

violent crimes, as opposed to --

A. I would --

Q. -- other districts?

A. I would say so, yeah, as of C and E.

Q. And you're currently in Bravo District
now.

A. I'm in Bravo.

Q. Okay. Is that because you didn't want
to have to deal with the more violent crimes?

A. No. No.

Q. Not really something that phases you
then?

A. No. That -- it -- yeah, that doesn't

phase me, but it's nice to see Christmas lights

 

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sometimes, so it's good to see something different.

MR. DAVENPORT: So I'm going to show you
something that's been marked as Exhibit 17.

And, again, I apologize. I don't have
another copy of Exhibit 17.

Tt's the complaint -- the criminal
complaint.

MS. HUGGINS: I have all the exhibits except
for the first day. No copies were provided from
the first day.

MR. DAVENPORT: Okay.

MS. HUGGINS: And I also -- just in general,
cover pages with the exhibit tabs can be sent to me
at some point.

MR. DAVENPORT: Okay.

Now, reading after what's in the middle
listed as criminal mischief in the third degree?

THE WITNESS: Mm-hmm. Yes.

BY MR. DAVENPORT:

Q. Okay. Now, I know -- I understand that
you didn't sign this, but in terms of the
accusations that are made in this criminal

document, I just want to see if you agree with what

 

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was written.

So for the first sentence it says, in that
the defendant, while at 37 Schmarbeck, did with
intent to damage.

Now, would you agree that the subject
intended to damage the police vehicle?

MS. HUGGINS: Form.

THE WITNESS: Look -- I'm -- I'm looking
through a -- a driver's side mirror, so, I mean,

I don't have the -- the view of the person driving

the vehicle, so I'm not going to be the one that
says with intent or -- or -- or whatnot.

I mean, that's why Lauren signed off on the
charges, not me.

BY MR. DAVENPORT:

Q. What about based off of what you saw in
the video? Would you say that the subject intended
to damage the vehicle?

A. I can't --

MS. HUGGINS: Form.

THE WITNESS: -- because that's not --
that's not the view that I had. I had a view from

my driver's side mirror, and -- and through my

 

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driver's side mirror, I would say yes.

BY MR. DAVENPORT:

Q. That the subject did intend to damage
the vehicle?

A. From my driver's side mirror, yeah.

Q. Okay. What about the view that you saw
on the TV screen?

A. I -- I mean, I'm -- I'm not -- I -- I'm
not going to say that because I didn't -- that's
not the viewpoint that I had. I mean, I'm looking
through my -- my driver's side mirror. That's what
I'm looking through.

Q. Sure, but I guess just what I'm asking

is: After watching that video, do you think that
the subject intended to damage the vehicle?

MS. HUGGINS: Form.

THE WITNESS: The way that he walked up to
a moving vehicle, and then it looks like the
vehicle was stopping or stopped, and then all of
a sudden he falls down, yeah, I would say -- I
would say, yeah, it does look like he intended
to -- to throw himself into the vehicle, go --

BY MR. DAVENPORT:

 

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15:02:59 1 Q. But we talked about before, when we
15:03:01 2] were watching the -- when we were watching the
15:03:03 3] video, the car seemed to still be moving after
ss!oa:o¢ 4|/ contact was made, correct?
15:03:07. 5 MS. HUGGINS: Form.
15:03:07 6 THE WITNESS: From -- from wherever this
15:03:09 7] viewpoint was, I mean, it -- it can look like all
15:03:12 8] types of stuff, but what -- what did -- what did
15:03:14 9| the officers on the ground view?
15:03:17 LO You know, Lauren is the best person to ask
15:03:19 11] this question to. I didn't -- I wasn't right here,
15:03:23 12; you know, I --
15:03:23 13 BY MR. DAVENPORT:
1s]03:23 14 Q. Right. No. I -- I understand.
15103424 15 A. I'm way up the street, you know?
15:03:26 16 Q. And, you know, she signed this under
15:03:28 17| the penalties of perjury --
15:03:28 18 A. Yeah.
15:03:30 19 Q. -- go it's -- you know, this is more so
15:03:31 20| what she said, but I'm just merely asking if you
15:03:33 21] agree with what was written.
15:03:34 22 A. I -- I do agree with what --
15:03:36 23 MS. HUGGINS: Form.

 

 

 

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15:03:37 1 THE WITNESS: -- was -- what was written.
15:03:37. 2 BY MR. DAVENPORT:
15:03:37 3 Q. So after what you saw on the video, he

15:03:39 4] intended to damage the vehicle?

15:03:40 5 MS. HUGGINS: Form. Asked and answered.
15:03:41 6 THE WITNESS: Yeah.

15:03:42 7 BY MR. DAVENPORT:

1s}03:42 8 Q. Okay. So going towards the next line:

15:03:45 9] The property of another person, City of Buffalo
15:03:48 10} Police Department, and having no right to do so,
15:03:51 ll; nor any reasonable ground to believe that he had
15:03:54 12] such right, did damage the property, to wit,
15:03:58 13| driver's side mirror and driver's side mirror of
15:04:01 14] patrol vehicle, in the amount of more than $250.
15:04:04 15 Now, my question is: At any point during
15:04:07 16; that day, was there ever a second opinion that was
15:04:11 17) received, besides the officers on scene, for what

15:04:13 18| the damage to the police vehicle was at that time?

15:04:16 19 A. I would have absolutely no idea if --
15:04:19 20| if anyone else looked at -- looked at it.

15:04:23 21 I wouldn't even know who to -- who to ask
15:04:26 22] that to.

15:04:27 23 Q. Okay.

 

 

 

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15:04:27) 1 A. Maybe the -- I know -- I mean, did they
15:04:29 2] take it to the Seneca garage? I don't know
15:04:32 3] these -- IE don't know those answers.
15/04:33 4 Q. Okay.
15:04:33 5 A. T don't know what they did with -- with

15:04:36 6| anything.

15:04:37 7 Q. So I'm going to show you what's been
15:04:39 8] marked as Exhibit 18.

15:04:42 9 A. What is this?

15:04:45 10 Q. Can you read the date that's right
15:04:48 11j underneath service information?

15:04:53 12 A. Oh, the one that's circled? 1/5/2017.
15:04:57 13 Q. Okay. So, now, it's been represented
1s{04:56 14} to us by your counsel that this is the first

15:05:02 15| maintenance work order after that incident, so --

15:05:06 16 A. Okay.

15:05:06 17 MS. HUGGINS: Form.

15:05:08 18 BY MR. DAVENPORT:

15:05:10 19 Q. Do you see anything that's on there

15:05:12 20| where it refers to fixing or repairing a driver's
15:05:19 21| side window or driver's side mirror?
15:05:21 22 A. No.

15:05:21 23 Q. Okay. Was does it refer to?

 

 

 

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A. It says service cooling system. And
then remarks -- I don't know what RR means, but
water pump and then serp belt. Maybe serpentine
belt.

Q. Okay. And would you agree that there's
no estimate as to what the cost will be for
repairing the vehicle?

MS. HUGGINS: Form.

THE WITNESS: Yeah. It's blank.

BY MR. DAVENPORT:

Q. Okay. And you would also agree with me
that it in no way refers to the driver's side
mirror or the driver's side window.

A. Correct.

Q. Okay. So now turning back to Exhibit 17,

would you agree that it was speculation that the
amount of the damage was more than $250?

MS. HUGGINS: Form.

THE WITNESS: That would be speculation,
I've got to defer to hauren. I don't -- she --
again, you know, she signed off on the charges, so
I -- I don't know.

BY MR. DAVENPORT:

 

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Q. Okay.

A. I'm not a mechanic either. I don't
know how much a mirror costs.

Q. Sure.

All right. So next sentence: In that the
defendant did intentionally throw his body into the
driver's side mirror of patrol vehicle number 473,
causing the mirror to become dislodged from the
vehicle.

Now, on that day, did you observe the
driver's side mirror becoming dislodged from the
vehicle?

MS. HUGGINS: Form.

THE WITNESS: I don't even think I looked at
the truck.

BY MR. DAVENPORT:

Q. Okay. And also causing the driver's
side window to malfunction. The value of said
damage to exceed $250.

Now, Gid anybody at any point talk about the
driver's side mirror or the driver's side window
being either dislodged or malfunctioning on the

day?

 

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A. It --
MS. HUGGINS: Form.
THE WITNESS: If -- if they -- they did,

they didn't say it to me, because why would you

talk to me? I'm brand new. If they said it in
front of me, then I don't -- I don't remember,
because I probably wasn't either -- I don't know.

I wasn't paying attention or I just didn't
remember.

BY MR. DAVENPORT:

Q. All right. So we'll turn to the next
criminal complaint, which is for disorderly
conduct.

So now it says, the said defendant, at the
aforesaid time and place, with intent to cause
public inconvenience, annoyance, or alarm, or
recklessly creating a risk thereof, while in
a public place, did use abusive or obscene language
or made an obscene gesture.

Now, at any time that you were with
Mr. Kistner, did he ever make an obscene gesture to
any of the officers?

A. I mean, even -- even on the video, it

 

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just shows us taking off. I -- I didn't have any
confrontation with him, with the exception of

walking him back to patrol vehicle 532 and placing
him in the back, and then -- and then that was it.

Q. Now, when you say a confrontation, what
are you referring to?

A. Just -- just me in contact with him,
bringing him back to the patrol vehicle. That --
that was it. That's the confrontation.

Q. Okay. Did he ever make any sort of
rude remarks or use any obscene language directed

towards you or Mr. Schultz?

A. Not to me. Not from what I remember.
Q. Okay. What about to Mr. Schultz?
A. Not to -- not to what I remember.
Q. Okay. Now, in that the defendant did

intentionally throw his body into the driver's side
mirror of patrol vehicle number 473, causing the
mirror to become dislodged from the vehicle and
also causing the driver's side window to
malfunction, the value of said damage to exceed
$250.

Now, do you know if for disorderly conduct,

 

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is there some sort of a threshold amount of damage
that's recovered -- required in order to charge
somebody with that penal law statute?

MS. HUGGINS: Form.

THE WITNESS: No, there's not.

BY MR. DAVENPORT:

Q. Okay. And while being treated at ECMC,
the defendant did use obscene and offensive
language toward officers and medical staff.

Do you remember the individual, Mr. Kistner,
ever using obscene language towards the medical
staff there?

A. I wasn't in the room with him.

Q. Okay. Now, have you ever used
a strip search or a body cavity search before,

after somebody's been taken to cell block or

booking?
A. No.
Q. Never before?

A. No. Cell block does their formal
searches, but no.
Q. Have you ever directed a cell block

attendant to use a body cavity or a strip search?

 

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A. I don't have the authority to do that.

Q. Okay. Are you aware of any
strip searches or body cavity searches that
were done by cell block attendants from someone
that you arrested?

MS. HUGGINS: Form.

THE WITNESS: Can you -- can you explain
what you mean by that?

Their policy is you have to strip down to
your boxers.

BY MR. DAVENPORT:

Q. Right.

A. Okay.

Q. No. I understand what the policy is.
I guess what I'm asking is: Are you aware of
anyone that you arrested then having a strip search
or a body cavity search while at cell block?

MS. HUGGINS: Form.

THE WITNESS: No to body cavity searches.
I didn't know that that was a thing.

And then strip search, yeah, everyone we
arrest gets stripped down to -- for males, they get

stripped down to their boxers.

 

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1 BY MR. DAVENPORT:
2 Q. Okay. And that's every arrest, for any
3] offense whatsoever?
4 A. That's correct.
5 Q. Okay. How many arrests have you made
6) personally?
7 A. The number's up there, but I don't
8} know.
9 Q. Okay. Would it be more or less than
10] a hundred?
11 A. More.
12 Q. Okay. So for each of those hundred
13] individuals, you have -- you are aware that
14] a strip search was done?
15 A. Yeah, absolutely.
16 Q. Okay. Now, at this time, after
17| Mr. Kistner has been criminally charged according
18| to those criminal complaints, did you ever talk
19} with Mr. Schultz or Ms. McDermott or Ms. Velez
20| about the criminal charges against Mr. Kistner?
21 A. I never knew what was actually charged.
22 Q. Okay. So no further conversations with
23| those individuals about what happened on January 1st?

 

 

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MR. DAVENPORT: Okay. All right. I think

I'm all set.

Do you have any questions?

MS. HUGGINS: I have no questions.

MR. DAVENPORT: All right. Thank you.

(Proceedings of 2/21/20 were then concluded

at 3:11 p.m.)

 

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I hereby CERTIFY that I have read the
foregoing 293 pages, and that except as to those
changes (if any) as set forth in an attached errata
sheet, they are a true and accurate transcript of
the testimony given by me in the above entitled

action on February 21, 2020.

KYLE T. MORTARITY

 

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STATE OF NEW YORK)
Ss:

COUNTY OF ERIE )

I DO HEREBY CERTIFY as a Notary Public in and
for the State of New York, that I did attend and
report the foregoing deposition, which was taken
down by me in a verbatim manner by means of machine
shorthand. Further, that the deposition was then
reduced to writing in my presence and under my
direction. That the deposition was taken to be
used in the foregoing entitled action. That the
said deponent, before examination, was duly sworn
to testify to the truth, the whole truth and

nothing but the truth, relative to said action.

ANNE T. BARONE, RPR,
Notary Public.

 

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